m gail guilt .|

_`.E

"__Q

 

Exh-ibit

sTATE oF oKLAHoMA ) "» l

)
COUNTY OF CLEVELAND )

 

AFFIDAVIT OF JOLENE PERHAM
I, Jolene Perham, being of sound mind and legal age, do hereby state under oath:

l. My name is Jolene Perham and I am employed as an investigator in the Hornicide Direct
Appeals Division of the Oklahoma Indigent Defense System (OIDS) in Norman, OK.

2. [n my capacity as an investigator with O[DS, I was assigned to retrieve the trial files from
the trial attorney for Mr. Deandre Bethel. Mr. Bethel is appealing his conviction in Tulsa
County Case No. CF-2012-660, Oklahoma Court of Criminal Appeals Case No. F-14-366

3. On June 5, 2014, Ireceived 1 box of trial files from Steven W. Vincent, Mr. Bethel’s trial
attomey. This file contained 3031 pages of documents, including 24 CD’s/DVD’s,
pertaining to Mr. Bethel’s case.

4. Pursuant to the policy of the Oklahoma lndigent Defense System (OIDS), the trial files
are delivered to Ms. Norrna Dumas who bates-stamps, in consecutive order, the
identifying initials of trial counsel (“SWV” which stands for Steven W. Vincent) and
numbers every piece of paper and item(s) from the trial files. This is done to differentiate
these documents from any other documents obtained by OIDS.

5. After searching through the Trail Attomey files the following document was retrieved:

A. Letter of correspondence (not dated) to Mr. Vincent from Glenda Gray.
The letter consists of one (1) page, and bears the bate-stamp number
SWV 131 l.

I have read this statement consisting of one (l) page and I state that the foregoing is true and

COlT€Ct.
MQM Z.H?.,Z,?Q‘[QO/‘j’
Am

nt / Jolene Perham Date

Signed and subscribed to before me on the 22 n§ay of _Q.L_¢'m.ogL__, 20 L'~l, in
_M__ County, Oklahoma.

 

 

//O \\`
”//FO F`\\\

Dear Mr Vincent

l am sending vital information regarding my son Deandre Bethel‘s case. Tulsa county has in
custody Trey Marzett. He's contacted Deandre and wishes to speak with you regarding this
case. i-leTrey, somehow feels you may already have knowledge of the some of the facts he
wishes to discuss with you. This information is important for Deandre's defense.

i-lere also are the names of the witness for Deandre Bethel:
Wanda Smith 529 E 49th PL N Tulsa, OK 74126 918 282 9931 or 918 902 5075

Ashiey Hervey 219 E 52nd Pl. N tulsa, OK 74127 918 852 1949

Mr Vincent we are also wondering whenyou will and why you have not been to visit Deandre
yet. He needs to discuss the defense tactics the plans you have to execute his defense. His trial
date is almost upon us and to our knowledge not much has transpired to give Deandre a secure
feeling that his best interest is being represented. This is based on the little communication
between you two and even the few timesli have spoken with you.

l have left messages on your cell and left messages at your office with no return calls. Deandre
has written letters to your office also and haven't gotten any responses. This is another attempt
to contact you as we do not know if you are receiving these messages

Thanking you in advance for your consideration and your time in responding to this letter.

Glenda Gray
PO BOX 2404 Tuisa , OK

918 851 1205

SWV 1311

 

State of Oklahoma )
v. ) Case No. CF-2012-660
DeAndre Bethel )

Elza Riley

#53 1017

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

1 Elza Riley, of lawful age and sound mind currently being incarcerated at Lawton
Correctional Facility swear that the following is true and correct to the best of my knowledge
The case number referred to is CF-2012-660, in the District Court of Tulsa County for the State
of Oklahoma.

I, Elza Riley have known DeAndre Bethel for approximately twelve (12) years.

I, Elza Riley was present at Club Pink on February 4, 2012 at 1:40 a. m. I was parked in
the parking lot and I observed the shooting that occurred. I saw another car parked in the
parking lot and a white car pull up behind it. Three (3) individuals got out of the white car and 1
recognized LaHarry Myers a/k/a L.J. and another person pull guns and shoot Bryon Ivory Jr. l
also recognized another individual standing by the shooters vehicle (DeAndre Williams). This
was retaliation for Bryon Ivory robbing Mr. Myers some days earlier. After the shooting I
immediately left the seen in a dark colored vehicle (blue Oldsmobile). No one in our vehicle
participated m the incident we just witnessed what happened and left the scene.

I was never approached by police or questioned by Mr. Bethel’s attorney as to what I
witnessed. Had I been contacted and requested to testify, then I would have testified that
DeAndre Bethel was not involved in the shooting or robbery of Mr. Ivory.

\

Elza ’ley

 

#531017

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

Comanche County

ss.
State of Oklahoma

Sign%re of Xffi§t

Subscribed and Sworn to by me. This ZZL%/ay of , .e_ 2016.

,
l

l

l MAneo sALoANA Notary uin
§ comm #15005196 ¢

l

\"\\`\\\\`\\? v
`u`oim muc sueno\< rs `7/)/ g j

'

l

Expires 06~°4’2°19

\`\\\\\\\\\\"

"

`“'" My Commission Number is: § mgth

My Commission Expires:

ma .Q¢. §§

Exihibi n

 

STATE OF OKLAHOMA 1 _ h E '
ss. ' "`"

COUNTY OF TULSA

AFFIDA OF WANDA JANELL SMITH
I, Wanda Janell Smith, being of sound mind and legal age, do hereby state under oath:

1. My name is Wanda Janell Smith. l am a friend of Deandre Bethel. We have known each
other since high school - about 4 ‘/z years. '

2. I was with Deandre Bethel on the evening of February 3, 2014, and into the early morning
hours of February 4, 2014. We were dating at the time. Around l p.m., Deandre dropped me
off at the home of my best friend, Neka. He came back over at about 9 p.m. We were
hanging out, playing dominoes and drinking. I saw him take a couple ofXanax bars. Around
l a.m., we left for my mother’s house. We drove his white Cobalt car. My mother lived at
539 E 49th Place in Tulsa. At that point, Deandre was pretty messed up. My grandmother
called me at around 3 a.m. She stayed around the comer. She was ill and needed my help to
be moved from her bed to the living room. Deandre and I went over to her house to help her.
Then around 3 a.m., Deandre’s ii‘iend, LJ (LaHarry Myers), called my cell phone. Deandre
did not have a phone that worked at the time. LJ asked if “Belly” was with me. “Belly” was
Deandre’s niclmame. I gave Deandre my phone and he was talking to LJ, but I didn’t know
what they were saying. After he finished talking, Deandre told me he was going to meet lJ
to go buy a gun. I told Deandre, “Let me go with you.” He told me no and we got into it and
argued. Deandre did not want me to go because he thought LJ was going to rob him. We

argued some more. I got out of the car and he drove off. Later that morning, I got a phone
call that Deandre was in jail.

3. I was never contacted by the police, the district attomey’s office or any defense attorneys
who represented Deandre Bethel before his trial in Fehruary 2014. I remember talking to
Deandre’s pastor about the information in this adidavit.. He told me Deandre’s lawyer
would be calling and interviewing me, and would ask me to testify at Deandre’s trial.

4. Deandre’s trial lawyer never contacted me prior to trial. No one from the trial attorney’_ s staff

_ contacted me, I was willing to testify and would have done so had I been asked to appear on ‘
Deandie’s behalf °

'¢.

Page l of 2

._....`-~:
w

.rk
Dated this W@ece:ber, 2014.
\

l
"//

E:p
Exp°mwis
’<;’¥ him\¢ "\6§'§

I,l OF
Signed and subs'diri ore me this

Oi§~@@c mae

asks

`§""“\muluu,,,”l

""\“`lummu\

 

Kim Aly¢¢ Mirki, Noiary Pubii¢
Commission #04006555
Expires July 20, 2016

/6+‘~

nané&w%%l

Wanda Janell S§nith

____day of December, 2014.

Page 2 of 2

_,_s:_

f
l

 

Exhibit
STATE OF OKLAHOMA ' )
) ss.
COUNTY OF TULSA _ )

AFFIDAVIT OF DEANDRE ARMON WIL!._._LAM_S

I, Deandre Annon Williams, being of sound mind and legal age, do hereby state under oath:

1.

My name is Deandre Arrnon Williams. I am a friend of Deandre Bethel. We have known
each other since 2007.

Iwas charged jointly with Deandre Bethel in Tulsa County District Court Case No. CF-2012-
0660, with First Degree Felony Murder in the Commission of a Robbery with A Firearm, for
the death of Byron Ivory, Jr., on February 4, 2012. Our trials were severed. Deandre went
to trial iirst. My trial was scheduled to begin on September 15, 2014. Prior to trial, 1 entered
a plea of guilty to Accessory After the Fact and was sentenced to seven years, with two years
in the custody of the Department of Corrections and five years suspended under the
supervision of the Division of Probation and Parole.

1 saw Deandre Bethel around 4:00 a.m. on the morning ofFebruary 4, 2012. 1 called Deandre
on the phone to see where he was. He said he was over in the vicinity of my house near
Lucky Sam’s convenience store on North Lewis. 1 told him to meet me at Lucky Sarn’s. We
met there and saw LaI-Iarry Myers, otherwise known as “L.J,” getting out of his white Crown '
Victoria in the parking lot. Deandre asked L.J. if he still had a gun for sale. L.J. said he still
had some guns and they would need to go around the corner near the 007 Club to get- the
guns. Deandre said a cop named “Sticks” told him he needed a gun for protection because
the Hoovers were trying to get at him. All three of us drove in separate cars to the location.
1 was driving my brother’s maroon 2000 Chevy Tahoe. It took less than a minute to get to
the house. 1 did know whose house it was. Once at the house, I got out of my car and got
into Deandre’s white car. L.J. came up and said he was going inside the house to get the
guns. A few minutes later, L.J. came out of the house with two guns, a .40 caliber and a 9
millimeter and showed the 1 to us. Deandre asked him if there was anything wrong with the
guns and whether they were “hot.” L.J. said the guns were fine. Deandre gave L.J. $150.00
in exchange for the .40 caliber gun. I told them l would talk to them later. 1 got back into
my vehicle and left.

I never told this information to the police and l was never asked about it. l invoked my right '
to counsel when 1 was interrogated by Detective Jason White and he terminated ther-
interview. Deandre Bethel’s trial lawyer never contacted me about this information prior to
trial, nor did anyone from his staff. I was willing to testify and would have done so had 1
been asked to appear on Deandre’s behalf.

Page 1 of 2

 

,_D l few [.....~.-.B-s {»~m-.E r-~=-B {--'~’~D r"“:*; ["_'"'B {"'__M t ___M 1 ____d 1 ,W 1 ,__,g i ._ ==.:,

~

   

Dated this day of December, 2014.
§`\\,‘x llb,ll,
s`"e GEM""’"».
§§ g § "':§eandre Armon Williams t
"'*7'¥ + "$
“», op ox\> "`
l""'mmm\\\\"

Signed and subscribed to before me this l 6 day of December, 2014.

Qz; %~_ /%@»ih
Kim Alyce Mark`s], Notary Public

Commission #04006555
Expires July 20, 2016

Page 2 of 2

State of Oklahoma )

v. ) Case No. CF-2012-660
DeAndre Bethel )

DeAndre Williams

300 N. Denver

Tulsa, OK 74103

1, DeAndre Williams, of lawful age and sound mind currently being incarcerated
at Tulsa Justice Center swear that the following is true and correct to the best of my
knowledge The case number referred to is CF-2012-660, in the District Court of Tulsa
County for the State of Oklahoma.

1, DeAndre Williams have known DeAndre Bethel for approximately five (5)
years.

On February 4, 2012, 1 was riding in a white vehicle with my friends Rio and
LaHarry Myers a/k/a L.J. Rio was driving his own vehicle. L.J. was in the passenger seat
and 1 sat in the backseat. We pulled into the parking lot of Club Pink at around 1:40 a. m.
L.J. had been previously in an altercation with Bryon Ivory. Bryon had robbed L.J. some
days earlier. Rio had set up a meeting between Bryon and L.J. so they could tight. We
pulled into the parking lot then L.J. and Rio got out and approached Bryon’s car. Rio and
Bryon begin to tussle. Bryon’s gun fell and went off and L.J. and Rio started shooting
back at Bryon. Rio picked up Bryon’s gun and we leli the seen. I did not know that there
would be any shooting involved. 1 thought it would just be a iistfight. l stood back and
observed what happened Rio and L.J. acted alone. DeAndre Bethel was not present or

involved in any manner.

Later that mourning L.J . contacted DeAndre Bethel and asked him if he wanted to
buy one of the guns. The gun L.J. sold was the gun L.J. used to shoot Bryon. lt was a
black and silver .40 caliber Smith & Wesson.

1 never told this information to the police and 1 was never asked about it. Mr.
Bethel’s trial attorney never contacted me about this information before trial, nor did any
of his staff. Mr. Bethel’s appellate counsel never requested information about the
commission of the crime and 1 never told her. I was willing to testify and would have
testified to the aforementioned information on DeAndre’s behalf if requested to appear at

trial. l am still willing to testify,

 

DeAndre Williams
300 N. Denver
Tulsa, OK 74103

 

Signature of Afliant

Subscribed and Swom to by me this day of 2016.

 

Notary Public

My Commission Number is:

 

My Commission Expires

 

      

  

Exhibit

5

AFFIDAVIT OF DEANDRE BETHEL

State of Oklahoma )
v. ) Case No. CF-2012-660
DeAndre Bethel )

DeAndre Bethel

#690424

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

I DeAndre Bethel, of lawful age and sound mind currently being
incarcerated at Lawton Correctional Facility swear that the following is true and
correct to the best of my knowledge The case number referred to is CF-2012-660,
in the District Court of Tulsa County for the State of Oklahoma.

I was arrested and convicted in Case #CF-2012-660, for Felony Murder of
Bryon Ivory Jr. with the underlying felony of Robbery with a Firearm. I was
arrested asleep at a stop light with a weapon used in the commission of the crime
in my vehicle the following morning. I absolutely denied any involvement in the
crime and testified that I bought the gun earlier that morning from an individual
named Rio and that LaHarry Myers was also present during that buy.

After my conviction, I self-investigated the crime and newly discovered
who committed the crime and also discovered several eyewitnesses at the crime
scene I discovered LaHarry Myers was the shooter and the individual that pressed
the gun into Mr. Roberts chest, also, the individual I identified at trial whom I
bought the gun from as Rio, drove the vehicle and fought with Byron Ivory Jr.
There was also three (3) other people who witnessed the crime, of which, two (2)
of the eyewitnesses have also submitted affidavits (Elza Riley & DeAndre
Williams). These affidavits demonstrate that I am actually innocent of these
crimes. The evidence further demonstrates that had my trial counsel investigated,
interviewed, and called these eyewitnesses to testify at trial, then I would have _
been found not guilty. '-

Further, 1 did not tell my trial counsel to concede to the Robbery with a
Firearm, neither overtly nor purposely. Mr. Vincent did not consult with me about
conceding to the robbery and I never would had conceded because 1 did not rob or
participate in any robbery/murder.

, '>',;:'Q

DeAndre Bethel

#690424

Lawton Correctional Facility
8607 SE Flowermound Rd.

Lawton, OK 73 501

/QFML %a

§gnature of Affiant

Subscribed and Sworn to by me this& day of MZOI&

,\\\\`\` `\\\\"" \`\

 

5 infirm Pusuc summit l

y ¢ . roPPlNe l

( l 3 , c¢miii #13011277 §
Notary PublicL)i--“\-““'1§'.2.0.1!“.s

My Commission Number is: 1301 i"L"i l

My Commission Expires: |2| ii 242 fl

Case No. F-2014~336

 

§ ' ~ ' DEANDRE BETHEL

Appellant,

` vso
THE STATE OF OKLAHOMA

Appellee.

Appeal from the
District Court of Tulsa County

 

BRIEF OF APPELLANT.

 

Jamie D. Pybas
Division Chief
Oklahoma Bar Assoc. No. 13000
Homicide Direct Appeals Division
Oklahoma Indigent Defense System
P.O. Box 926
Norman, Oklahoma 73070

(405) 801-2666

ATTORNEY FoR APPELLANT "

December 22, 2014

 

 

TABLE OF CONTENTS

PAGE
STATEMENT OF THE CASE ..... . ........ . ............. .. ...................... . 1
STATEMENTOFTHEFACTS ...... ..... ....... 2

PROPOSITION I

THE STATE’S EVIDENCE WAS LEGALLY INSUFFICIENT TO PROVE
ALL THE ELEMENTS OF ROBBERY WITH A FIREARM AND
THEREFORE ALSO INSUFFICIENT TO SUPPORT MR. BETHEL’S
CONVICTION FOR FIRST DEGREE FELONY MUBDER BASED ON
THAT UNDERLYING FELONY. ACCORDINGLY, MR. BETHEL’S
CONVICTIONS AND SENTENCES 0N COUNTS I AND II SHOULD BE
VACATED AS THEY ARE IN VIOLATION OF HIS DUE PROCESS
RIGHTS UNDER THE FIFTH AND FOURTEENTH AMENDMENTS TO
THE UNITED STATES CONSTITUTION AND ARTICLE II, §§ 7 AND 20
OF THE OKLAHOMA CONSTITUTION ................ . . . . . . . . ..... . . . . . . 11

PROPOSITION II

MR. BETHEL’S CONVICTION AND SENTENCE FOR COUNT II,
ROBBERY WITH A FIREARM, MUST BE VACATED BECAUSE THE
SAME CHARGE SERVED AS THE UNDERLYING FELONY FOR HIS
CONVICTION OF FELONY MURDER, IN VIOLATION OF THE FIFTH
AND FOURTEENTH AMENDMENTS TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, § 21 OF THE OKLAHOMA
CONSTITUTION.. .........

l..llll.l....¢.l...IOI.CO..°..’.. 17

PROPOSITION III

THE TRIAL COURT COMMITTED FUNDAMENTAL ERROR BY
FAILING TO INSTRUCT THE JURY ON THE LESSER OFFENSES OF
SECOND DEGREE DEPRAVED MIND MURDER, SECOND DEGREE
FELONY MURDER, AND ACCESSORY AFTER THE FACT, IN
VIOLATION OF MR. BETHEL’S RIGHTS TO DUE PROCESS AND A
FAIR TRIAL UNDER THE FIFTH AND FOURTEENTH AMENDMENTS
TO THE UNITED STATES CONSTITUTION AND ARTICLE II,`§§ 7 AND
200FTHE OKLAHOMACONSTITUTION .. ...... 19

A. Second Degree Depraved Mind Murder . . . . . . . . . . . ................. . 20

B. Second Degree Murder with Robbery by Force and Fear as
the Underlying Felony ..................... . .......... . . . ........ . . . 22

C. Accessory .......................... . . . . . ........................... 24

 

PROPOSITION IV

THE TRIAL COURT ERRED IN FAILING TO COMPLY WITH THE LAW
GOVERNING CONTACT WITH JURORS DURING DELIBERATIONS
AND BY FAILING T(`) ADVISE DEADLOCKED JURORS NOT TO
-SURRENDER THEIR HONEST CONVICTIONS CONCERNING THE
WEIGHT OF THE EVIDENCE IN ORDER TO REACH A VERDICT, IN

THE UNITED STATES CONSTITUTION AND ARTICLE II, §§ 7, 19 AND
200FTHEOKLAHOMACONSTITUTION 26

PROPOSITION V

AMENDMENT TO THE UNITED STATES CONSTITUTION AND
ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA CONSTITUTION . . . . . . . . . 32

000|¢¢¢00¢¢¢0¢¢0.00|. oooooo loss 38

PROPOSITION VII

IMPROPER VICTIM IMPACT TES'I'IMONY AND EVIDENCE WAS
ADMITTED AT TRIAL, DEPRIVING MR. BETHEL OF A FAIR TRIAL IN
VIOLATION OF HIS RIGHTS UNDER THE FOURTEENTH
AMENDMENT TO THE UNITED STATES CONSTITUTION AND

ARTICLE II, §§ 7, 9 AND 20 OF THE OKLAHOMA CONSTITUTION ....... 40
A. The Admission ofa Pre-mortem Photograph of the Victim ........ . 40
B. Improper Victim Impact Evidence During‘ Formal
Sentencing . . ............. . ................................ . ........ 41
PROPOSIT[ON VIII

THE OKLAHOMA CONSTITUTION ........ . . . . . . . . . . ................. . . . 42

 

PROPOSITION IX

THE ADMISSION OF EVIDENCE OBTAINED AS A RESULT OF AN
ILLEGAL SEARCH AND SEIZURE VIOLATED MR. BETHEL’S RIGHTS
UNDER. THE FOURTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, SECTION 30 OF THE OKLAHOMA
CONSTITUTION . . .

oooooooo 0¢lootl¢n~¢c1050¢¢\00|¢¢¢000\nl¢'¢l¢¢¢lo¢¢o¢l¢ 44

PROPOSITION X

MR. BETHEL WAS DEPRIVED OF THE EFFECTIVE ASSISTANCE OF
COUNSEL IN VIOLATION OF THE SIXTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION AND
ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA CONSTITUTION . . . . . . . . . 46

A. Failure to Adequately Protect the Record with Appropriate
Objections

¢¢¢¢¢¢¢¢¢¢¢ cabinet000¢0¢¢.¢¢¢¢0¢¢0¢0¢¢ 46

B. Failure to Request Instructions on Appropriate Lesser
Related Ot`fenses . . . . ....... . . . . . . .

¢C|OCI.I.lijl.....l'd’¢¢.l.¢li\.\ 48
C. Failure To Present Critical,Available Defense Witnesses 49
D. Conclusion. ..... .............. ..... ....... .............50

CONCLUSION ....... ...........

colonlclle001¢¢¢¢¢¢¢¢0¢¢0¢lo.¢l¢¢¢¢ooc 50

CERTIFICATE OF SERVICE

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ 001¢¢0’¢¢¢»¢¢¢loos¢»l¢o¢¢oo.v¢o¢¢¢ 51

TABLE OF AUTHORITIES
CASES

Alleg v, Unitgd S§ates,

164 U.S. 492, 17 S.Ct. 154, 41 L.Ed. 528 (1896) .............................. 29

Andrew 'v. Stgte, '
2007 OK CR 23, 164 P.3d 176 ............................................... 39

Avants v, Stat_:e,
1983 OK CR 35, 660 P.2d 1051 .............................................. 16

Aycox v. State,
1985 OK OR 83, 702 P.2d 1057 (Okl.Cr. 1985) ............................... 46

Barnett v. Stgtg,
2011 OK CR 28, 263 P.3d 959 ............................................... 23

Breshers v, State,

1977 OK CR 331, 572 P.2d 561 .............................................. 21

iii

 

:1.. ._

..4....‘

Brogie v, State,
1985 OK CR 2, 695 P.2d 538 ............................................... 30

Bro nv St te
1975 OK CR 191, 541 P.2d 242 .............................................. 39

Buchanan v. State
1974 OK CR 111, 523 P.2d 1134 ............................................. 39

 

Caggs v, Statg,
1984 OK CR 8, 674 P.2d 554 ................................................ 41

Childress v. State
2000 OK CR 10, 1 P.3d 1006 ................................................ 20

Codx v. State,
1961 OK CR 43, 361 P.2d 307 ............................................... 40

 

Coffia v, Statg,
2008 OK CR 24, 191 P.3d 594 ............................................... 18

Commonmegth v. &tchgn,
730 A.2d 513 (Pa. 1999) .................................................... 32

Curtis v. State,
1988 OK CR 220, 762 P.2d 981 .............................................. 37

Denms v, St§tg, ~
1977 OK CR 83, 561 P.2d 88 ................................................ 21

M§_,
1989 OK CR 1, 771 P.2d 224 ................................. _ ............... 29

Driverv S ate
1981 OK CR 117, 634 P.2d 760 ...... ' ........................................ 48

Dun an v. St t
1982 OK CR 152, 651 P.2d 1064 ............................................. 39

D nkle v. State -
2006 OK CR 29, 139 P.3d 228 .............................................. 46

QXke !. Stat§,

1986 OK CR 44, 716 P.2d 693 ............................................... 43

Fairchild v. St§te, »
1999 OK CR 49, 998 P.2d 611 ............................................... 16

Frazier v. §tgtg,

1981 OK CR 13, 624 P.2d 84 ............................................... 15

iv

 

 

Galloway v, State,
1985 OK CR 42, 698 P.2d 940 ............................................... 49

Gianfrancisco v. State,
570 So. 2d 337 (Fla. App. 1990) ............................................. 32

Givens vl Stgte, '
1985 OK CR 104, 705 P.2d 1139 ............................................. 28

Glass v. S§ate,
1985 OK CR 65, 701 P.2d 765 ............................................... 43

Higgin§ v, §Late,
1972 OK CR 16, 493 P.2d 1121 .............................................. 29

Glo§§ip v, §tg§e,
2001 OK CR 21, 29 P.3d 597 ............................................ 24, 49

Grant v. Statg,
2009 OK CR 11, 205 P.3d 1 .................................................. 40

Harris v, Oklgomg,
433 U.S. 682, 97 S.Ct. 2912, 53 L.Ed.2d 1054 (1977) ......................... 19

Hicks v, O§la_homg, '
447 U.S. 343, 100 S.Ct. 2227, 65 L.Ed.2d 175 (1980) ......................... 23

Hogan y, Statg,
2006 OK CR 19, 139 P.3d 907 ............................................... 37

Hooks v. S§ate,
2001 OK CR 1, 19 P.3d 294 .................................................. 29

Humghrigs v. Statg,
18 So.3d 305 (MisS.Ct. App. 2009) ......................................... 22

In rg min§hip,
397 U.S. 358, 90 S.Ot. 1068, 25 L.Ed.2d 368 (1970) ........................... 12

gagkson y. V;rg;nia',
443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979) ........................ 12, 17

J ames v. §tate,
2007 OK CR 1, 152 P.3d 255 .................................................

37
Jeffersgn v. §tate,
1984 OK CR 27, 675 P.2d 443 ............................................... 19
Jenkigs v. United Statgs,
380 U.S. 445, 85 S.Ct. 1059, 13 L.Ed.2d 957 (1965) ........................... 30

 

1
\._

Jegnings v. Stgte,
1987 OK CR 219, 744 P.2d 212 .............................................. 49

ewell v Territo

1896 OK16, 43 P. 1075 ..................................................... 21

Kegbl§ v. United §ta§es,
412 U.S. 206, 93 S.Ct. 1993, 36 L.Ed.2d 844 (1973) ........................... 25

Kluvgr v. Eeatherford §osgital Authority,

859 P.2d 1081 (Okla. 1993) ................................................. 18

Maben v, Lee,
1953 OK CR 139, 260 P.2d 1064 ........................................... 32

Massie v. State
1976 OK CR 174, 553 P.2d 186 .............................................. 21

McCart v. t te
1988 OK CR 271, 765 P.2d 1215 ............................................. 36

M Ha t te
2005 OK CR 28, 126 P.3d 662 ............................................... 25

Miles v. S at
1979 OK CR 116, 602 P.2d 227 .............................................. 30

Mille; v. Stat§, '
2001 OK CR 17, 29 P.3d 1077 ...............................................

Mitcgell v, State,

2005 OK CR 15, 120 P.3d 1196 ..............................................

 

47

16

Mit l v. tat
2011 OK CR 26, 270 P.3d 160 ...........................................

Mgulton v, Stgtg,

1948 OK CR 130, 201 P.2d 268 ..............................................

M ers v. State
2000 OK CR 25, 17 P.3d 1021 ...............................................

27, 31
16

37

Neitzel v. State
655 P.2d 325 (Alaska App. 1982) ...........................................

 

22

Palmer v. State,

1994 OK CR 16, 871 P.2d 429 ..............................................

Pgttersgn v. St§te,
2002 OK CR 18, 45 P.3d 925 .................................................

21

50

 

Pe;gy v. Statg,
1993 OK CR 5, 853 P.2d 198 ................................................. 19

Pigkgns v. State,
1979 OK CR 99, 600 P.2d 356 ............................................... 29

Pigkegs v, Stgte,
2001 OK CR. 3, 19 P.3d 866, 878-79 ......................................... 16

Rea v, StgLe,
3 Okl.Cr. 281, 105 P. 386 (1909) ............................................. 25

§ogers v. United S§atgs,

422 U.S. 35, 95 S.Ct. 2091, 45 L.Ed.2d 1 (1975) .............................. 27

Romano v. State
1995 OK CR 74, 909 P.2d 92 ................................................. 36

 

Rounds v, Stgte,
1984 OK CR 49, 679 P.2d 283 .............................................. 15

Rydgr v. State,
2004 OK CR 2, 83 P.3d 856 .................................................. 36

S§;tin v. State,
1981 OK CR 157, 637 P.2d 897 .............................................. 29

Segbolt v. Statg,
2006 OK CR 50, 152 P.3d 235 ............................................... 45

Shields v, United States,
273 U.S. 583, 47 S.Ct. 478, 71 L.Ed. 787 (1927) .............................. 27

Simp§gn v. Stgte, `
1994 OK CR 40, 876 P.2d 690 ......................................

Sm th v. State t
1996 OK CR 50, 932 P.2d 521 ............................................... 37

Smith y. Stgte,
2007 OK CR 16, 157 P.3d 1155 .......................................... 27, 42

Stanley v, §tate,
1988 OK CR 151, 762 P.2d 946 .............................................. 20

Stiles y. State, `
1992 OK CR 23, 829 P.2d 984 ............................................... 19

Stricklgng v. Nashingtog,
466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) ......................... 46

24, passim

 

f"" `;

..»`

Sutt,on v, Stat§,
1988 OK CR 158, 759 P.2d 235 .............................................. 29

T_arter v. State
1961 OK CR 18, 359 P.2d 596 ...............................................

 

20
I_hom s v. Stat
1987 OK CR 113, 741 P.2d 482 .............................................. 29

J‘omlig v, Sta§§,
1994 OK CR 14, 869 P.2d 334 ............................................... 45

'United St t v Brown
776 F.2d 397 (2nd Cir. 1985) ................................................ 32

United State v Es inosa
827 F.2d 604 (9th Cir. 1987) ......................... 1. . . . . . . . .............. 32

United St tes V U d t t G m CO
438 U.S. 422, 98 S.Ct. 2864, 57 L.Ed.2d 854 (1978) ........................... 30

Wthgn y, S§a§e,
1987 OK CR 227, 744 P.2d 977 .............................................. 20

arner v. St t
2006 OK CR 40, 144 P.3d 838 ............................. l .................. 29

hal nv. U t_;ed St '
445 U.S. 684, 100 S.Ct. 1432, 63 L.Ed.2d 715 (1980) ......................... 19

Wil§y L Statg,

183 S.W.Sd 317 (Tenn. 2006) ............................................... 48

Wilhgit v, Stgte,
1991 OK CR 50, 816 P.2d 545 ............................................... 49

Williams y. §tate,
1973 OK CR 354, 513 P.2d 335 .............................................. 20

illiams v. t te
2001 OK CR 9, 22 P.3d 702 ................................................. 25

illiams v. 'I'a l r
529 U.S. 362, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000) ........................ 46

Willin am v. St e
1997 OK CR 62, 947 P.2d 1074 .............................................. 21

Wong Sun v. Ugited §tates,

371 U.S. 471, 83 S.Ct. 407, 9 L.Ed.2d l141 (1963) ............................. 45

Viii

 

Woogs v. State,

602 So. 2d 1210 (Ala. Crim. App. 1992) ..................................... 22
STATUTORY AUTHORITY
Okla. Stat. tit. 12, § 2403 (2011) .............................................. 39, 40
Okla. Stat. tit. 21, § 11 (2011) ..................................................... 17
Okla. Stat. tit. 21, § 142A-8 (2011) ................................................ 42
Okla. Stat. tit. 21, § 172 (2011) .................................................... 12
Okla. Stat. tit. 21, § 173 (2011) .................................................... 24
Okla. Stat. tit. 21, § 175 (5) (2011) ............................................... 24
Okla. Stat. tit. 21, § 645 (2011) .................................................... 23
Okla. Stat. tit. 21, § 646(A) (1) (2011) ............................................. 23
okla. Stat. tit. 21, § 701.7 (2011) ................................................... 1
Okla. Stat. tit., 21 § 701.8 (2011) .................................................. 22
Okla. Stat. tit. 21, § 701.8 (1) (2011) ............................................. 20
Okla. Stat. tit. 21, § 701.9 (B) ................................................. 22, 23
Okla. Stat. tit. 21, § 791 (2011) ................................................ 22, 23
Okla. Stat. tit. 21, § 801 (2011) ................................................. 1, 13
Okla. Stat. tit. 21, § 1289.13 (2011) ................................................. 1
Okla. Stat. tit. 22, § 196(1) (2011) ................................................. 45
Okla.Stat.tit.22,§202(1) (2011) ............... 45
Okla. Stat. tit. 22, § 436 .......................................................... 43
Okla. Stat. tit. 22, § 837 (2011) ......................................... 7 .......... 20
Okla. Stat. tit. 22, § 894 (2011) ................................................ 26, 27
Okla. Stat. tit. 22, § 896 (2011) ................................................ 29, 31
Okla. Stat. ti.t. 22, § 916 (2011) .................................................... 20
ix

 

Okla. Stat. tit. 22, § 1066 (2011) .................................................. 42
Okla. Stat. tit. 37, § 8 (2011) ....................................................... 1

Rule 3.11, Rules ofthe Oklahoma Court ofC'riminal Appeals,
Title 22, Ch. 18, App. (Supp. 2014) ......................................... 49

CONSTITUTIONAL AUTHORITY

United States Constitu§ional Autgoritx

U.S. Const., amend. IV ........................................................ 44, 45
U.S. Const., amend. V ..................................................... 11, 17, 19
U.S. Const., amend. VI .................................................... 26, 31, 46
U.S. Const., amend. XIV ................................................. 11, passim
Okla o ConstitutionalAuthorit
Okla. Const. Art. II, § 7 ................................................... 11, passim
Okla. Const. Art. II, § 9 ........................................................... 40
Okla. Const. Art. II, § 19 ........................................ ' .............. 26, 31
Okla. Const. Art. II, § 20 .................................................. 11, passim
Okla. Const. Art. II, § 21 .......................................................... 17
Okla. Const. Art.. II, § 30 ...................................................... 44, 45
OTHER AUTHORITIES
Oklahoma Uniform Ju;y Instrugtions - Criminal
Instruction No. 2-5, OUJI-CR (2d) ......................................... 12
Instruction No. 4-64, OUJI-CR (2d) ........................................ 13
Instruction No. 4-91, OUJI-CR (2d) ..................................... 20, 21
Instruction No. 4-144, OUJI-CR (2d) ....................................... 13
Instruction No. 6-45, OUJI-CR (2d) ........................................ 16
Instruction No. 10-11, 0UJI-CR (2d) . ....................................... 29

 

BRIEF OF APPELLANT

This briefis submitted on behalf of Deandre Bethel, the defendant in Tulsa
County District Court, who will be referred to by name or as Appellant. Appellee
will be referred to as the State or as the prosecution. Numbers in parentheses refer
to page citations in the original record (O.R.) , preliminary hearing (PH.Tr.), motion
hearing (M.Tr.), jury trial (Tr. ) and sentencing proceeding. (S.Tr.)

STATEMENT OF THE CASE

Appellant, Deandre Bethel was charged by Amended Information in Tulsa
County Case Number CF-2'012-0660, with Count 1, First Degree Felony Murder
during the commission of an Robbery with a Firearm, in violation of Okla. Stat. tit.
21, § 701.7 (2011); Count 2, Robbery with a Firearm, in violation of Okla. Stat. tit.
21, § 801 (2011); Count 3, Transporting a Loaded Firearm in a Motor Vehicle, in
violation of Okla. Stat. tit. 21, § 1289.13 (2011); and, Count 4, Public Intoxication,
in violation of Okla. Stat. tit. 37, § 8 (2011). (O.R. 40-45, 65-72)

Mr. Bethel’s jury trial was held before the Honorable James M. Caputo,
District Judge, on February 4-8, 2014. Assistant District Attorneys Kali Strain and
John Salmon prosecuted the case, and Steven Vincent represented Mr. Bethel. The
jury found Mr. Bethel guilty on all counts and assessed punishment at life
imprisonment with the possibility of parole in the Oklahoma Department of
Corrections on Count 1; five (5) years imprisonment in the Oklahoma Department
of Corrections on Count 2; five (5) months imprisonment in the Tulsa County jail
and a $250.00 fine on Count 3, and thirty (30) days imprisonment in the Tulsa
Countyjail and a $100.00 fine on Count 4. (O.R. 312-15) When thejury’sjudgment
was formally imposed on March 14, 2014, the court ordered the sentences on Counts
1 and 2 to be served consecutive to each other and Counts 3 and 4 to run concurrent

to each other and concurrently to Counts 1 and 2. (S.Tr. 20~21) It is from this

judgment and sentence that Mr. Bethel appeals.

1

 

 

STATEMENT OF THE FACTS

This case concerns the death of Byron Ivory, Jr., 24, on February 4, 2012. Mr.
Ivory was shot multiple times shortly before 2:00 a.m., in the parking lot outside
Club Pink, at 1800 South Boston Avenue, in Tulsa, Oklahoma. Emergency
personnel were unable to revive Mr. Ivory and he was pronounced dead at St. John
Hospital about 4 1/2 hours later. (Tr. 610, 632, 752)

Earlier that evening, Mr. Ivory was hanging out with two friends, Ernest
Roberts and Bradley Jarrett. (Tr. 360, 414) The men met at Mr. Roberts’s
apartment complex around 10:30 or 11:00 p.m. There they had a few drinks and
decided to go to the Gray Snail bar on Cherry Street in Tulsa. (Tr. 361-62, 414-15)
Mr. Ivory drove the group in his 2009 Chevrolet Impala. (Tr. 362, 416) At the Gray
Snail, the men drank rum and beer and listened to music for several hours. (Tr.
416) Around 1230 a.m., they decided to go to see if any of their friends were at Club
Pink, They arrived shortly before the club was about to close. (Tr. 363-64, 417, 439)
They drove around the parking lot looking for a parking place. The parking lot was
full of cars. (Tr. 401) Mr. Ivory was driving, Mr. Roberts was in the front passenger
seat, and Mr. Jarrett was in the back seat. (Tr. 364, 418) The group found a parking
place next to a railing with a five-foot drop on the other side. They sat there for two
or three minutes. As they were about to get out of the car, a short, thin, African
American male, wearing a black or navy blue hoodie, approached the passenger side
of Mr. Ivory’s vehicle. (Tr. 366-67, 378, 380-81, 419, 423-24, 443) Mr. Roberts
estimated the man was approximately 5'6" or 5'8". (Tr. 380) Mr. Jarrett thought he
was approximately 5’5". (Tr. 441) Mr. Roberts noticed the man had a “chin strap”
which he explained was sideburns connected to abeard, with no mustache. (Tr. 366,
381) According to Mr. Jarrett, the man was staggering like he was drunk. (Tr. 419)

Mr. Roberts’s car door was open and his right foot was out of the car. The

man asked Mr. Roberts, “Do I know you?” (Tr. 366, 392, 420) Mr. Roberts replied,

 

“I don’t know.” (Tr. 367, 420) Mr. Ivory said “hurry up, ya’ll, let’s get out of here."
(Tr. 468) The man put a gun to Mr. Roberts’s right side. Mr. Roberts was scared
and thought he was being robbed. He got out of the car, raised his hands, and asked
the man if he would like his cell phone and wallet. The man answered, “Yes.” (Tr.
368, 370, 392) Mr. Roberts handed him these items. Mr. Roberts clarified that the
man never made any demands or any comments, Mr. Roberts just assumed he was
being robbed. (Tr. 384)

Mr. Jarrett saw a car parked directly behind Mr. Ivory’s Impala. It was a
silver or white four-door sedan. (Tr. 424, 471) The vehicle’s headlights were shining
directly into his eyes. (Tr. 424) He noticed a person standing outside that vehicle.
on the driver’s side. (Tr. 421, 445-47) The man was tall and African American. (Tr.
423, 448) Mr. Jarrett could not see whether the man had a firearm. (Tr. 443)

While the gunman’s attention was diverted, Mr. Jarrett jumped out of the
back seat and ran. (Tr. 371-72, 384, 425) He heard multiple gunshots. (Tr. 425)
Once Mr. Roberts handed over his possessions, he jumped over the rail and also
fled. Mr. Roberts was unsure whether Mr. Ivory was standing outside the car on the
driver’s side or if he was still in the car when the incident occurred. (Tr. 368, 371)
As Mr. Roberts was running away, he thought he heard Mr. Ivory struggling with
someone. He heard what he described as “rustling" sounds. (Tr. 373, 383)

Mr. Roberts ran to Club Pink, which was about 20 yards away, After he took
two or three steps, he heard between five and ten gunshots. (Tr. 373, 387) Mr.
Roberts told one of the security guards at Club Pink that he had been robbed. (Tr.
390) He reunited with Mr. Jarrett at Club Pink. Mr. Jarrett was not wearing any
shoes. He said his black Nike tennis shoes had fallen off while he was running away,
(Tr. 395, 425, 453; State’s Exs. 58-60) The two men were shocked and scared and
wanted to get out of the area. They saw a friend at the club and asked for a ride to

Mr. Roberts’s apartment. (Tr. 375-76, 429, 459) From there, the two decided to go

3

 

to Mr. Roberts’s parents’ house in Bartlesville, arriving around 3:00 a.m. They tried
calling Mr. Ivory several times on the way but could never reach him. (Tr. 376-77,
378, 402, 428, 456) Around 8:30 or 9:00 a.m. that morning, they received a call from
4a Tulsa Police Detective informing them that Mr. Ivory had died. The two men
returned to Tulsa to talk to detectives about the homicide. (Tr. 432, 461)

Justin David White, and Clayton Lee Ayers, firemen with the City of Tulsa,
were at Station Five, their duty station, located at 18"‘ and Boston on February 4,
2012. Between 1130 a.m. and 2:00 a.m., the two men heard shots fired in the parking
lot west of the fire station, near Spirit Bank. (Tr. 479, 501) Mr. White estimated he
heard between nine and twelve gunshots. (Tr. 479, 495) Mr. Ayers thought there
were six or seven shots. (Tr. 504) The two men said they ducked behind their fire
truck when they heard the shots. (Tr. 479, 505)

Mr. White testified he saw a white, four-door, Chevrolet Cobalt leaving the
area where the shots were fired at a high rate of speed. (Tr. 481, 488) He identified
States’s Exhibit 3 as similar to the vehicle he saw that evening. (Tr. 485) He
noticed the rear driver’s side door of the vehicle was open and an individual was
getting into the moving vehicle as it was driving off. Mr. White could not tell the
race or gender of this person. (Tr. 488-89, 515) He testified there were no
distinguishing marks on the car, such as decals or dents. (Tr. 486)

The white car came out of the parking lot directly to the west of the station,
turned south on Boston, and then went west when it reached 21°° street. (Tr. 486,
491, 507) Both men saw another darker colored vehicle rapidly leaving the area in
the same direction as the first vehicle, but were not sure whether that vehicle was
associated with the incident. (Tr. 490, 498, 508) At the time of the gunshots, there
were approximately 30 or 40 people leaving the bars in the area. (Tr. 496, 517)

Mr. White reported the gunshots to the Tulsa Police Department and went
to the parking lot with Mr. Ayers. (Tr. 482-83, 506-07) They saw two people

4

 

 

standing near a large, black, male lying facedown between two vehicles at the north
end of the parking lot. (Tr. 483, 509, 519) Mr. Ayers raised the man’s shirt and
observed three or four gunshots wounds. The victim was still breathing but was
gasping for air. (Tr. 484, 509-10) Mr. White started assisting him until EMSA arrived
a short time later and took over his medical care. (Tr. 484, 511)

Deandre Bethel was developed as a suspect in the shooting when he was
stopped by police later that morning, around 6:00 a.m., in a white Chevrolet Cobalt
which matched the description of a vehicle seen leaving the crime scene. At that
time, Mr. Bethel was arrested for transporting a loaded firearm and public
intoxication. The .40 caliber Smith and Wesson semiautomatic handgun taken
during this arrest was later linked forensically to the crime. Tulsa Police Officer
Amley Floyd testified about this arrest oer. Bethel. Officer Floyd was working the
graveyard shift on February 4, 2012. He received a call from EMSA around 5:20 a.m.,
reporting that an ambulance had stopped at the intersection of Apache and Lewis
and noticed an individual, who appeared to be passed out, behind the wheel of a
vehicle with a gun in the passenger seat next to him. (Tr. 542, 558, 582-85) Officer
Floyd went to the intersection and saw a white, Chevy Cobalt with a paper tag. The
driver did not move and the car remained parked at the intersection even though
the light went through several cycles. (Tr. 543) Officer Floyd thought the driver
was intoxicated or asleep at the wheel. (Tr. 544) He could tell the car was running
and there was only one person in the car. Because he had been informed there was
a firearm in the car, he waited for backup to arrive. (Tr. 545) Officers Ian Adair and
Charles Ramsey arrived and assisted with the stop. (Tr. 586-87)

Officer Floyd activated his lights and sirens and gave the driver ofthe vehicle
commands over the loud speaker to place his hands up and put the vehicle in park.
(Tr. 545-46) Officer Floyd said the driver lifted his head up and the vehicle
proceeded through the intersection after the light turned green. (Tr. 546) The

5

 

vehicle began moving slowly, around five or ten miles per hour northbound. lt
traveled approximately 800 to 1000 feet and then stopped. (Tr. 547, 587) As the
officers approached the vehicle, they could see the driver leaning over the
passenger seat and reaching for the floorboard. Officer Floyd ordered the driver
out ofthe vehicle. (Tr. 548-49, 588)

Officer Floyd and Officer Adair both identified Deandre Bethel as the driver.
(Tr. 548, 588) Mr. Bethel got out of the car very slowly. Officer Floyd instructed Mr.
Bethel to turn around and he made several full turns. Mr. Bethel was unsteady on
his feet and staggering. As he was turning around, he kept falling over. (Tr. 551,
589) Officer Floyd placed handcuffs on Mr. Bethel. Both he and Officer Adair
noticed a strong odor of alcohol coming from Mr. Bethel’s person. He was slurring
his speech and his eyes were bloodshot. (Tr. 551, 589) Officer Floyd gave Mr. Bethel -
a sobriety test, during which he observed signs of`intoxication. He said Mr. Bethel
was falling over during this test. Officer Floyd was concerned for his safety. (Tr.
553) Officer Floyd informed Mr. Bethel of his Miranda rights. Mr. Bethel asked
what his charges were and Officer Floyd told him public intoxication and
possession of a firearm. Mr. Bethel asked where the firearm was and Officer Floyd
told him it was inside the vehicle. (Tr. 553-54) Mr. Bethel told Officer Floyd he
bought the firearm because he was advised by a police officer that someone was
trying to kill him and he needed a gun for protection. (Tr. 554, 601) Mr. Bethel said
he thought he been at a bar until around midnight but did not remember leaving
the bar or how he ended up at the traffic light at Apache and Lewis. (Tr. 554)

Officer Floyd placed Mr. Bethel under arrest and booked him for public
intoxication. His breathalyzer test registered a .04, below the legal limit for DUI.
(Tr. 555) Officer Floyd testified there was no doubt in his mind that Mr. Bethel was
"‘highly under the influence of something.” (Tr. 556, 562) His condition got worse

even after he took the sobriety test, He was harder to wake up, and Officer Floyd

6

 

had to continue to lean him up against the wall. He said Mr. Bethel repeatedly
asked him why was he there, (Tr. 556, 567)

Officer Stanley conducted an inventory search of the vehicle after Mr. Bethel
was arrested, in accordance with police department policy. (Tr. 590, 603) A
handgun magazine was located on the driver’s side floorboard containing live
rounds. Underneath the driver’s seat, Officer Stanley found an unloaded silver and
black, Smith and Wesson, .40 caliber handgun. (Tr. 559-60, 590-91, 596; State’s
Exhibits 7, 8) Mr. Bethel’s vehicle was taken into police custody and towed to the
Gilcrease Division impound lot. (Tr. 568, 592) Officer Floyd and Officer Stanley
both said they did not know anything about the shooting of Byron Ivory, Jr. at that

point,1 (Tr. 563, 605)

Tulsa Police Detective Kyle Martin Ohrynowicz recorded a video of the crime
scene which was admitted at trial as State’s Exhibit 64. (Tr. 611) Detective
Ohrynowicz narrated the video for the jury and pointed out the location of the
evidence in the case, including the location of bullet fragments and cartridge
casings at the scene. Most of the evidence was located between a black SUV and
the victim’s silver Impala. (Tr. 614-54) Detective Ohrynowicz admitted he could
not determine when this evidence was left at the scene. (Tr. 654)

Terrance Higgs, a Firearm and Toolmarks Examiner with the Oklahoma State
Bureau of Investigation, testified he examined State’s Exhibit 8, the .40 caliber
Smith and Wesson, semiautomatic pistol taken from Mr. Bethel’s car, after it was
submitted by the Tulsa Police Department. The pistol held 1 1 cartridges, ten in the
magazine and one in the chamber. (Tr. 689-690) Agent Higgs determined the pistol

was in working order. (Tr. 691) He compared casings, bullets and bullet fragments

 

l

Officer Floyd revealed at trial that he had been good friends with Byron Ivory, Jr.
and had gone to high school with him for four years. (Tr. 568-69)

 

collected from the scene to ones fired from the pistol. (Tr. 692) He concluded that
State’s Exhibits 12, 19 and 66, two shell casings and one bullet fragment, had all
been fired from State’s Exhibit 8. (Tr. 692-96, 886) Agent Higgs testified there were
at least four separate firearms involved in the shooting: a .357/.38 special, a .45 Hi-
Point, a .40 Glock or Sigma and the .40 caliber Smith and Wesson. (Tr. 715-16) His
report was admitted at trial as State’s Exhibit 71. (Tr. 713)

Medical Examiner Joshua Lanter testified that he conducted an autopsy of
Byron Ivory, Jr., on February 12, 2012. (Tr. 751) Dr. Lanter's autopsy report and
diagram were admitted at trial as State’s Exhibit 73. (Tr. 754, 765) He identified ten
separate gunshot'wounds to Mr. Ivory’s body, mostly in the torso area. (Tr. 755-61)
Dr. Lanter opined that the wound to Mr. Ivory’s back and lung, and the wound to
his chest which involved the aorta and large bowel, could have been lethal alone.
Collectively, these wounds would almost certainly have been lethal. (Tr. 762) Dr.
Lanter also thought that the blood loss Mr. Ivory sustained from the remaining
bullet wounds could ultimately have been lethal as well. He removed a projectile
from Mr. Ivory’s knee region and provided it to the police, (Tr. 763-764, 767; State’s
Ex. 68) Toxicology tests revealed an ethanol alcohol concentration of .06 in the
victim’s blood and .07 percent in the fluid ofhis eye. (Tr. 773) Dr. Lanter concluded
that the cause Mr. Ivory’s death was multiple gunshot wounds and the manner of
his death was homicide. (Tr. 765)

Tulsa Police Detective Jason White testified he obtained and reviewed
State’s Exhibit 72, video surveillance from the Spirit Bank parkinglot. He claimed
he could see a four-door sedan pull up behind the victim’s car approximately two-
and~a-half minutes after the victim pulled into the parking space. (Tr. 791-92) He
testified the video showed occupants of this vehicle approaching the victim’s car,
followed by a muzzle flash and then multiple individuals reentering the vehicle and

two vehicles leaving the scene at a high rate of speed. (Tr. 797) One vehicle went

8

 

southbound on Boston and another went westbound on 21‘° street. (Tr. 798)
Detective White noted that the parking lot was full of cars at this time, but not
people, as it was 1: 40 a. m. and the bars had not yet closed. (Tr. 798) .-

Detective White said he interviewed Tulsa Fireman Jason White, who told
him he got a good look at one of the suspect vehicles. He described it as a white,
four-door Chevy Cobalt. (Tr. 802) Detective White claimed he receivedinformation
that Deandre Bethel had been involved in a disturbance at Club Pink that evening.
He also learned that Mr. Bethel had been stopped and arrested in the area of
Apache and Lewis in a white Chevy Cobalt. At the time of this arrest, Mr. Bethel
was in possession of a firearm consistent in caliber with one used in the shooting.
(Tr. 804) Detective White retrieved this firearm from the property room in order to
submit it for comparison with the known evidentiary items from the scene of the
shooting. (Tr. 803, 804) He subsequently discovered that several of the casings
and a bullet fragment collected from the parking lot matched the firearm taken
from Mr. Bethel’s vehicle during this earlier arrest, (Tr. 804-09)

On the basis of this evidence, Mr. Bethel was arrested by the warrant squad
around 1 1:00 a.m. on December 8, 2012, and charged with the murder oforon Ivory,
Jr. (Tr. 739-42, 81 2) He was brought to the detective division for an interview, which
was admitted at trial as State’s Exhibit 74. (Tr. 818). After being advised of his
Miranda rights, Mr. Bethel agreed to talk to the detectives. (Tr. 814-16; State’s
Exhibit 75) According to Detective White, Mr. Bethel told him he did not remember
anything from 8:00 p.m. until the time he was stopped by police around 5:00 a.m.
He could not remember what he was wearing that evening. (Tr. 822-23, 885) Mr.

Bethel told Detective White that he bought the gun from a guy with dreads that he

thought was named Rio, but Detective White claimed he was unable to corroborate

 

this information. (Tr. 835, 865; State’s Ex. 74).2 During the interview, Mr. Bethel’s

clothing was collected. His gray Carolina hoodie was admitted at trial as State’s
Exhibit 26, but it was never linked to the crime. (Tr. 836)

Detective White admitted he did not locate any fingerprints or DNA evidence
linking Mr. Bethel to the homicide. (Tr. 892-901) He admitted police did not process
the firearm to determine if any fingerprints could be linked to the person who sold
the weapon to Mr. Bethel. (Tr. 901) Detective White said Mr. Roberts’s wallet was
recovered under the victim’s body but his cell phone was never recovered. Two cell
phones were located in Mr. Bethel’s vehicle after his arrest but neither was Mr.
Roberts’s cell phone. (Tr. 923) Although Mr. Bethel’s house was searched, no
evidence associated with the homicide was recovered. (Tr. 926)

Deandre Bethel testified on his own behalf. He told the jury that he did not
kill or rob Byron Ivory, Jr., and that he had never seen Mr. Ivory before in his llfe.
(Tr. 979) He said he could not remember whether he was at Club Pink on the
evening/morning hours of February 3-4, 2012. (Tr. 980, 987) At the time of the
incident he drove a 2009 Chevy Cobalt. He purchased the vehicle on January 9,
2012, and it still had a temporary tag on February 4, 2012. (Tr. 980) He did not
believe his vehicle was at or near Club Pink that night but admitted he had memory
problems because he was under the influence of alcohol and had taken a Xanax bar.
He said Xanax “takes you out of it” and alcohol intensifies this effect. (Tr. 981)

Mr. Bethel testified he was wearing a light-colored, button-up, collared shirt,
blue-gray jeans and gray Nike shoes when he was arrested that morning. (Tr. 982)
He did not remember changing his clothes at any time that evening. (Tr. 982)

Mr. Bethel said he told police he had bought this silver and black firearm

 

” Detective White testified that there was a robbery reported at the Mercury Lounge
across the street a few minutes before the shooting. (Tr. 914) Interestlngly, one of the

individuals involved in the robbery was reported to have “a beanle with some dreads hanging
out." (Tr. 919)

10

 

find beyond a reasonable doubt that Mr. Bethel committed the robbery that
occurred outside the Club Pink that night, or that Mr. Bethel knowingly and with
criminal intent aided and abetted Deandre Williams or anyone else in committing
that crime. Therefore, his convictions for the robbery and the murder predicated
on that offense rest on insufficient evidence in violation of the Due Process Clause
of the Fifth and Fourteenth Amendments. See Jaclcson v. Virginz'a, 443 U.S. 307, 99
S.Ct. 2781, 61 L.Ed.2d 560 (1979). Accordingly, Counts 1 and 2 must be vacated.
PR.OPOSITION II

MR.. BETHEL’S CONVICTION AND SENTENCE FOR. COUNT II, ROBBERY WITH
A FIREARM, MUST BE VACATED BECAUSE THE SAME CHARGE SER.VED AS
THE UNDER.LYING FELONY FOR HIS CONVICTION OF FELONY MUR.DER., IN

VIOLATION OF THE FIFTH AND FOURTEENTH AMENDMENTS TO THE

UNITED STATES CONSTITUTION AND ARTICLE II, § 21 OF THE OKLAHOMA
CONSTITUTION.

As argued in Proposition I, the conviction for First Degree Felony Murder
cannot be upheld because the evidence is legally insufficient to prove Mr. Bethel
guilty of the predicate felony, and thus also insufficient to prove the murder. if this
Court rejects this argument and upholds the conviction for First Degree Felony
Murder on Count 1, then the Double Jeopardy Clauses of the federal and state
constitutions require that the predicate felony, Robbery with a Firearm, be

vacated. U.S. Const. amend. V; Okla. Const. art. 2, § 21; see also Okla. Stat. tit. 21,
§ 1 1 (2011).

The State charged Mr. Bethel in Count 1 of the Amended Information with

First Degree Felony Murder as follows:

DEANDRE BETHEL and DEANDRE ARMON WILLIAMS, on or about
2/4/2012, in Tulsa County, State of Oklahoma and within the jurisdiction of
this Court, did commit the crime of FELONY MURDER-FIRST DEGREE, a
Felony, by unlawfully, feloniously, and willfully while acting in concert each
with the other and with other unknown individuals and during the
commission of an attempted robbery with a firearm of Byron J ames Ivory Jr.,
Ernest Jordan Roberts and Bradley Jarrett w/a firearm, without authority of
law, effect the death of Byron J ames Ivory Jr. by shooting him then and there
and thereby inflicting certain mortal wounds in the body of said Byron J ames
Ivory Jr. from which mortal wounds the same Byron J ames Ivory Jr. did

17

 

 

r..

languish and die on the 4th day of February 2012,
(O.R. 129) Mr. Bethel was convicted at trial of First Degree Felony Murder as
alleged in Count 1. (O.R. 312; Tr. 1063-64) The underlying felony of Robbery with a

Firearm alleged in Count I was the identical robbery that was independently

charged in Count II of the Amended Information:

DEANDRE BETHEL and DEANDRE ARMON WILLIAMS, on or about
2/4/2012, in Tulsa County, State of Oklahoma and within the jurisdiction of
this Court, did commit the crime of ROBBERY WITH A FIREARM, a Felony,
by unlawfully, feloniously, and wrongfully, while acting in concert each with
the other and with other unknown individuals, rob one Byron James Ivory Jr.,
Ernest Jordan Roberts, and Bradley Jarrett by wrongfully taking and
carrying away certain personal, to-wit: money and cell phones, belonging to
Byron J ames Ivory Jr., Ernest Jordan Roberts, and Bradley Jarrett and in the
possession ofsaid Byron James Ivory Jr., Ernest Jordan Roberts, and Bradley
Jarrett, and in their immediate presence, without their consent and against
their will, said robbery being accomplished by said defendants with the use
of a certain firearm, to~wit: handguns, and which they used to menace and
threaten the said Byron J ames Ivory Jr., Ernest Jordan Roberts, and Bradley
Jarrett with harm if they resisted, and by said assault, threats and menace,
did then and there put the said Byron J ames Ivory Jr., Ernest Jordan
Roberts, and Bradley Jarrett in fear ofimmediate and unlawful injury to their
person and overcame all their resistance, and while so intimidating them, did

then and there wrongfully take and obtain from them the personal property
and money aforesaid,

(O.R. 129) In addition to being found guilty and receiving a sentence of life with the
possibility of parole for the felony murder in the course of a robbery with a firearm,
Mr. Bethel was convicted separately of this same robbery as to these same victims
and sentenced to five (5) years imprisonment. (O.R. 313; Tr. 1063-64)

Whether Mr. Bethel’s convictions for both First Degree Felony Murder and
Robbery with a Firearm violate the prohibition against double punishment is a
question of law which this Court reviews de novo. Coffia v. State, 2008 OK CR 24,
191 P.3d 594, 596. “Issues of law are reviewable by a de novo standard and an
appellate court claims for itselfplenary independent and non-deferential authority
to reexamine a trial court's legal rulings.” Kluver v. Weatherford Hosp. Auth., 859

P.2d 1081, 1084 (Okla. 1993) (citing Salve Regina Coll. v. Russell, 499 U.S. 225, 231,
111 S.Ct.1217, 1221, 113 L.Ed.2d 190 (1991)).

18

 

 

Clearly, the predicate felony of Robbery with a Firearm as to these three
victims merged into the proof required for Mr. Bethel’s conviction of First Degree
Felony Murder. The Double Jeopardy Clause prohibits convictions for felony
murder and the underlying felony. See Harris v. Okldhoma, 433 U.S. 682, 382-83, 97
S.Ct. 2912, 53 L.Ed.2d 1054 (1977); Whalen v. United States, 445 U.S. 684, 693-94, 100
S.Ct. 1432, 63 L.Ed.2d 715 (1980) . Where proof of the felony is a necessary element
of the felony murder, the offense is the same, and the defendant cannot be punished
for both. Id. at 694. The appropriate remedy is to vacate the conviction for the
underlying felony. See Perry v. State, 1993 OK CR 5, 853 P.2d 198, 200-01 (vacating
conviction for robbery where defendant was convicted of robbery and felony murder
on the basis of that robbery because convictions for both violated double jeopardy);
Jefferson v. State, 1984 OK CR 27, 675 P.2d 443, 447 (same); Stiles v. State, 1992 OK
CR 23, 829 P.2d 984, 995 (same). Counts 1 and 2 both alleged the same actions
against the same victims. Because Count 2 was the predicate felony for the
conviction on Count 1, this Court must order the conviction for Robbery with a
Firearm dismissed as it is wholly subsumed by the Felony Murder conviction.

PROPOSITION III
THE TRIAL COURT COMMITTED FUNDAMENTAL ER.ROR BY FAILlNG TO
INSTRUCT THE JURY ON THE LESSER OFFENSES OF SECOND DEGREE
DEPR.AVED MIND MURDER, SECOND DEGREE FELONY MURDER, AND
ACCESSORY AFTER THE FACT, IN VIOLATION OF MR. BETHEL’S RIGHTS TO
DUE PROCESS AND A FAIR TRIAL UNDER THE FIFTH AND FOURTEENTH

AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE lI, §§
7 AND 20 OF THE OKLAHOMA CONSTITUTION.

Mr. Bethel was convicted ofFirst Degree Felony Murder and sentenced to life
imprisonment with the possibility of parole. (O.R. 312, 376-77; Tr. 1063) The jury
was given no options other than guilt or innocence for First Degree Murder because
the trial court did not provide the jury with instructions on any lesser offenses.
Although Mr. Bethel argued in Proposition I that the evidence was insufficient as

a matter oflaw to sustain the conviction, he alternatively submits that in the event

19

 

 

this Court finds the evidence sufficient, the evidence also was sufficient to warrant
lesser related offense instructions

Oklahoma statutes authorize instructions on lesser offenses when
appropriate. Okla. Stat. tit. 22, §§ 837, 916 (2011). When one is charged with First
Degree Murder, all lesser forms of homicide are necessarily included and
instructions on lesser forms of homicide should be given if they are supported by
the evidence. Chz'ldress v. State, 2000 OK CR 10, 1 P.3d 1006, 1101-02. Moreover,
where there is any evidence tending to reduce the crime charged from murder to a
lesser degree of homicide, the trial court should give the defendant the benefit of
the doubt'and instruct the jury on the lesser offense. Tarter v. State, 1961 OK CR
18, 359 P.2d 596, 597.

Prior to closing arguments, the trial court asked defense counsel if he had
any proposed instructions Counsel offered no proposed lesser offense instructions.
(Tr. 1000-01) Despite this lapse in representation, which is the subject of a claim
of ineffective assistance of counsel in Proposition X, under Oklahoma law the trial
court had an absolute duty to instruct the jury on any lesser included offense
supported by the evidence, whether requested or not. See Stanley v. State, 1988
OK CR 151, 762 P.2d 946, 949; Walton v. State, 1987 OK CR 227, 744 P.2d 977, 978;
Williams v. State, 1973 OK CR 354, 513 P.2d 335, 339; Tarter v. State, 1961 OK CR 18,
359 P.2d 596, 597, 600-601. The following lesser offenses were supported by the
evidence and the jury should have received instructions on each of these offenses.

A. Second Degree Depraved Mind Murder.

The evidence as presented to the jury supported the lesser offense of Second
Degree Depraved Mind Murder under Okla. Stat. tit. 21, § 701.8 (1) (2011). There
are two elements to this crime: first, that the conduct was “imminently dangerous
to another person,” and second, that the conduct “evinced a depraved mind i_n

extreme indifference to human life.” OUJI-CR (2d) 4-91. A person evinces a

20

 

(_ ,__»

V'"'?

“depraved mind” when he engages in imminently dangerous conduct with
contemptuous and reckless disregard of, and in total indifference to, the life and
safety of another. “Imminently dangerous conduct” means conduct that creates__
what a reasonable person would realize as an immediate and extremely high
degree of risk to another person. Instruction No. 4-91, OUJI-CR (2d); Palmer v.
State, 1994 OK CR 16, 871 P.2d 429, 432-33, overruled on other grounds by
Willingham v. State, 1997 OK CR 62, 947 P.2d 1074.

Oklahoma law has long required that for conduct to evince a depraved mind,
it must be done with a conscious disregard of the obvious danger to others. See
Jewell v. Territory, 1896 OK 16, 43 P. 1075, 1082. The act or conduct must be
“calculated” to put life in jeopardy and “perpetrated with the full consciousness
ofthe probable consequences.” Massie v. State, 1976 OK CR 174, 553 P.2d 186,191;
see also Palmer v. State, 871 P.2d at 432-33. The examples of conduct evincing a
depraved mind - firing a gun into a crowd of people, poisoning a public water well,
derailing a speeding train, blowing up a building that the person knows to be
occupied - all have one common fact that distinguishes them from lesser degrees
of homicide. Jewell v. Territory, 43 P. at 1078. That fact, as this Court stated in
Dennis v. State, 1977 OK CR 83, 561 P.2d 88, 95, is that “death to someone is so
probable that the law will infer an intent.”

An instruction on this offense would have allowed the jury to find that
although Mr. Bethel may not have intended to kill Mr. Ivory, his decision to
participate in a robbery when armed participants were involved and weapons were
discharged in an area full o`f people was an act imminently dangerous to Mr. Ivory
and other people in the vicinity, and evinced a depraved mind regardless of human
life. See Palmer 1). State, 871 P.2d at 431-433; Breshers v. State, 1977 OK CR 331, 572
P.2d 561, 563-565, 568, Shooting into a crowd of people is a classic example of
depraved indifference to human life, the defining element of this form of Second

21

 

 

\

Degree Murder. See, e.g., Woods v. State, 602 So.2d1210, 1212-13 (Ala. Crim. App.
1992) ; Neitzel 1). State, 655 P.2d 325, 327 (Alaska App. 1982); Humphries v. State, 18
So.3d 305, 309 (Miss. Ct. App. 2009).

Mr. Bethel was entitled to have Second Degree Depraved Mind Murder
considered by his jury, and was deprived of this entitlement.. A rationaljury could
have inferred from the evidence presented that Mr. Bethel acted not with an intent
to kill but with a depraved mind, evidenced by imminently dangerous conduct. If
the jury had been instructed on Second Degree Murder, Mr. Bethel would have
faced different elements of proof, as well as different punishment ranges. The
punishment range for Second Degree Murder is ten (10) years to life imprisonment.
Okla. Stat. tit. 21, § 701.9 (B) (201 1). When thejury was not instructed upon Second
Degree Murder, it was denied the ability to consider the evidence and_ the actions
of Mr. Bethel as to this critical lesser offense. Accordingly, his conviction must be

reversed for a new trial.

B. Second Degree Murder with Robbery by~Force and Fear as the
UnderlyingFelony.

Oklahoma’s Second Degree Felony murder doctrine is set forth in Okla. Stat.`
tit. 21, § 701.8 (2011) which states “Homicide is murder in the second degree in the
following cases: 2. When perpetrated by a person engaged in the commission of
any felony other than the unlawful acts set out in Section 1, subsection B, of this
act.” Section 701.8(2) is felony murder when the underlying felony ls any felony
other than those enumerated in section 701.7(B) . In the instant case, the evidence
would have permitted the jury to find Mr. Bethel guilty of the underlying felony of
First Degree Robbery, Okla. Stat. tit. 21, § 791, et seq. Section 791 defines robbery
as the wrongful taking of personal property in the possession of another, from his
person or immediate presence,- and against his will, accomplished by means of force

or fear. Section 797(1) specifies that robbery will be ofthe first degree when, during

22

 

 

the course of the robbery, the defendant inflicts serious bodily injury upon the
person. Oklahoma defines Robbery by Force or Fear as “a wrongful taking of
personal property in the possession of another, from his person or his immediate
presence, and against his will, accomplished by means of force or fear.” Okla. Stat.
tit. 21, § 791 (2011).

The State’s theory was that Mr. Bethel was with a group of individuals who
attempted to take money and/or property from Byron Ivory, Ernest Jordan and
Bradley Jarrett by force or fear by ambushing them in the parking lot. If the jury
chose to believe Mr. Bethel was a participant but did not shoot or brandish a gun
that evening, it could have found him guilty of this form of robbery,

Another possible underlying felony for an instruction on Second Degree
Felony Murder could have been premised on the felony of Assault with a Dangerous
Weapon or Aggravated Assault and Battery pursuant to Okla. Stat. tit. 21, §§ 645
and 646(A) (1) (2011) . If the jury chose to believe Mr. Bethel fired a weapon at the

other occupants of the car, he could be found guilty of Second Degree Felony

Murder using one of these felonies as the underlying crime.'1

Second Degree Murder is punishable by a sentence of not less than ten years
nor more than life. Okla. Stat. tit. 21, § 701.9 (B). Had the jury been instructed on
lesser related offenses, and convicted Mr. Bethel on any of them, he would have
faced a punishment potentially less than he faced on the First Degree Murder
charge. Mr. Bethel submits that this was fundamental error and warrants plain
error review. Neglecting to instruct the jury on the appropriate lesser related
offenses constituted a serious violation of due process of law and deprived Mr.
Bethel of rights essential to his defense. Hick,s v. Oklahoma, 447 U.S. 343, 345-346,
100 S.Ct. 2227, 2229-30, 65 L.Ed.2d 175 (1980)(holding that an arbitrary denial of

 

" With the demise of the merger rule, there would be no impediment to the use of

these crimes as the underlying felony. See Barnett v. State, 2011 OK CR. 28, 263 P.3d 959.
23

 

 

{""'i

.~.€ r..-i..g ".... ` ._.._..:

la

f`"!

`3

rights provided by State law, in that case the right to have the jury decide
punishment, is a violation of due process of law); Simpson v. State, 1994 OK CR 40,
876 P.2d 690, 695.

C. Accessory.

Clearly, Appellant’s theory of defense was that he was not involved in the
alleged robbery or the resulting homicide, but the evidence could supported the
argument that he was at least an Accessory After the Fact. In order to be guilty of
being an Accessory, the accused must “conceal or aid the offender with knowledge
that he [the offender] has committed a felony, and with such intent that he may
avoid or escape from arrest, trial. conviction, and, or punishment, . ." 0kla. Stat.
tit. 21, § 173 (2011). Under the facts of this case, a reasonable jury could have
doubted whether Mr. Bethel was indeed “a willing participant in this robbery” and
concluded that he had aided Mr. Williams or others, knowing they had just
committed a felony and with an intent to help them avoid arrest and prosecution.
Given Mr. Bethel’s possession of a weapon associated with the homicide and a
vehicle matching the description of one of the getaway cars after the crime had

been committed, there is ample evidence supporting an instruction on this offense

and the jury should have been so instructed.8 Accessory After the Fact to First

Degree Murder is a very serious crime carrying a range of punishment from five (5)
to forty-five (45) years. Okla. Stat. tit. 21, § 175 (5) (2011). If the jury had been
instructed on this offense, it could have found Mr. Bethel of a serious felony and
sentenced him to imprisonment for his connection to the murder without having
to impose a minimum life sentence. Instructions on Accessory would have provided
a third alternative, but instead the jury was forced to chose between a conviction

for Murder in the First Degree or out right acquittal for a homicide. Given only the

 

° An instruction on the lesser related offense of Accessory can be appropriate in a

murder case. See Glosstp v. State, 2001 OK CR 21, 29 P.3d 597.

24

 

 

l ""l

(_"";

choice between finding him guilty of an offense the State did not prove or letting
him go free despite his involvement, the jury opted for the former, although it
clearly struggled with this decision as the jury deliberated well into the early
morning hours. (Tr. 1056-63) The realization that juries will do this is why
instructions on lesser offenses must be given. See, e.g., Keeble v. United States, 412
U.S. 206, 212-13, 93 S.Ct. 1993, 1998, 36 L.Ed.2d 844 (1973).

By failing to request instructions on Accessory as a lesser related offense,

trial counsel waived for Appellant all but plain or fundamental error.9 Williams v.

State, 2001 OK CR 9, 22 P.3d 702, 713. Fundamental error is error that goes to the
foundation of the case or takes from a defendant a right essential to his defense.

See Simpson v. State, 1994 OK CR 40, 876 P.2d 690, 695 (citing, inter alia, Rea v.
State 3 Okl.Cr. 281, 105 P. 386 (1909) (Syllabus 2(c))). Appellant submits that
under the facts in this case, the failure to provide instructions on Accessory both
went to the foundation of the case and took from Appellant a right essential to his
defense. As this Court has recognized, “The people of this State are, in the most
literal sense, a party to every criminal prosecution. The public has an undeniable
interest in seeing that offenders are appropriately punished for their crimes.”

McHam v. State, 2005 OK CR 28, 126 P.3d 662, 669 iemphasis added). Thejury could
not determine the appropriate punishment for Mr. Bethel without correctly
assessing the crime of which he was guilty. Because the instructions prevented the

jury from making an accurate assessment of Appellant’s guilt, his convictions must

be reversed.

 

° In Proposition X, Appellant claims that trial counsel was constitutionally

ineffective for failing to request such an instruction.

25

 

 

PROPOSITION lV

THE TRIAL COURT ER.RED IN FAILING TO COMPLY WITH THE LAW
GOVERNING CONTACT WITH JURORS DURING DELIBERATIONS AND BY '
FAILING TO ADVISE DEADLOCKED JURORS NOT TO SURRENDER THEIR
HONEST CONVICTIONS CONCERNING THE WEIGHT OF THE EVIDENCE IN
QRDER TO REACH A VERDICT, IN VIOLATION OF OKLA. STAT. TIT. 22, § 894
AND MR. BETHEL’S RIGHTS UNDER THE SIXTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE II, §§
7, 19 AND 20 OF THE OKLAHOMA CONSTITUTION.

The trial court handled questions during jury deliberations in a manner
contrary to the clear command of statute and directives by this Court, The law
dictates that prejudice be presumed, and the facts of this case do not overcome
that presumption. Accordingly, Mr. Bethel’s convictions must be overturned.

After the jury retired to deliberate Mr. Bethel’s fate at 6:04 p.m., they sent
out four separate notes to the trial court. (Tr. 1056) At 7:20 p.m., the jury sent out
its first note requesting a DVD player and a television. (Tr. 1062) Apparently, the
trial court never saw this note as it was given directly to the bailiff, who provided
the jury with a television and DVD player. (Tr. 1062) At 11:06 p.m., the jury sent a
second note, which contained two questions: (1) “What should we do if we can not

come to a unanimus (sic) decision?”, and (2) “If we have unanimus (sic) decisions
on some counts - how do we proceed?” (Tr.1059;Court’s Exhibit)10 The trial court

responded in writing at 11:30 p.m., telling the jury, “Please continue to deliber te
on those counts which you have not yet reached a unanimous decision.” (Tr. 1060;
Court’s Exhibit) At 12:14 a.m., the trial court received another note from the jury
that said, “Can the court contact family members of the jury and let them know we
are ok and still on duty?” (Tr. 1060; Court’s Exhibit) The trial court again
responded in writing, informing the jury that “You were all advised to alert your

families that you would be in deliberations until complete.” (Tr. 1060; Court’s

 

‘° Although the trial court included these notes as part of the record on appeal, he
did not designate a particular Court’s Exhibit number for each note,

26

 

 

Exhibit) The trial court later told counsel that he did not notify the parties about
this note because he did not believe it was anything “germane” to the facts of the
case. (Tr. 1060-61) The jury sent a final note at 12:55 a.m., indicating it had
“reached our verdicts.” (Tr. 1061; Court’s Exhibit)

The trial court erred in his handling of the jury’s questions. First, he failed
to bring the jury back into the courtroom on each of the notes. The Oklahoma
Legislature has mandated how jury questions are to be handled procedurally. If
jurors have a question on a point of law during deliberations, the trial court is
required to inform counsel and to bring the jury back into the courtroom to give
them further information. Mitchell v. State, 2011 OK CR 26, il 130, 270 P.3d 160; see
also Rogers 1). United States, 422 U.S. 35, 95 S.Ct. 2091, 45 L.Ed.2d1 (1975); Shields
1). United States, 273 U.S. 583, 585, 588, 47 S.Ct. 478, 71 L.Ed. 787 (1927). Oklahoma

law requires:

After the jury have retired for deliberation, if there be a disagreement

between them as to any part of the testimony or if they desire to be informed

on a point of law arising in the cause, they must require the officer to conduct

them into court. Upon their being brought into court, the information

required must be given in the presence of, or after notice to the district

attorney and the defendant or his counsel, or after they have been called.
Okla. Stat. tit. 22, § 894 (2011). Here, however, the trial court failed to follow
Section 894’s mandate. There is no evidence that the jury was brought back into
open court for any of the questions. Further, as to the note at 12:14 a.m. in which
jurors asked if they could contact their family members, the trial court admitted
he did not inform or consult counsel about this jury question. (Tr. 1060-61)

_ Mr. Bethel had a right to'assume that any communication with the jury would
be made in open court and that he would have an opportunity to be heard. His
rights to counsel and_ due process were violated by the trial court's communication
with the jury outside of the courtroom and without the presence oer. Bethel or his

attorney as to this particular question. See Smith 1). State, 2007 OK CR 16, ll‘ll 50-52,

27

 

 

1 57 P.3d11 55 (finding district court erred in providing written answers to thejury’s
questions without first consulting with counsel and then bringing the jury into
open court to answer the questions).

lt is true that counsel was notified and asked to respond to thejury’s note at
11:06 p.m., which contained two questions: (1) “What should we do if _we can not
come to a unanimus (sic) decision?”, and (2) “lf we have unanimus (sic) decisions
on some counts - how do we proceed?” (Tr. 1059; Court’s Exhibit) Unfortunately,
counsel acquiesced in the Court’s response to continue deliberating. (Tr. 1060;
Court’s Exhibit) Trial counsel should have objected to the court's directive and his
failure to adequately protect the record is addressed in a separate claim of
ineffective assistance of counsel in Proposition X. Nonetheless, the trial court
committed fundamental error by deviating from settled law on how to respond
when ajury indicates it is at an impasse. The trial judge failed to follow any of the
prescribed procedures. Rather than bringing thejury back into the courtroom, the
judge sent written a response to the jury, Had the response been appropriate, the
judge’s failure to follow Section 894 probably would have been harmless. See, e.g.,
Givens v. State, 1985 OK CR 104, 705 P.2d 1139, 1140-41. However, his response to
this question was not only inappropriate, it was coercive.

The complete and correct answer to thejury’s question about unanimity was
two-fold: a not guilty verdict must be unanimous, and if jurors could not reach a
unanimous verdict, a mistrial would be declared. Rather than telling the jury this,
however, the judge responded, “Please continue to deliberate on those counts
which you have not yet reached a unanimous decision.” (Tr. 1060) The judge’s
response was coercive, especially to jurors who were in the minority, because it
indicated there was no way for the trial to conclude other than by unanimous

verdicts.

This Court has held that when jurors indicate they are at an impasse in

28

 

deliberations, the trial judge can call the jury back into the courtroom and ask if
jurors think further deliberations would be helpful. If jurors indicate they might
be able to reach a verdict with further deliberations, the court can ask them to
continue deliberating See Higgins v. State, 1972 OK CR 16, il 23, 493 P.2d 1121;
Sutton v. State, 1988 OK CR 158, 711 12-13, 759 P.2d 235, 237. Ifthejurors advise that
further deliberations would not be fruitful, thejudge can declare a mistrial. Okla.
Stat. tit. 22, § 896 (2011).

Alternatively, the Court can simply give the jury the carefully-crafted Allen

instruction11 approved by this Court. See lnstruction No. 10-11, OUJI-CR (2d),

which derives from the “model of fairness” instruction approved in Piclcens 1). State,
1979 OK CR 99,1lil 10-11, 600 P.2d 356, 358-59; accord Thomas v. State, 1987 OK OR
113, ll 21, 741 P.2d 4'82, 488. Indispensable to such an instruction is making clear
that the request for the jury to continue deliberating and to try reaching a verdict
“does not mean that those favoring any particular position should surrender their
honest convictions as to the weight or effect of any evidence solely because of the
opinion of other jurors or because of the importance of arriving at a decision.”
Instruction No. 10-11, OUJI-CR (2d ed.).

Jurors must be admonished that “[n]o juror should ever agree to a verdict
that is contrary to the law in the court's instructions, nor find a fact or concur in a
verdict which in good conscience he or she believes to be untrue.” Id.; Hooks v.
State, 2001 OK CR 1, il 26, 19 P.3d 294 (noting well-settled law indicates that
exhortlng jurors not to abandon their honestly held beliefs is necessary whenever
a deadlocked jury is returned to deliberations), abrogated on other grounds by
Warner v. State, 2006 OK CR 40, 144 P.3d 838; see also Sartin 1). State, 1981 OK CR

157, ll 7, 637 P.2d 897, 898; Drew v. State, 1989 OK CR 1, il 19, 771 P.2d 224, 229;

 

" An Allen instruction derives its name from jury instructions approved by the

Supl'eme Court in Allen v. United States, 164 U.S. 492, 17 S.Ct. 154, 41 L.Ed. 528 (1896).

29

 

 

l"""

c""f

accord Brogie v. State, 1985 OK CR 2, il 30, 695 P.2d 538, 545 (holding that asking
the jury to arrive at averdict is not coercive ifjurors are cautioned not to surrender
honest convictions just to reach a verdict) . An Allen instruction will not be upheld
ifit does not tell jurors they have a right to hold to their honest convictions. Miles
1). State, 1979 OK CR 116,1lil 5-6, 602 P.2d 227,

This Court’s insistence that special care be taken to prevent coercion of a
verdict is consistent with Supreme Court precedent requiring the same of courts
over which it has supervisory powers. As is the case with state judges in Oklahoma,
a federal judge cannot tell the jury it must reach a unanimous decision or
emphasize the importance of reaching a unanimous verdict without also
emphasizing that no juror should surrender his honest conviction or concur in a
verdict he believes is untrue solely because of the opinions of other jurors or
because of the importance of arriving at a decision. Jenlcins v. United States, 380
U.S. 445, 446, 85 S.Ct. 1059, 13 L.Ed.2d 957 (1965)(per curiam); Un'lted States v.
United States Gypsum Co., 438 U.S. 422, 459-62, 98 S.Ct. 2864, 57 L.Ed.2d 854 (1978).

In Jenlcins, after the jury deliberated for two hours, it sent out a note to the
trial judge advising that it had been unable to agree upon a verdict. The judge
brought the jury into the courtroom and told them, “You have got to reach a
decision in this case.” Jenlcins, 380 U.S. at 446, The Supreme Court held that the
judge’s statement had a coercive effect on the jury and thus reversed the conviction
for a new trial. Id.

In our case, directing the jury that what they should do in the event of being
hung is to “please continue to deliberate” was the functional equivalent of telling
thejury it had to reach a verdict. As this Court requires, the judge should have
either (1) asked jurors if further deliberations would be helpful and directed them
continue deliberations only ifjurors agreed doing so would be fruitful, or (2) given

an Allen charge, explaining the importance of reaching unanimous verdicts if

30

 

 

l""l

f""' l

l"' "..

l "" 'i

possible and encouraging jurors to listen to each other’s views but admonishing
them not to surrender honestly held opinions just to reach a unanimous verdict.
Simply ordering the jury to continue deliberating indicated the only way for the
trial to conclude was with unanimous verdicts. This, of course, is contrary to Okla.
Stat. tit. 22, § 896 (2011), which allows a mistrial to be declared where the jury ls
unable to reach a verdict.

As to the question about whether the court would contact their families, the
court failed to give the jurors any indication of how late into the night they would

be required to deliberate and failed to alleviate their concerns about contacting

` family members. (Tr.1059~61). When thejudge refused the request to contact their

family members it was clear to the jurors that reaching a unanimous decision was
the only way they could go home. Unsurprisingly, at 12:55 a.m., the jurors reached
a verdict. (Tr. 1061) lt is a reasonable inference that jurors felt coerced and made
compromises just to go home. lt is hard to believe that this verdict, rendered
approximately 40 minutes after'jurors were told they could not contact their family
members, was the result of legitimate deliberations rather than pressure on the
minority jurors to end the deadlock.

Where, as here, the judge communicates with the jury after deliberations
have begun, prejudice is presumed. Mitchell 1). State, 2011 OK CR 26, il 130. A
violation of Section 894 can be harmless, but only if the Court is convinced, on the
face of the record, that there was no prejudice to the defendant. See id.,' Smith,
2007 OK CR 16,1l 52. In this case, the nature ofthejudge’s communication with the
jury does not permit that conclusion. Further, the court's response to the jury’s
question regarding unanimity deprived Mr. Bethel of his right to a fair trial and
unanimous verdicts under the Sixth and Fourteenth Amendments to the United
States Constitution and Article lI, § 19 of the Oklahoma Constitution. Therefore

this Court must reverse and remand this case for a new trial.

31

 

 

PROPOSITION V
MR.. BETHEL’S TRIAL WAS RENDERED FUNDAMENTALLY UNFAIR BY THE
ADMISSION OF IMPROPER LAWENFORCEMENT OPINION TESTIMONY THAT
INVADED THE PROVINCE OF THE JURY IN VIOLATION OF HIS RIGHTS
UNDER THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

Law enforcement officers, by virtue of their positions, rightfully bring with
their testimony an air of authority and legitimacy. A jury is inclined to give great
weight to their opinions. See Gianfrancisco v. State, 570 So.2d 337, 338 (Fla. App.
1990). Thus, particularly when the testifying officer is the “case agent,” special
attention must be paid to the officer’s “expert” opinion testimony to ensure that
it falls within the permissible range of opinion testimony. See, e.g., Un‘lted States
v. Esp'lnosa, 827 F.2d 604, 613 (9°h Cir. 1987); United States v. Brown, 776 F.2d 397,
401 & n.6 (2"‘ Cir. 1985); Commonwealth v. Kitchen, 730 A.2d 513, 521-22 (Pa.1999);
Maben v. Lee, 1953 OK CR 139, 260 P.2d 1064, 1067.

Tulsa Police Detective Jason White was the “case agent” in this case and
testified at length regarding his investigation of this crime. (Tr. 4) In the process,
Detective White’s testimony clearly overstepped permissible bounds on numerous
occasions. Detective White’s testimony was used by the prosecution to reiterate
the same evidence presented by other witnesses, but with the imprimatur of
Detective White’s expertise, skill and persuasiveness as a professional witness. The
prosecutor improperly used Detective White to vouch for the integrity of the
investigation by reviewing and commenting on the evidence. The prosecutor also
improperly used the direct examination of Detective White to marshal the facts and
provide the jury with his own personal opinion about the credibility of the State’s
witnesses and his theory of the case. Much of Detective White’s testimony was

unnecessarily cumulative, speculative and more prejudicial than probative. As

such, this testimony should have been excluded.

32

 

 

During direct examination, Detective White was allowed to rehash the details
of his investigation for the jury even though this information had already been
presented to the jury through other witnesses, Detective White testified he
contacted Tulsa Police Detective Vic Regaiado with information regarding the
ballistics report on the gun taken from Mr. Bethel’s vehicle. Over defense counsel’s
objection, Detective White rehashed these facts for the jury, including that the
“ gun was a match” to casings and a bullet fragment found at the scene. (Tr. 810-1 1)
He then recounted what he told Terrance Higgs, OSBI firearm examiner, when he
dropped off the firearm in question to be tested. (Tr. 81 1) Detective White also told
the jury that he had received information Deandre Bethel was at Club Fink that
night, even though there was no evidence of this in the record, (Tr. 810)

Detective White was then allowed to recount details of his interview with Mr.
Bethel, even though this interview, State’s Exhibit 74, was played in its entirety for
the jury, Detective White highlighted the things he wanted the jury to focus on.
(Tr. 817-25) He told the jury he did not believe the stories Mr. Bethel told him were
consistent with each other and recounted these alleged inconsistencies for thejury.
(Tr. 822-25) Defense counsel objected, arguing the actual interview was the best
evidence. The trial court warned the prosecutor to move on, stating, “we don’t
need this officer to testify and tell us everything we’re going to see and then we
have to see it.” (Tr. 823, 824) Despite this warning, the prosecutor asked Detective
White to continue to rehash the interview with Mr. Bethel and he did so. (Tr. 824)

Detective White was asked to comment on what concerned him about Mr.
Bethel’s story in the video interview. He claimed Mr. Bethel was unable to provide
him with details he could corroborate. He said the time frames Mr. Bethel provided
raised “red flags” to him. (Tr. 824) Detective White was asked to identify other red
flags raised during the interview. He recounted a portion of the interview where he

had asked Mr. Bethel about the gun and how he obtained it. He gave the jury

33

 

 

(.`_...}

"!

details about how he did not find Mr. Bethel’s explanation plausible. (Tr. 825)

Defense counsel renewed his objection, arguing Detective White was bolstering the
State’s case by reiterating details in the video and giving his personal opinions on
Mr. Bethel’s veracity when the interview itself was the best evidence. (Tr. 825) The
trial court overruled the objection. (Tr. 825) Detective White continued to recount
the questions he asked of Mr. Bethel and his opinion Mr. Bethel was being evasive

and deceptive in his answers. The trial court finally sustained the objection. (Tr.

825) The videotape was then played for thejury. (Tr. 826; State’s Exhibit 74)12

Following the presentation of the video, Detective White resumed his
improper narrative of the State’s case. (Tr. 827) The prosecutor asked Detective
White to relate information on several phone calls recorded while Mr. Bethel was
being held in the Tulsa County jail. (Tr. 841; State’s Exhibit 76) Defense counsel
objected to Detective “White's commentary, again arguing the tapes “speak for
themselves.” (Tr. 842) Counsel complained that Detective White was “talking
about what was happening on the calls prior to the jury having an opportunity to
listen to them.” (Tr. 843) Counsel’s objections were overruled and Detective White
proceeded to give the jury his opinion on the meaning of some of the conversations
occurring during the phone calls. (Tr. 842, 843) He was again asked to identify his
concerns and any red flags he noted during the phone calls.

The taped phone calls were then-played for the jury. At the conclusion of
each call, Detective White was asked give a synopsis of what he found important
and identify any “red flags” raised related to his investigation. (Tr. 850) As to the
first call, Detective White opined that the meaning of the term “burner” was a

street term for a gun, specifically one that may have been used to commit a crime.

 

" Unfortunater there is no transcript of the videotape since both parties waived

the recording on the record. (Tr. 826)

34

 

 

l"`"?

'!

""1

(Tr. 843) As to the second phone call, Detective White was concerned that when Mr.
Bethel’s father asked him if he was at the club, “he told his dad that he was, despite
telling me that he did not remember.” (Tr. 850) Regarding the third phone call to
Mr. Bethel’s mother, Detective White was concerned that Mr. Bethel denied being
at the club and having any involvement in the crime. He said this was significant
to his investigation because Mr. Bethel “was not telling the truth.” (Tr. 859) As to
the fourth call, Detective White was concerned that Mr. Bethel was talking to an
unknown individual and stated twice that the cops did not know anything. (Tr. 863)

The prosecutor used Detective White’s testimony to essentially give a closing
argument in the case. On redirect examination, the prosecutor asked Detective
White to reiterate what he found significant to the case during his investigation.
When he was asked to sum up what was significant about where the gun was found
he said, “being stopped in a white Chevy Cobalt which is described by a firefighter
who was right there watching it who knew cars." (Tr. 931) He opined it was
significant that Mr. Bethel was stopped with this gun within a few hours of the
shooting. (Tr. 932) Detective White was asked whether there was anything
significant about the fact that Mr. Bethel was the only person in the car. He
testified no one else was present to have put the gun in the car. (Tr. 932)

Detective White was asked to review the State’s evidence and comment on
whether it was consistent with the testimony he had heard from the various State’s
witnesses during the case. (Tr. 933) He explained that the SpiritBank video was
consistent with what he had heard from the witnesses in the case. (Tr. 933)
Detective White then gave his opinion on where he thought the victim was standing
when he was shot. (Tr. 936) He also opined that he thought the casings were placed
at the scene on February 4, 2012, and gave a synopsis of the evidence supporting
this opinion. (Tr. 937) Detective White gave his opinion that the lack of bullets at

the scene was likely attributable to the fact that the bullets had gone through Mr.

35

 

 

 

Ivory and lodged in the ground. (Tr. 939) He was testified that people could be
wrong about the color of the vehicle because white was sometimes mistaken for
silver. (Tr. 941) He was allowed to opine that he thought the SpiritBank video was
consistent with Ernest Roberts’s and Bradley Jarrett’s testimony and the
firefighters’ testimony. (Tr. 942)

Throughout his testimony, Detective White was allowed to essentially give
his opinion on every aspect of the case, invading the province of the jury and
improperly bolstering the State’s case. His testimony was full of personal opinions
requiring no specialized knowledge and merely told the jury what result to reach.
The jury was just as capable of reaching these conclusions since they were not
based on any specialized knowledge. Opinion testimony from supposed “experts,"
particularly those in uniform, carry with them a particular danger of overly
influencing a jury’s verdict. See McCarty 1). State, 1988 OK CR 271, 765 P.2d 1215,
1218 (noting the danger of unfair prejudice invited by the aura of special reliability
and trustworthiness surrounding scientific or expert testimony) (quoting United
States v. Green 548 F.2d 1261, 1268 (6°h Cir. 1977); United States v. Amaral, 488 F.2d
1148, 1 152 (9“‘ Cir. 1973) ). This improper testimony denied the jury its fact finding
function. Romano 1). State, 1995 OK CR 74, 909 P.2d 92, 109 (“While expert witnesses
can suggest the inferences which jurors should draw from the application of
specialized knowledge to the facts, opinion testimony which merely tells the jury
what result to reach is inadmissible.”).

Detective White’s opinion that Mr. Bethel was not telling the truth was
particularly harmful. (Tr. 825, 859) lt is axiomatic that no witness may offer
testimony in the form of an opinion regarding the guilt or veracity of the defendant
as such testimony violates the defendant’s constitutional right to due process and
to an independent determination of the facts. Ultimateiy, it is the exclusive

province of the jury to determine the credibility of witnesses, See Ryder v. State,

36

 

 

\

r-.. _ (_w-..`= I`_

(w "'";

2004 OK CR 2, 83 P.3d 856, 868 (citing Myers v. State, 2000 OK CR 25, 17 P.3d 1021,
1032, overruled in part on other grounds by James v. State, 2007 OK CR 1, 152 P.3d
255, 257; Smith v. State, 1996 OK,CR 50, 932 P.2d 521, 530; Curtis v. State, 1988 OK
CR 220, 762 P.2d 981, 983.

Compounding the prejudice, after the State essentially presented a closing
argument through Detective White’s opinion testimony, the prosecutor then argued
these same inferences again. During closing argument, the prosecutor emphasized
Detective White’s investigation and his findings in order to urge the jury to believe
both Detective White and his synopsis of the witnesses and testimony. (Tr. 1010-13)

Appellant fully recognizes that trial counsel failed to object to some of this
inadmissible testimony and has alleged in the alternative in proposition X, that
trial counsel rendered ineffective assistance of counsel. Because Appellant failed
to object to some of Detective White’s opinion testimony, he has waived review of
all but plain or fundamental error. Simpson v. State, 1994 OK Cr 40, 876 P.2d 690,
693. In order to demonstrate “plain error,” Appellant must show: “1) the existence
of an actual error (i.e., deviation from a legal rule); 2) that the error is plain or
obvious; and 3) that the error affected his substantial rights, meaning the error
affected the outcome of the proceeding.” Hogan v. State, 2006 OK CR 19, 139 P.3d
907, 923. As argued above, admission of this testimony was clearly error and
obviously affected Mr. Bethel’s substantial rights. Because the jury’s verdicts
were likely influenced by Detective White’s improper opinion testimony, Mr.

Bethel’s convictions must be reversed and remanded for a new trial.

37

 

 

("“`i

PROPOSITION VI
THE ADMISSION OF IRRELEVANT AND PREJUDICIAL EVIDENCE CONTAINED
IN STATE’S EXHIBIT 28, A TAPED RECORDING OF A PHONE CALL BETWEEN
MR. BETHEL AND HIS MOTHER, RESULTED IN A VIOLATION OF HIS DUE

PROCESS RIGHTS UNDER THE FOURTEENTH AMENDMENTTO THE UNITED

STATES CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

During questioning of Detective Jason White, the State presented the
recording of a phone call in which Mr. Bethel was speaking to his mother from the
Tulsa County jail. (Tr. 859-63, 955; State’s Exhibit 28) The State claimed the
evidence was necessary to show that Mr. Bethel denied to his mother that he had
been at Club Pink the evening of the shooting although he had earlier told his
father he had been present at Club Pink that night. (Tr. 859) Even assuming this
was a legitimate use of the intercepted phone call, the State failed to redact
irrelevant and prejudicial portions of the conversation. lt would have been a simple

matter to redact the phone call to play only the section where Mr. Bethel denies

being at the club.13 Instead the jury heard Mr. Bethel’s mother repeatedly chastise

him for failing to call his attorney prior to speaking to police, and telling him to
“keep-your mouth shut and ask for your attorney.” (Tr. 861) This evidence shed no
light whatsoever on whether Mr. Bethel was guilty. The probative value of this
evidence was minimal but the prejudice to Mr. Bethel was devastating, requiring
his case be reversed and remanded for a new trial.

Appellant recognizes admissions by a party opponent that are not hearsay

are admissible, but they are still subject to other rules of evidence and to

 

” This was the only portion of the phone call that was even arguably relevant:

DEANDRE BETHEL: I told them what l know. Imean, l didn't knew l mean, they
asked me where - - that’s where l went from. They tried to tell me I was at this club
and I told them I wasn’t there, They tried to say they had me on video being at the
club and all of that. Ijust bought that damn gun that night. I told them that. I told

the police officer w,ho pulled me over. l told him l hadjust bought that gun. (Tr. 860-
61; State’s Ex. 28) _

38

 

 

i""; l""‘: f“`¥

l` """

...`

`!
i

f"`?

{""1

constitutional safeguards. Under Okla. Stat. tit. 12, § 2403 (2011), relevant
evidence may be excluded if the danger ofunfair prejudice substantially outweighs
its probative value. This phone call should have been redacted to remove Mr.
Bethel’s discussions with his mother about exercising his Sixth Amendment right

114

to counse This evidence had no other real purpose other than to demonstrate

to the jury that Mr. Bethel’s mother thought he needed to “lawyer up” in order.to
infer that his mother thought he was guilty and had something to hide.

Because trial counsel did not object to this error, this Court’s review is
limited to plain error. See Proposition X. “Plain error is that error which is plain
from the record, and which goes to the foundation of the case or takes from a
defendant a right essential to his defense.” Andrew v. State, 2007 OK CR 23, 164
P.3d 176, 188 ; Dungan v. State, 1982 OK CR 152, 651 P.2d 1064, 1065-66(elicitat10n
by prosecutor oftestimony from police officer about defendant’s decision to remain
silent during his custodial interrogation, was fundamental, or plain, error, despite
lack of objection by defense counsel, because “of the lack of probative value of the
evidence in question and due to its extreme prejudicial consequences). This error
was plain and fundamental as there is a substantial likelihood the jury used this
irrelevant evidence for an illegitimate purpose. Because Mr. Bethel’s convictions
relied on this highly prejudicial evidence in violation of the Fourteenth

Amendment, they must be reversed and remanded for a new trial.

 

 

r"'

(__,.,; .

(' "".

(1....:

PROPOSITION VII

IMPROPERVICTIM IMPACT TESTIMONY AND EVIDENCE WAS ADMITTED AT
TRIAL, DEPRIVING MR. BETHEL OF A FAIR TRIAL IN VIOLATION OF HIS

CONSTITUTION.

A. The Admission ofa Pre-mortem Photograph of the Victim.

A photograph of the victim when he was alive was admitted into evidence.
(State’s Ex. 1; Tr. 4-7) Prior to the beginning of trial, defense counsel objected to
this photograph, arguing it was a blatant effort to gain sympathy for the victim
from the very start of the trial. (Tr. 5-7) The trial court reserved ruling at that
point. (Tr. 6) While questioning the first State’s witness, Sharon Livingston, the
prosecutor sponsored the admission of State’s Exhibit 1, a photograph of Byron
Ivory, Jr., Ms. Livingston’s firsteborn son. (Tr. 329) Ms. Livingston was
emotionally distraught during this testimony, and the record reflects she was
obviously crying as she was handed some Kleenex by the prosecutor. (Tr. 329)
Unfortunately, although defense counsel objected to this photograph prior to
trial, inexplicably, when the photograph was offered during the testimony of Ms.
Livingston, counsel failed to renew the objection and the photograph Was
admitted without objection. (Tr. 329-330; State’s Exhibit 1) Counsel’s failure to
adequately protect the record in this regard is discussed in Proposition X.

Appellant recognizes that this Court has previously upheld the admission
of in iife~photographs under the 2002 amendment to Okla. Stat. tit. 12, § 2403,
requiring that live victim photographs shall be admitted at trial, irrespective of
their prejudicial effect. See, e.g., Grant v. State, 2009 OK `CR 11, 205 P.3d '1, 22.
However, amended Section 2403 erodes the fundamental right to a fair trial by
diverting the jury from making a reasoned moral response to the evidence to

making an impassioned one. Cody v. State, 1961 OK CR 43, 361 P.2d 307, 324.

40

 

Appellant respectfully asks this Court to reconsider these prior rulings
allowing the admission of in life photographs Here, the display of Mr. Ivory’s in
life photograph was a clear appeal to emotion and sympathy and has no place in
Oklahoma courtrooms. See, e.g., Capps v. State, 1984 OK CR 8, 674 P.2d 554, 557.

B. Improper Victim Impact Evidence During Formal Sentencing.

Some of the statements of the family members exceeded the permissible
bounds of victim impact testimony. The victim’s father, Byron Ivory, Sr., appeared
at formal sentencing and asked on behalf of his son and his family that the trial
court sentence Mr. Bethel to the maximum sentence possible, life without the
possibility of parole. (S.Tr. 5) He then launched into a lengthy recitation of “ten
questions that I read and found that really describejust how l feel and l believe my
son felt the same way.” (S.Tr. 5) None of these questions and comments had any
relevance to the impact this crime had upon Mr. Ivory or his family. ( S.Tr. 5-10)

Mr. Ivory’s sister, Tanisha Livingston, prepared a detailed victim impact
statement but was too upset to read it herself, prompting the prosecutor read it for
her. (S.Tr. 10) ln graphic detail, her statement described the emotional moment
in which she learned her brother had been killed from her mother who was
“screaming and crying hysterically.” (S.Tr. 10) She described in dramatic fashion
having to sit through anatomy class and how working with a cadaver caused her to
wonder what her brother “must have experienced in the moments from when he was
being shot to when he died” and whether he was scared and felt alone. (S.Tr. 14)
She spent several pages talking about her own child and how hard it was to keep up
the pace oflife when all she wanted to do was grieve for her brother. (S.Tr. 15-16)
She also asked the court to “give Deandre Bethel the maximum sentence possible
and without parole.” (S.Tr. 1 7) She concluded that she “cannot understand a world
with Deandre Bethel in it, free and without consequence for what he did.” (S.Tr.17)

Because Appellant did not object on the grounds alleged here, the error is

41

 

 

reviewed for plain error. Simpson v. State, 1994 OK CR 40, 876 P.2d 690, 692-93. To
prevail, the defendant must show (1) an error occurred; (2) the error is plain or
obvious; and ( 3) the error affected the substantial rights of the defendant. The first
two requirements have already been demonstrated. An error is a deviation from a
legal rule. Simpson v. State, 876 P.2d at 694. Ailowing family members to testify to
evidence which is outside the permissible bounds of relevant victim impact
evidence deviated from the statute that governs and limits victim impact evidence.
Okla. Stat. tit. 21, §§ 142A-8 (2011);L0tt 1). State, 98 P.3d at 346-47.

In ordering that there be no suspension of any portion of the life sentence,
and that Counts 1 and 2 run consecutive to each other, it was apparent the trial
court was influenced by the improper victim impact statements. (S.Tr. 20~21)
Accordingly, Mr. Bethel would ask this Court to remand this case for another
resentencing proceeding, one that comports with his Fourteenth Amendment due
process rights, Okla. Stat. tit. 22, § 1066 (2011).

PROPOSITION VIII
COUNTS III AND IV WERE IMPROPER.LY JOINED AT MR. BETHEL’S'TRIAL IN
VIOLATION OF HIS RIGHT TO A FAIR TRIAL AND DUE PR.OCESS OF LAW

UNDER THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

Despite the fact that these offenses were completely separate and unrelated,
the State joined Counts l and II, First Degree Felony Murder and Robbery with a
Firearm, with Counts III and IV, Transporting a Loaded Firearm in a Motor Vehicle
and Public Intoxication in a single case and these offenses were tried together at
Mr. Bethel’s trial. (O.R. 312-15, 316-18; Tr. 305-06) This Court reviews improper
joinder claims for abuse of discretion. Smith v. State, 2007 OK CR 16, 157 P.3d 1155,
1164. Counsel properly preserved this error by objecting to the improper joinder
both before and at trial. (O.R. 188-90; M.Tr. 8/27/13 57-60; Tr. 18-19)

“[J]”oinder of separately punishable offenses is permitted if the separate

42

 

offenses arise out of one criminal act or transaction, or are part of a series of
criminal acts or transactions.” Glass v. State, 1985 OK CR 65, 701 P.2d 765, 768. See
also Okla. Stat. tit. 22, § 436, et seq. ln interpreting the phrase “series of acts or
transactions,” this Court explained “joinder of offenses is proper where the counts
so joined refer to the same type of offenses occurring over a relatively short period
of time, in approximately the same location, and proof as to each transaction
overlaps so as to evidence a common scheme or plan." Glass, 701 P.2d at 768; Smith
v. State, 157 P.3d at 1165; Dylce v. State, 1986 OK CR 44, 716 P.2d 693, 697.

Considering this rule of law with respect to the joinder of Counts III and IV
with Counts l and Il, these crimes were wholly separate and independent of each
other, First, the two alleged offenses are clearly not of “the same type,” as
contemplated by the case law quoted above, First Degree Felony Murder in the
commission of a Robbery with a Firearm is a crime against the person, punishable
as a felony under Title 21, while the offenses of Transporting a Loaded Firearm and
Public lntoxication are misdemeanors and Public lntoxication is punishable under
Title 37. Thus, this factor does not support joinder because the two offenses are
not even similar to each other, See Glass, 701 P.2d at 768.

Second, although the offenses did occur within four to five hours of each
other, they did not occur in the same location, The alleged robbery and homicide
occurred at 200 E. 18°h Street, while the alleged transportation of the loaded firearm
and the public intoxication offenses occurred at 2400 North Lewis. (O.R. 66)

Third, the proof that relates to each offense does not overlap “so as to
evidence a common scheme or plan” because the robbery and homicide of Byron
Ivory and his companions could not have facilitated the public intoxication or
transporting a loaded firearm charges

Ultimateiy, the joinder of these two offenses in one Information, and in one

trial, resulted in the presentation of evidence regarding unrelated and dissimilar

43

 

 

..-\_

r...‘ (-.,-_ ‘.,..,.,1_ (_

(" ”"\

.~»1

offenses that likely made the finding of guilt on Counts l and 2 easier because of the
mere existence of the other counts lt is impossible for this Court to conclude
beyond a reasonable doubt that the joinder of the two cases and improperly
admitted evidence did not prejudicially impact Mr. Bethel. Thus, Mr. Bethel
should be granted relief. At the very least, his sentences should be appropriately
modified.
PROPOSITION IX

THE ADMISSION OF EVIDENCE OBTAINED AS A RESULT OF AN ILLEGAL
SEARCH AND SEIZURE VIOLATED MR. BETHEL’S RIGHTS UNDER THE
FOURTH AMENDMENT TO THE UNITED STATES CONSTITUTION AND
ARTICLE ll, SECTION 30 OF THE OKLAHOMA CONSTITUTION.

Prior to trial, Appellant filed a motion to suppress the evidence garnered as
a result of his arrest on the early morning hours of February 4, 2012, on the grounds
that arresting officers did not have probable cause for making the initial traffic
stop. (O.R. 193-96) Officers Amley Floyd and lan Adair stopped Mr. Bethel’s
vehicle based on information from an unknown EMSA driver alleging that a man
was slumped over the steering wheel at the intersection of 2400 East Apache with
a gun in the passenger seat of his vehicle. (M.Tr. 8/27/13 24-25, 28) Appellant
alleged these officers did not have the authority to make a warrantless
misdemeanor arrest “based solely on information from a third party or on mere
suspicion of a misdemeanor." (O.R. 194) A hearing was held on the motion and
Officers Floyd and Adair admitted they had never personally talked to the EMSA
driver and did not observe the firearm in the vehicle until after they handcuffed and
took Mr. Bethel into custody. (M.Tr. 8/27/13 29-31, 43, 48) Nonetheless, the trial
court ruled that irrespective of the unidentified EMSA caller, the officers had

probable cause to arrest Mr. Bethel for the crime of public intoxication and denied

the motion to suppress (M.Tr. 8/27/13 56) The motion was renewed by defense

counsel shortly prior to trial and again summarily denied. (Tr. 18-19)

44

 

..... ,

When reviewing a trial court's ruling on a motion to suppress evidence based
on an illegal search and seizure, this Court defers to the trial court's factual
findings unless those findings are clearly erroneous However, the ultimate
conclusion drawn from those facts is a legal question this Court reviews de novo
under the totality of the circumstances Seabolt v. State, 2006 OK CR 50, 152 P.3d
235, 237. Here, the trial court's factual findings denying the motion to suppress
were clearly erroneous

There is no doubt the offenses for which Mr. Bethel was arrested were both
misdemeanors (O.R. 66) When Officers Floyd and Adair first approached Mr.
Bethel’s vehicle, they had not observed these misdemeanor offenses occur but were
instead acting on the unknown EMSA driver’s observations (M.Tr. 8/27/13 24-25,
28) Since they did not witness these misdemeanor offenses under Oklahoma law,
Mr. Bethel’s arrest was illegal. ln Oklahoma, the law permitting warrantless
arrests is more strictly circumscribed for misdemeanors than for'feionies'. This
Court stated in Tomlin v. State, 1994 OK CR 14, 869 P.2d 334, 339, that by statute,.
neither a peace officer nor a private citizen may make a warrantless arrest for any
offense other than a felony, unless the offense was committed or attempted in the
arrester’s presence. See Okla. Stat. tit. 22, § 196(1) (2011); Okla. Stat. tit. 22, §
202(1) (2011). As these officers did not have authority to make a warrantless
misdemeanor arrest, the resulting traffic stop was illegal, and the fruits obtained
from it, particularly State’s Exhibits 7 and 8, the .40 caliber firearm and magazine
clip linked to the shooting of Mr. Ivory, should have been suppressed as fruit of the
poisonous tree obtained in violation of the Fourth Amendment to the United States
Constitution and Article Il, Section 30 of the Oklahoma Constitution. See Wong Sun
1). United States, 371 U.S. 471, 484, 83 S.Ct. 407, 41'6, 9 L.Ed.2d 441 (1963).

Accordingly, Mr. Bethel’s convictions should be reversed and remanded with

instructions to dismiss

45

 

 

., .`_ (.-.'»~,
~

l

["'".

. ..»`
z

PROPOSITION X
MR. BETHEL WAS DEPRIVED OF THE EFFECTIVE ASSISTANCE OF COUNSEL
IN VIOLATION OF THE SIXTH AND FOURTEENTH AMENDMENTS TO THE

UNITED STATES CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE
OKLAHOMA CONSTITUTION. '

ln Strz‘ckland v. Washington, 466 U.S. 668, 681, 104 S.Ct. 2052, 2064, 80 L.Ed.Zd
674 (1984), the Supreme Court held a conviction cannot stand if defense counsel’s
performance falls below the objective standards of reasonableness required by the
Sixth Amendment and this deficient performance creates a reasonable probability
the defendant did not receive a fair trial with a reliable result. The'reasonable
probability standard does not require a showing of prejudice beyond a reasonable
doubt, by clear and convincing evidence, or even by a preponderance of the
evidence. Rather, it merely requires a showing sufficient to undermine confidence
in the outcome. Id. at 694-95, 104 S.Ct. at 2068; Williams v. Taylor, 529 U.S. 362,
405'-06, 120 S.Ct.1495,1519, 146 L.Ed.2d 389(2000) (O’Connor, J., concurring) ; Fisher
v. Gibson, 282 F.3d at 1307. In this case, Mr. Bethel was prejudiced by his attorney’s
failure to make timely objections to adequately protect the record at trial, to
request viable lesser offense instructions, and to present critical alibi testimony in

support of his defense at trial.

A. Failure to Adequa.tely Protect the Record with Appropriate
Objections.

Defense counsel’s failure to object to inadmissible evidence can constitute
ineffective assistance of counsel. Dunlcle v. State, 2006 OK CR 29, 139 P.3d 228, 245
n.88 (Okl.Cr. 2006); Aycox v. State, 1985 OK CR 83, 702 P.2d 1057, 1058 (Okl.Cr.
1985). ln this case, as discussed in Proposition IV, counsel failed to adequately
protect the appellate record and jeopardized Mr. Bethel’s right to a fair trial by
failing to object to the court’s improper answer to the jury’s question about what
would happen if they could not reach a unanimous verdict. (Tr. 1059-60)

ln Proposition V, Appellant alleged that Detective Jason` White was allowed

46

 

“'l

to testify to improper opinion evidence and that his testimony was clearly error and
affected Mr. Bethel’s substantial rights, depriving him of a fair trial.
Unfortunately, defense counsel failed to object to the bulk of these inadmissible
opinions Since a reasonable trial strategy is one that advances the clien't’s
interests failing to object to prejudicial, inadmissible opinion testimony cannot be
considered a sound trial strategy. See, e.g., Miller v. State, 2001 OK CR 17, 29 P.3d
1077, 1086 (failure to object to improper opinion testimony of victim impact
witness).

In Proposition Vl, Appellant argued that State’s Exhibit 28, arecorded phone
call, should have been redacted to remove Mr. Bethel’s discussions with his mother
about exercising his Sixth Amendment right to counsel, (Tr. 859-63, 955) Defense
counsel had a duty to lodge proper objections and protect his client’s rights lf
this Court finds this claim is waived and that no “plain error” occurred, then
counsel was ineffective for failing to raise these argument and jeopardizing Mr.
Bethel’s opportunity for a fair trial'and meaningful appellate review. Collis v. State,
685 P.2d at 977 (“lt is beyond the stretch of [this court’s] wildest imagination'to
find a valid trial strategy” in the failure of defense counsel to interpose an
appropriate objection.)

ln Proposition Vll, Appellant argued the prosecutor deprived Mr. Bethel of
a fair trial and formal sentencing hearing by the introduction of improper and
highly prejudicial victim impact evidence. Although counsel objected to the
admission of a pre-mortem photograph of the victim prior to trial, for some
inexplicable reason, counsel failed to renew this objection to State’s Exhibit 1 at
trial, thus inviting Appellee to respond that any errors regarding the admission of
this evidence were waived. (Tr. 5-7, 329-30) Appellant can detect no rational trial
strategy for counsel’s failure to object to this prejudicial evidence, which created

an emotional atmosphere that undoubtedly contributed to the jury’s finding he was

47

 

guilty of First Degree Murder. Defense counsel’s failure to protect Mr. Bethel’s
right to a fair trial was outside the wide range of professionally competent
assistance and resulted in prejudice to his client.

B. Failure to Request Instructions on Appropriate Lesser Related
Offenses.

In Proposition lll, Appellant argued that the trial court committed plain
error by failing to instruct the jury on the lesser related offenses of Second Degree
Depraved Mind Murder, Second Degree Felony Murder and Accessory. As
discussed in that proposition of error, evidence adduced at trial would have
supported a conviction ofthese forms oflesser related offenses Mr. Bethel should
have been afforded a jury that had some options for dealing with his apparent
culpability other than convicting him of First Degree Murder, with its mandatory
life sentence, either with or without the possibility of parole.

Although Appellant has argued the trial court has a fundamental duty to
afford Mr. Bethel the benefit of all appropriate instructions particularly lesser
offenses supported by the evidence, whether requested or not, it is also true'that
trial counsel has a duty to vigorously advocate his client’s interests which includes
requesting relevantjury instructions See, e.g., Driver v. State, 1981 OK CR 1 17, 634
F.2d 760, 763. As such, failure to request instructions on included offenses
supported by the evidence may constitute ineffective assistance. See Wiley v.
State, 183 S.W.3d 317, 330'31 (Tenn. 2006)(finding trial counsel ineffective for
failing to request instructions on second degree murder as a lesser included_offense
offirst degree murder_). Here, counsel neglected his duty to request the
appropriate instructions on lesser offenses and his failure to do so amounted to
ineffective assistance of counsel. There is nothing in the record of this case that
suggests any viable trial strategy in not requesting these instructions Accordingly,

Mr. Bethel has not received a fair trial, and his convictions should be reversed and

48

 

 

remanded.

C. Failure To Present Critical, Available Defense Witnesses.

Appellant has filed an Application for Evidentiary Hearing on Sixth
Amendment Claim concurrently with this briefin accordance with Rule 3.11, Rules
ofthe Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (Supp. 2014), in
which he alleges that defense counsel was ineffective for failing to present the
testimony of two available witnesses, one who could have testified that Mr. Bethel
was with her at the time of the alleged robbery/homicide of Byron Ivory, Jr., and a
second witness who could have testified that he was with Mr. Bethel when Mr.
Bethel purchased the .40 caliber, semiautomatic handgun between 3:00 and 4:00
a.m. that morning, This evidence would have supported Mr. Bethel’s alibi defense
and corroborated his claim that he purchased the firearm long after the murder
occurred. See Exhibits A-C, attached to Applicationfor Evidentiary Hearing on
Sixth Amendment Claim.

Counsel has “a duty to make reasonable investigations or to make a
reasonable decision that makes particular investigations unnecessary.” Striclcland
v. Washington, 466 U.S. at 690, 104 S.Ct. at 2066. This Court has likewise found a
violation of the Sixth Amendment right to counsel when defense counsel has failed
to investigate or utilize important impeachment evidence, exculpatory evidence or
a well-founded defense. Glossip v. State, 2001 OK CR 21, 29 P.3d 597, 601; Wilhoit
v. State, 1991 OK CR 50, 816 P.2d 545, 546-47; see also Jennings v. State, 1987 OK CR
219, 744 P.2d 212, 214-15 (counsel ineffective for failing to present available
evidence including witnesses, physical evidence, and expert testimony
corroborating defendant’s claim); Galloway v. State, 1985 OK CR 42, 698 P.2d 940,
941-942 (counsel ineffective for failure to present available evidence in support of

defense).

Given defense counsel’s strategy of attempting to prove his client’s

49

 

 

innocence by establishing reasonable doubt, any evidence tending to place Mr.
Bethel somewhere else besides Club Pink at the time Mr. Ivory was killed, and
evidence that would have corroborated his explanation for how he came to be in
possession of one of the alleged murder weapons would have been critical to this
end. Thus, Appellant can see no legitimate strategy behind trial counsel’s failure
to interview and call these witnesses at trial. See Patterson v. State, 2002 OK CR
18, 45 P.3d 925, 929-30 (counsel ineffective for failure to present exculpatory
testimony of available witness who claimed to have seen the victim alive after the
alleged date of her murder).

This extra-record claim should be considered with the remainder of Mr.
Bethel’s claims in order to determine whether counsel’s representation, as a whole,
fell below minimal constitutional standards of effective representation.

D. Conclusion.

As the Supreme Court noted in its seminal case on the'issue, “the purpose of
the effective assistance guarantee of the Sixth Amendment is not to improve the
quality of legal representation” but “simply to ensure that criminal defendants
receive a fair trial. St'rz°clcland v. Washington, 466 U.S. at 689. The facts of this case
demonstrate that counsel’s performance fell outside the wide range of
professionally competent assistance and that there is a reasonable probability that
the outcome of Mr. Bethel’s trial would have been different, but for trial counsel’s
unprofessional errors or omissions Striclcland, 466 U.S. at 694.

CONCLUSION

Based on the preceding errors discussion of facts, arguments and citations
oflegal authority, the record before this Court and any errors that this Court may
note sua sponte, Mr. Bethel respectfully asks the Court to reverse the Judgment

and Sentences imposed against him or order any other relief asjustice requires

50

 

 

Deandre A. Bethcl, #690424
Oklahoma State Penitentiary
P.O. Box 97

McAlester, Oklahoma 74502

By:

Respectfully submitted,
DEANDRE BETHEL

Mi£i>/?">

J~AMIE D. PYBAs 0

Oklahoma Bar No. 13000

Division Chief

Homicide Direct Appeals Division
Oklahoma lndigent Defense System
PO Box 926

Norman, Oklahoma 73070-0926
(405) 801-2666 '

Fax: (405) 801-2690

ATTORNEY FOR APPELLANT

CERTIFICATE OF SERVICE

This is to certify that on December 22, 2014, a true and correct copy of the
foregoing Brief of Appellant was mailed, via United States Postal Service, postage
pre-paid, to Appellant at the address set out below, and a copy was served upon the
Attorney General by leaving a copy with the Clerk of this Court,

Mipv’?"'

MMIE D. PYBAs "

51

 

APPLICATION FOR EVIDENTIARY HEARING

December 22, 2014

Case NO. F-2014-336

DEANDRE BETHEL

` Appellant,

vs.
THE STATE OF OKLAHOMA

Appellee.

Appeal from the
District Court of Tulsa County

ON SIXTH-AMENDMENT CLAIM

Jamie D. Pybas
Division Chief
Oklahoma Bar Assoc. No. 13000
Homicide Direct Appeals Division
Oklahoma lndigent Defense System
P.O. Box 926
Norman, Oklahoma 73070

(405) 801-2666

ATTORNEY FOR APPELLANT

Exhibit

 

 

 

 

 

 

,.i’ . .iii, . ll l, "l minus miami nmu ,l _ n

l aid | ms \ nw n 135 \

._-

l "5`|

_.j,.;al l

?.;..-,I

_J,ua l

l

_ mud

\

l

IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

DEANDRE BETHEL,
Appellant,

v. Case No. F-2014-366

THE STATE OF OKLAHOMA,

Appellee.

APPLICATION FOR EVIDENTIARY HEARING
ON SIXTH AMENDMENT CLAIM

Appellant, Deandre Bethel, by and through his appellate counsel, and in
accordance with Rule 3.11(B)(3)(b), Rules of the Oklahoma Court of Crlminal
Appeals, Tltle 22, Ch.18, App. (Supp. 2014), respectfully applies to the Court for an
evidentiary.hearing on his Sixth Amendment claim of ineffective assistance of
counsel at his jury trial in the District Court of Tulsa County, Rule 3.11 (B) (3) (b)
provides in relevant part:

When an allegation of the ineffective assistance ofcounsei is predicated upon n

an allegation of failure of trial counsel to properly utilize available evidence

or adequately investigate to identify evidence which could have been made
available during the course of the trial, and a proposition of error alleging
ineffective assistance of trial counsel ls raised in the brief-in-chief of

Appellant, appellate counsel may submit an application for an evidentiary

hearing, together with affidavits setting out those items alleged to

constitute ineffective assistance of trial counsel,

As required by rule, Mr. Bethel raised a claim of ineffective assistance of
counsel in Proposition X of the Brief of Appellant, filed contemporaneously with
this Appiication, This Appiication sets forth the factual basis which appears
outside the record, supporting this Sixth Amendment claim, and requests that the
Court grant an evidentiary hearing so that those factual matters can become part
of the record, ln support of this Appiication, Appellant submits the following

documents, which are attached:

 

iD'|qrM'-_‘qg@"`udj£`@‘rwlwlwiM

f

".';"aa f '-

l

._,H [_

.'.._

‘==-a(

(A) Affidavit of Deandre Armon Williams
(B) Affidavit of Wanda Janeil Smith
(C) Affidavit of J olene Perham

BRIEF IN SUPPORT OF APPLICATION
COUNSEL RENDERED INEFFECTIVE ASSISTANCE BY FAILING TO PRESENT
THE TESTIMONY OF CRITICAL, AVAILABLE DEFENSE WITNESSES AT TRIAL,
VIOLATING MR. BETHEL’S RIGHTS UNDER. THE SIXTH AND FOURTEENTH

AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE II, §§
7 AND 20 OF THE OKLAHOMA CONSTITUTION.

ln Proposition X of the Brief of Appellant, Mr. Bethel argued that defense
counsel was ineffective for failing to present the testimony of available witnesses
who could have established an alibi for Mr. Bethel and could have testified they
were present when Mr. Bethel bought a gun from an individual during the early
morning hours after the homicide in question. This evidence would have
corroborated Mr. Bethel’s statements to police and his trial testimony and
undermined the State’s claim that he used the firearm in question to rob and shoot
Byron Ivory, Jr., on February 4, 2012.

Despite the fact that this claim was a critical issue in the case, defense
counsel failed to secure the attendance of these witnesses who could provide
corroboration to Mr. Bethel’s statements that he bought the gun after the fact. Mr.
Bethel repeatedly told police he had bought the .40 caliber pistol shortly before he
was arrested during the early morning hours of February 4, 2012. During this arrest,
he told Officer Amley Floyd that he bought the firearm because he was advised by
a police officer that someone was trying to kill him and he needed a gun for
protection. (Tr. 554, 601) After he was arrested a second time on February 8, 2012,
he also told Detectives White and Felton that a police officer named “Sticks” told
him he needed a gun for protection because someone was trying to kill him.

(State’s Exhibit 74) Mr. Bethel told the detectives that shortly before he was

2

 

 

»-;-1--‘ l -~’1i

l

i".'.`_":.§§ i`_"-.e$

...a

.. {_=..,.;s [.-.._`

mill

.. .- .,.`

gail

.='. 4` '_°\

r

stopped by police on the morning of February 4, 2012, he bought a Smith and
Wesson handgun from a black male with “dreads,” but he could not remember the
man’s name. He paid $175.00 for the gun. Mr. Bethel was was not sure what time
he purchased the gun, but thought it was 2:00 a.m. or later. He told the detectives
that “LJ,” or LaHarry Myers, called him and told him about a gun for sale. He met
LJ at Lucky Sam’s convenience store, near 3500 North Lewis Avenue, He was in his
own car and he thought LJ was driving a green Grand Am. (State’s Ex. 74; 11:33)
He followed LJ to a nearby neighborhood where LJ took him to purchase the
firearm, (State’s Ex.74;11:36)

Detective White testified at trial that he was unable to corroborate this
information after he interviewed Mr. Bethel. (Tr. 835) Had counsel conducted a
reasonable investigation, he could have called several witnesses to attest to Mr.
Bethel’s account of the gun purchase. Deandre Williams who was charged with Mr.
Bethel but pled guilty to Accessory After the Fact, could have provided crucial
testimony in support of Mr. Bethel’s defense had he been called as a witness (O.R.
65-72) Mr. Williams states in his affidavit, attached to this Appiication as Exhibit
A, that he saw Mr. Bethel around 4:00 a.m. on the morning of February 4, 2012. He
called Mr. Bethel on the phone to see where he was Mr. Bethel said he was in the
vicinity of Mr. Williams’s house near Lucky Sam’s convenience store on North
Lewis See Exhibit A at 1. Mr. Williams told Mr. Bethel to meet him at Lucky
Sam’s. The two met there and saw LaHarry Myers otherwise known as “L.J,”
getting out of his white Crown Victoria in the parking lot. See Exhibit A at 1.

Mr. Bethel asked L.J. if he still had a gun for sale. L.J. said he still had some
guns and they would need to go around the corner near the 007 Club to get the guns
See Exhibit A at'l. Mr. Bethel said a “cop” named “Sticks” told him he needed a

gun for protection because the Hoovers were trying to get at him. According to Mr.

 

 

' w india

grid

._>.-sl~aal.._w \-w‘

hal .`Hl _.`d'| _._’.d!

wl

hal

'

Williams all three men drove in separate cars to the location, See Exhibit A at 1.
Mr. Williams said he was driving my brother’s maroon 2000 Chevy Tahoe. He
thought it took less than a minute to get to the house. He did not know whose
house it was See Exhibit A at 1. Once there, he got out of his car and got into Mr.
Bethel’s white car. Mr. Williams said L.J. approached and said he was going inside
the house to get the guns See Exhibit A at 1.

According to Mr. Williams a few minutes later, L.J. came out of the house
with two guns a .40 caliber and a 9 millimeter and showed them to Mr. Bethel. See
Exhibit A at 1. Mr. Bethel asked L.J. if there was anything wrong with the guns and
whether they were “hot.” L.J. said the guns were fine. Mr. Williams stated that Mr.
Bethel gave L.J. $150.00 in exchange for the .40 caliber gun. Mr. Williams got in his
vehicle and left. See Exhibit A at 1. Mr. Williams said that Mr. Bethel’s trial lawyer
never contacted him about this information prior to trial, nor did anyone from his
staff. Mr. Williams states that he was willing to testify and would have done so had
he been asked to appear on Mr. Bethel’s behalf. See Exhibit A at 1.

A second witness could not only have corroborated Mr. Bethel’s statement
about the gun, but she could have provided testimony that established Mr. Bethel
was with her at the time Mr. Ivory was killed. Mr. Bethel told Detectives White and
Felton during the interview that his own personal phone was off that night but that
he believed he was using a girl named Janell’s phone. He told police he was not sure
of Janell’s last name or her phone number. He could not remember exactly where
she lived. (State’s Ex. 74, 11:37; Tr. 835) He told the detectives that Janell was a
“hook-up” and she had been staying with her friend Neka. (State’s Ex. 74; 11:37)
Detective White testified at trial that he attempted to locate this “girl named

Janelle” but was unsuccessful. (Tr. 835)

ln fact, as she states in her affidavit attached to this Appiication as Exhibit

 

 

 

m‘w`“m'wm

_g,uf\ _m\ ..M\ ,lw-

"_';as| _.lsdl

l

_`W

B, Wanda Janell Smith could have testified that she was Deandre Bethel on the
evening of February 3, 2014, and into the early morning hours of February 4, 2014.
See Exhibit B at 1. She was dating Mr. Bethel at the time. Around 1:00 p.m., Mr.
Bethel dropped her off at the home of her best friend, Neka. He came back over at
about 9:00 p.m. Ms. Smith said she and Mr. Bethel hung out, playing dominoes and
drinking. She saw Mr. Bethel take a couple of Xanax bars. Around 1:00 a.m., they
left for her mother’s house in Mr. Bethel’s white Cobalt car. See Exhibit B at 1.

Mr. Smith said her mother lived at 539 E 49"‘ Place in Tulsa. At that point, Mr.
Bethel was “pretty messed up.” See Exhibit B at 1. Ms. Smith’s grandmother
called her around 3:00 a.m. She was ill and needed help to be moved from her bed
to the living room. Ms. Smith and Mr. Bethel went over to her grandmother’s house
around the corner to help move her. According to Ms.t Smith, around 3:00 a.m., Mr.
Bethel’s friend, LJ (LaHarry Myers), called her cell phone. Ms. Smith said Mr.
Bethel did not have a working phone at the time. See Exhibit B at 1. LJ asked if
“Belly” was with Ms. Smith. Ms. Smith said “Belly” was Mr. Bethel’s nickname.
According to her affidavit, she gave Mr. Bethel her phone. He was talking to LJ, but
Ms. Smith did not know what they were saying. See Exhibit B at 1.

After he finished talking, Mr. Bethel told Ms. Smith he was going to meet LJ

to go buy a gun. Ms.l Smith stated that she told Mr. Bethel, “Let me go with you.”
See Exhibit B at 1. He told her “no” and they got into an argument, Ms. Smith said
Mr. Bethel did not want her to go with him because he thought LJ was going to rob
him. After they argued some more, Ms. Smith said she got out of the car and Mr.
Bethel drove off without her. Later that morning, she said she got a phone call that
Mr. Bethel was in jail. See Exhibit B at 1.

Ms. Smith said she was never contacted by the police, the district attorney’s

office or any defense attorneys who represented Deandre Bethel before his trial in

 

 

f_/

r"""‘§ :"_'~'g- ¢' ga c _sa l __...a'-: \ ...as. “- ' ....-D \ aaa ‘ dea ' ms ~ am ' mae ' --n-

“g_

l'_'_`l§ l -_`LE l`__.=.d"??~" l.__§~'a' l'__.aa""-" f"

February 2014. She said she was willing to testify and would have done so had she
been asked to appear on Mr. Bethel’s behalf. See Exhibit B at 1.

As Exhibit C to the Appiication establishes trial counsel was notified of the
existence of this witness prior to trial, yet failed to contact her or call her as a
witness at trial on Mr. Bethel’s behalf. Exhibit C is a letter from Mr. Bethel’s
mother, Glenda Gray, sent to defense counsel prior to trial. This letter was
contained in the files provided to appellate counsel by Appellant’s trial attorney.
Ms. Gray writes that she is “sending vital information regarding my son Deandre
Bethel’s case.” See Exhibit C at 1. She lists several witnesses she believes are
important for Mr. Bethel’s defense. One of these witnesses is Wanda Janell Smith,
and Ms. Gray provides Ms. Smith’s address and two separate phone numbers for
her. See Exhibit C at 1. Clearly, defense counsel was notified of the existence of
this witness prior to trial. yet failed to contact her and present her testimony at
trial on Mr. Bethel’s behalf.

Had trial counsel secured the attendance of these two witnesses, they could
have provided an alibi for Mr. Bethel at the time of the shooting of Mr. Ivory and
proven the existence of Janell, the “mystery” woman police and prosecutors were
unable to iocate. (Tr. 835, 1047-48) This evidence would have corroborated Mr.
Bethel’s repeated statements to police that he bought the gun from a black male
with dreads several hours after the homicide of'Byron Ivory had already occurred.
As it was, the jury was provided with only the unsubstantiated testimony of Mr.
Bethel claiming that he bought the gun after the fact, (Tr. 835, 865, State’s Ex. 74)
Without this corroboration, the prosecutor was able to argue to the jury that Mr.

Bethel had fabricated all of this information:

And, you know, the only reason he bought the gun is because the police
told him to buy it and he just happened to do that on a night that a white
Chevy Cobalt was seen outside of this parking lot where Byron Ivory, Junior

 

 

_ ..l .Ew| iad c -“\

,..=x¢nil ._ad\

',sl_.wii

_?d'\

was murdered, and it’s even more amazing because he gets from the scene
and this gun dealer, Rio, has to call LaHarry Myers - the dead guy who can't
come in and say whether or not this happened - and get ahold of him and say,
hey, let me tell you, l know your friend is looking for a new burner. l’ve got
this great .40 caliber Smith and Wesson model, it’s a 40-06, has a 10 magazine
bullet and a plus-one capacity, l’m look (sic) to sell this gun for $175, and
LaHarry is able to get ahold of Byron lvory (sic)? I mean, that’s amazing.
His cell phone had been turned off the night before, he told that to Jason
White. But LaHarry somehow knows that he has some girl’s phone, he

, doesn’t even know the girl’s name. Janele, something like that that he met
-- met her walking down the street, doesn’t know where she lives but he just
happened to have her phone and LaHarry knew that he had her phone and
was able to get a hold of Deandre Bethel who was so drunk that he blew a .04
and maybe taken a Xanax and fell asleep in an intersection, and he was able
to met (sic) up with LaHarry outside this club and then meet up with the gun
dealer, and get to being passed out in an intersection on north Lewis all
within, like, three hours from the murder. l mean, that’s efflciency, ladies
and gentlemen ofjury, and you shouldn’t believe it for a second,

(Tr. 1047-48)

The Sixth Amendment imposes on counsel certain basic duties including “a
duty to bring to bear such skill and knowledge as will render the trial a reliable
adversarial testing process.” Striclcland v. Washington, 466 U.S. 668, 688, 104 S.Ct.
2052, 2065, 80 L.Ed.2d 674 (1984). Counsel also has “a duty to make reasonable
investigations or to make a reasonable decision that makes particular
investigations unnecessary.” 466 U.S. at 690, 104 S.Ct. at 2066.

Even before Striclcland, this Court indicated that it was counsel’s duty to
investigate and use relevant evidence helpful to the defendant. In Smith v. State,
1982 OK CR 143, 650 P.2d 904, 906-907, counsel inexplicably failed to call available
witnesses in support of the defendant’s insanity defense. ln response to this
omission, this Court quoted the American Bar Assoclation Standard for Criminal
Justice, Defense Function 4-4.1, which states that, “It is the duty of the lawyer to
conduct a prompt investigation of the circumstances of the case and to explore all
avenues leading to facts relevant to the merits of the case and the penalty in the

event of conviction.” (Emphasi,s added). 650 P.2d at 908. This Court held:

 

"»¢“‘__w'___sd' nunn-.- u__..,

__a“

.._`a'il_,_;sil__-.iai\,__ai\_.=*d

_i.a\

\A'

"""-E i`T’.'D l "TE l.

We recognize that the attorney for a defendant may, at times have legitimate
reasons for not calling certain witnesses to testify. The decision of which
witness if any, to call at trial is one of strategy best left to counsel, and
generally will not be second-guessed on appeal, [Citations omitted] Before
counsel may make such tactical decisions however, it is imperative that he
have knowledge of the substance of the evidence excluded. Thus, when, as
in the present case, counsel knows of the existence of a person or persons
who possess information relevant to the client’s case and fails to exercise
ordinary diligence to pursue that evidence, we cannot justify such lack of
industry as a strategic error. [Citations omitted]
Id. This Court has found a violation of the Sixth Amendment right to counsel when
counsel has failed to investigate or utilize important impeachment evidence,
exculpatory evidence or a well-founded defense. Gloss‘lp v. State, 2001 OK CR 21,
29 P.3d 597, 601; thhoit v. State, 1991 OK CR. 50, 816 P.2d 545, 546-47; see also
.Iennings v. State, 1987 OK CR 219, 744 P.2d 212, 214-15 (counsel ineffective for
failing to present available evidence including witnesses, physical evidence, and
expert testimony corroborating defendant’s claim); Galloway v. State, 1985 OK CR
42, 698 P.2d 940, 941-942 (counsel ineffective for failure to present available
evidence in support of defense). When counsel fails to investigate for purposes of
an alibi defense, federal courts have found this failure constitutionally deficient.
See Brown v. Myers, 137 F. 3d 1154, 1156-57 (9”h Cir. 1998); United States v. Gray,
878 F. 2d 702, 711 (3d Cir.1989);Code v. Montgomery, 799 F.2d 1481, 1483 (11°“ Cir.
1986); Nealy v. Cabana, 764 F.2d 1173, 1178-80 (5°h Cir. 1985).

Given defense counsel’s strategy of attempting to prove his client’s
innocence by establishing reasonable doubt, any evidence tending to corroborate
the central claims of the defense in this case, i.e., that Mr. Bethel was not at Club
Pink at the time o`f the robbery/shooting and that he was only in possession of the
gun because he had purchased it shortly before he was stopped by police that

morning, would have likely changed the outcome of this case. Witnesses who could

state that Mr. Bethel was present with them when the homicide occurred or when

 

l _,_,_)~ l __ m ~ ‘.,

__¢W

jj l

’§

l

.,‘v

' id l

he bought the gun would have been critical to this end. Thus, Appellant can see no
legitimate strategy behind the failure to interview and call these witnesses at trial.
See Patterson v. State, 2002 OK CR. 18, 45 P.3d 925, 929-30 (counsel ineffective for
failure to present exculpatory testimony of available witness who claimed to have
seen the victim alive after the alleged date of her murder).

The benchmark forjudging any claim of ineffectiveness is whether counsel’s
conduct so undermined the proper functioning of the adversarial process that the
trial cannot be relied on as having produced a just result. Striclcland v.
Washington, 466 U.S. at 686, 104 S.Ct. at 2064, ln order to prevail on a claim that he
was denied his Sixth Amendment right to counsel, the defendant must make two
showings: First, that counsel’s performance was deficient, and second, that there
is a reasonable probability that, but for the counsel’s professional errors the result
of the proceeding would have been different, A reasonable probability is defined
as a probability sufficient to undermine confidence in the outcome. 466 U.S. at 694,
104 S.Ct. at 2068; see also Williams v. Taylor, 529 U.S. 362, 392-94, 120 S.Ct. 1495,
1512-14, 146 L.Ed.2d 389 (2000). When a defendant challenges a conviction, the
question is whether there is a reasonable probability that, absent the errors the
fact-finder would have had a reasonable doubt respecting guilt.

The facts ofthis case demonstrate a reasonable probability that the outcome
of Mr. Bethel’s trial would have been different, but for trial counsel’s failure to
adequately investigate the case and present the testimony of these critical alibi
witnesses, The State’s case against Mr. Bethel was not so overwhelming as to
foreclose the possibility that additional evidence in Mr. Bethel’s favor would have
created reasonable doubt in the mind of at least one juror. The jury obviously
struggled with the verdict in this case as evidenced by their notes during

deliberations (Tr. 1059-61) Mr. Bethel submits that this Court cannot have

9

 

 

laws

r""'"'i;» r us l' ‘ 23

;oiir

»_._;.,-

§§ f J=-__i'Q l . .. ...

' ¢:.'..

confidence in the outcome of his trial under the circumstances here, and his
convictions must be reversed and remanded for a new trial.
CONCLUSION
lt is clear from the above extra-record claim of ineffectiveness of counsel,

compounded by record claims asserted in Proposition X ofhis Brief, that Mr. Bethel
was not afforded a meaningful test of the adversarial process in his trial, and that
under Striclcland, he has met his burden of establishing that counsel’s performance
was deficient and that he was prejudiced such that there is areasonable probability
that, but for these errors Mr. Bethel would not have been convicted of the crimes
charged. Mr. Bethel respectfully, pursuant to Rule 3.11(B) (3)(b) of the Rules of
this Court, and in consideration of his above arguments and attached exhibits
requests an evidentiary hearing to make full proof of his extra-record claim.

Respectfully submitted,

DEANDRE BETHEL,

By: M@/?“’

nunn D. PYBAs

Oklahoma Bar No. 13000

Division Chief

Capital Direct Appeals Division
Oklahoma lndigent Defense System
P.O. Box 926

Norman, Oklahoma 73070-0926

(405) 801-2666

ATTORNEY FOR APPELLANT
CE TIFI A OF ER l E

l certify that on the date of filing the above and foregoing instrument, a true
and correct copy of the same was delivered to the Clerk of this Court with
instructions to deliver said copy to the Office of the Attorney General of the State

of Oklahoma.
/Ciz/~»"Q R/Q'-»

JA.MiE D. PYBAs °

10

 

 

 

le coF~-'

IN THE COURT OF CRIMINAL APPEALS OF THE STA_TE OF OKLAHOMA

DEANDRE BETHEL, )
. )
Appeuant, ) No'r FoR. PUBLIcATioN
" _ ) .
v. ) case No. F-2014-336
) .
THE sTATE oF 0KLAHoMA, ) , FlLED -
) .lN COURT OF CRjM|NAL APPEALS
Appeue¢_ ) STATE OF OKLAHOMA ` `
suMMARY opinion . JUL 15 2015
’ MlCHAEL S. R|CH|E
JoHNsoN, JUnca. ' cLERK

A jury convicted Appellant Deandre Bethel in the District Court of 'l\ilsa
County, Case No. CF-2012-660, of First Degree Felony Murder (Count 1), in
violation of 21 0.S.20ll, § 701.7, Robbery with a Firearm (Count 2), in

violation of 21 0.S.201 l,. § 801, Transporting Loaded Firearm in Motor Vehicle
(Count 3), in violation of 21 0.S.2011,_ § 1289.13, and Public lntoxication
(_Count 4), in violation of 37 O.S.2011, § 8. The jury assessed punishment at
life imprisonment with the` possibility of parole on Count 1, five years
imprisonment on Count 2, five months imprisonment and a $250.00 fine on
Count 3, and thirty days imprisonment and a $100..00 fine on Count 4. The
Honorable James M. Caputo, who presided at trial, sentenced Bethel
accordingly and ordered the sentences on Counts l and' 2 to be served ' ,,

consecutively with each other, but ordered Counts 3 and 4 to run concurrently

with each other and concurrently with Counts 1 and 2.1 Bethel appeals, raising

the following issues:

(1)

(2)

(3)

(4)

(5)

(6)

(7)
(8)

(9)

whether the evidence was sufficient to support his convictions for
Counts 1 and 2;

whether his conviction and sentence for Robbery with a Firearm
must be vacated because the same charge served as the underlying
felony for his conviction of felony murder;

whether the district court erred by failing to instruct the jury on
the lesser offenses of Second Degree Depraved Mind Murder,
Second Degree Felony Murder, and Accessory After the Fact;

whether the district court failed to comply with the law governing
contact with jurors during deliberations and failed to advise
deadlocked jurors not to surrender their honest convictions
concerning the weight of the evidence in order to reach a verdict;

whether he was denied a fair trial by the admission of improper
law enforcement opinion testimony that invaded the province of the
jun';

whether the admission of an audiotape' recording of a jail phone
call between Bethel and his mother resulted in a violation of his
due process rights;

whether improper victim impact evidence was admitted at trial;_

whether Counts 3 and 4 were improperly joined for trial with
Count 1 and 2;

whether the district court erred in denying his motion to suppress
evidence; and

(10) whether he was deprived of the effective assistance of counsel.

Bethel also submits his Appiication for Evidentiary Hearing on Sixth

Amendment claims.

 

’ Under 21 O. S. 201 1, § 13.1, Bethel must serve 85% of the sentences imposed on Counts 1 and
2 before he is eligible for parole.

 

 

Bethel’s convictions on Counts 1, 3 and 4 are affirmed, but Count`2

must be reversed with instructions to dismiss for the reasons discussed below.
1.

Any rational trier of fact could find beyond a reasonable doubt that there
was a forceful taking and carrying away of personal property in this case and
that Bethel participated in the armed robbery during which the victim was
killed. We find that the trial evidence was sufficient to sustain Bethel’s
convictions for First Degree Murder and Robbery with a Firearm based on the
evidence presented in this case. See Logsdon v. State, 2010 OK CR 7, ‘|] 5, 231
P.3d 1156, 1161; Spuehler v. State, 1985 OK CR 132, 1[ 7, 709 P.2d 202, 203-
_204.

2.

Bethel’s second claim has merit and requires relief. He claims that his
conviction for robbery with a firearm must be dismissed because separate
convictions for felony murder and the predicate felony in this case violate the
Double Jeopardy Clause. See Brown v. Ohio, 432 U.S. 161, 97 S.Ct. 2221, 53
L.Ed.2d 187 (1977); Harris v. Oklahoma, 433 U.S~. 682, 97 S.Ct; 2912, 53
L.Ed.2d 1054 (1977); Perry v. State, 1993 OK CR 5, 11 7, 853 P.2d 198, 200-201
(holding conviction for both felony murder and the underlying felony violates
double jeopardy).

The State charged Bethel in Count 1 with the felony murder of Byron

Ivory, Jr. that occurred during an attempted robbery involving Ivory and two

3

 

 

other alleged victims. The State charged Bethel in Count 2 with robbery with a
firearm for the taking and asportation of personal property from these three
individuals. The State elected to charge one count of robbery with a firearm
based on the incident that resulted in Ivory’s murder instead of charging
separate acts of robbery based on the three victims involved. The Information
alleged the same actions against the same victims in Counts 1 and 2 resulting
in the same act serving as the basis for two crimes in violation of the Double
Jeopardy Clause. Under Brown, Harris and Perry, Bethel’s conviction for
robbery with a firearm must be reversed and remanded to the district court
with instructions to dismiss. See Harris, 97 S. Ct. 2912, 2913 (“When, as here,
conviction of a greater crime, murder, cannot be had without conviction of the
lesser crime, robbery with firearms, the Double Jeopardy Clause bars
prosecution for the lesser crime, after conviction of the greater one.”)
’»3.

Reviewing the lack of lesser offense instructions for plain error only, we
find the district court did not err in failing to submit, sua sponte, instructions
on second degree depraved mind mui'der, second degree felony murder and
accessory. See Hogan v. State, 2006 OK CR 19, 1 38, 139 P.3d 907 , '923 (“[t]he
first step in plain error analysis is to determine whether error occurred”). “This
Court has long recognized the rule of law that'a defendant is not entitled to
instructions on any lesser included.offense when he defends against the charge

by proclaiming his innocence.” Hamey v. State, 2011 OK CR 10, 1 11, 256

 

 

P.3d 1002, 1005. Bethel’s claim faulting the district court for omitting
instructions on lesser offenses is without merit because the omitted
instructions were inconsistent with his defense of innocence.

4.

We reject Bethel’s claim that the district court’s handling of jury
questions during deliberations requires relief. The jury sent out four notes
during deliberations, with notes 1, 3 and 4 pertaining to housekeeping matters
only. The parties agreed on the court’s written response to the only substantive
note (note 2) submitted by the jury and Bethel did not object to the procedure
used in its delivery. Under these circumstances, we review Bethel’s claim for
plain error only and find none. Welch v. State, 1998 OK CR 54, 1[ 42, 968 P.2d
1231, 1245.

Our statutes generally provide that there can be no communication with
the jury by the judge or any third person except in open court, 22 0.S.2011,
§§ 853, 857 , 894. Of course, we have acknowledged that not every
communication between the court and jury outside open court is prohibited; in
particular, communications with the jury regarding simple housekeeping
matters do not violate statutory prohibitions Perry v. State, 1995 OK _CR 20, 1{
26, 893 P.2d 521, 528. Consequently we find no'violation of section 894 or
error with respect to the district court’s handling of notes 1, 3 and 4 dealing

with housekeeping matters.

 

 

Nor can Bethel establish error and prejudice with respect to' the district 4
court’s handling of note 2. 'l"itle 22, Section 894 states:

After` the jury have retired for deliberason, if there be a

disagreement-between them as to any part of the testimony or if

they desire to be informed on a point of law arising in the cause,

they must require the ocher to conduct them into court. Upon their

being brought into court, the information required must be given in

the presence of, or after notice to the district attorney and the

defendant or his counsel, or after they have been called.
22 O.S.201 1, § 894. “The purpose of Section 894 is to prevent communications
from being made to the jury without the parties being present to protect their
interests.” Mollett v. State, 1997 OK CR 28, 11 42, 939 P.2d '1, 11-12 (internal
quotations omitted). “This statute has been construed as mandatory only with
regard to bringing the jury back' into the courtroom, and the determination of
whether the jury’s request is granted is within the discretion of the trial court.”
Cipriano v. State, 2001 OK CR 25, 11 48, 32 P.3d 869, 879.

“When a communication between judge and jury occurs after a jury has
. retired for deliberations on a matter within the scope `of § 894 and that .
communication does not comport with § 894’s requirements, a presumption of
prejudice arises. The presumption may be overcome if,_ on appeal, this Court is
convinced that on the face of the record no prejudice to the defendant
occurred.” smith v. srate, 2007 ox cR 16,1 52, 157 P.3d 1155, 1172 (iriierr'rai
citations and quotations omitted) (emphasis added).

Note 2 asked what the jury should do if it could not reach a unanimous

decision on some counts and how to proceed on the counts on which there was

 

 

unanimity. The parties and judge agreed a deadlocked jury instruction was
premature because the jury had deliberated only a few hours, The district
court instructed the jury to continue to deliberate on the unresolved counts._
There was no violation of the underlying purpose of § 894 (preventing
communications without parties’ interests protected) in- the handling of note 2
because the parties were consulted and approved the court’s response. j Bethel
agreed that the court could respond in writing rather than returning the jury to
open court. Any presumption of prejudice arisingfrom the court’s failure to
bring the jury back into the courtroom is refuted by the record showing that
the district court provided the jury with the response sanctioned by the parties.
There is no showing of plain error; this claim is denied.'
5.

Bethel was not deprived of a fair_trial by the admission of improper “law
enforcement" opinion. Contrary to Bethel’s claim, the case agent did not vouch
for the integrity of the investigation and his testimony was not unnecessarily
cumulative, speculative or more prejudicial than probative. See 'Postelle v. _
State, 2011 OK CR 30, 11 31, 267 P.3d 114, 131 (discussing relevancy of
evidence); Hannon v. srate, 2011' oK ca 6, j 48, 248 P.3d 918, 937 (dis¢ussing
balancing relevancy of evidence against its prejudicial effect). The case agent
testified about his part in the investigation and the collection of evidence. He

did not comment on the veracity of any witness or tell the jury what result to

reach. This claim is denied.

 

6.

Reviewing for plain error only, we find Bethel has not shown the district
court erred in admitting the audiotape of his telephone call to his mother from
jail. See Hogan, 2006 OK CR 19, 1 38, 139 P.3d 907, 923. Their conversation
was relevant and its probative value was not substantially outweighed by the
danger of unfair prejudice. See Postelle, 2011 OK CR 30, 1 31, 267 P.3d at 131;
Harrnori, 2011 OK CR 6, 1 48, 248 P.3d at 937.

7.

The district court did not err in admitting an in life photograph of the
murder victim that showed his general appearance and condition while alive.
12 0.S.2011, § 2403. The admissibility of such photographs is settled, and
Bethel offers nothing new to warrant a different result in this case. See
Underwood v. State, 2011 OK CR 12, 1 48, 252 P.3d 221, 242-43,

Reviewing for plain- error only, we ind Bethel has not shown error and
prejudice from the presentation of victim impact statements from the victim’s
father and sister at formal sentencing under 21 0.S.2011, § 142A-8. -See
Hogan, 2006 OK CR 19, 1 38, 139 P.3d at 923.

` 8.

The district court did not err in denying Bethel’s motion to lsever and
allowing Counts 1 and 2 to be joined with Counts 3 and 4 for resolution in a
singletrial. See Smith v. State, 2007 OK CR 16, 1 21, 157 P.3d 1155, 1164;

Vowell v. State, 1986 OK CR 172, 111 8-9, 728 P.2d 854, 857.

 

 

9.

The district court did not err in denying Bethel’s motion to suppress
evidence because Bethel’s arrest for public intoxication was supported by
probable cause, See Cojj‘ia v. State, 2008 OK CR 24, '1 5, 191 P.3d 594, 596,

' 10.

Bethel’s ineffective assistance of counsel claim may be disposed of based
on lack of prejudice.2 See Strickland v. Washington, 466 U.S. 668, 687 , 104
S.Ct. 2052, 2064, 80 L.Ed.2d 674 (1984); Malone v. State, 2013 OK CR 1, 1 14,
293 P.3d 198, 206, cert denied ___U.S.___, 134 S.Ct. 172, 187 L.Ed.2d 119
(2013); Head v. State, 2006 OK CR 44, 1 23, 146 P.3d 1141, 1148, The merits
of the substantive claims serving as the basis for this ineffective assistance of
counsel claim have been addressed and rejected above, See Propositions 3, 4,
5, 6 and 7.

In conjunction with this claim Bethel filed an Application for Evidentiary
Hearing on Sixth Amendment claims contemporaneously with his brief,
attaching documents to support his claim that trial counsel was ineffective for
failing to investigate and present testimony supporting his defense.

This Court will order an evidentiary hearing if “the application and

aft"idavits.. . . contain sufficient information to show this Court by clear and

 

2 Bethel argues defense counsel was ineffective for failing to object to the district court's
response to jury note #2, failing to object to improper opinions offered by the case agent, failing
to have the prejudicial portions of his telephone call with his mother redacted, failing to object
to the in life photo of the victim and the victim impact statements offered at formal sentencing,
and failing to request instructions on lesser related offenses

9

 

 

convincing evidence [that] there is a strong possibility trial counsel was
ineffective for failing to utilize or identify the complained-of evidence.” Rule
3.11(B)(3)(b)(i), Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.
18, App. (2015). Having reviewed Bethel’s Request for an Evidentiary Hearing
to develop this claim and the materials offered to support that request, we find
that Bethel has failed to meet his burden. Rule 3.11, Rules of the Oklahoma
Court of Criminal Appeals, Title 22," Ch. 18, App. (2015). Therefore, Bethel is
not entitled to an evidentiary hearing to further develop his ineffective
assistance of counsel allegations, and his motion, as well as this claim, are

DENIED. See Simpson v. State, 2010 OK CR 6, 1 53, 230 P.3d 888, 905-06.

DECISION
The Judgment and Sentence of the district court on Counts 1, 3 and 4 is
AFFIRMED. count 2 is REvERs`En and REMANDED to the district court with
instructions to DISMISS. Pursuant to Rule 3.15, Rules of the Oklahoma Court
of Criminal Appeals, Title.22, Ch. 18, App. (2015), the MANDATE is ORDERED
issued upon delivery and Bling of this decision.

AN APPEAL FROM THE DISTRICT COURT OF TULSA COUNTY
THE HONORABLE JAMES M. CAPUTO, DISTRICT JUDGE

10

}. .\,;.

APPEARANCES AT TRIAL

STEVE VINCENT

ATTORNEY AT LAW

7122 S. SHERIDAN, SUITE 2372
TULSA, OK 74103-3805
ATTORNEY FOR DEFENDANT

KALI STRAIN

JOHN SALMON

ASSISTANT DISTRICT ATTORNEYS
500 S. DENVER,SUITE 900 _
TULSA, OK 74 103

ATTORNEYS FOR STATE

0PINION BY: JOHNSON, J.
SMITH, P.J.: Concur
LUMPKIN, V.P.J.: Concur
LEWIS, J.: Concur
HUDSON, J.: Concur

RA

11

APPEAR.ANCES ON APPEAL

JAMIE D. PYBAS

P. O. BOX 926

NORMAN, OK 73070
ATTORNEY FOR APPELLANT

E. SCOTT PRUITT

OKLAHOMA ATTORNEY GENERAL
THEODORE M. PEEPER
ASSISTANT ATTORNEY GENERAL
313 N.E. 213'1` STREET
OKLAHOMA CITY, OK 73105
ATTORNEYS FOR APPELLEE

 

 

IN THE DISTRIC'I` COURT OF TULSA COUNTY

 

 

STATE OF OKLAHOMA
DEANDRE BETHEL . )
Petitioner./ Appellant, )
'* V§. § Case No_ CF~'201 2-660
)
THE STATE OF OKLAHOMA, )
Réspondents / Appellee. )

APPLICATION FOR POST-CONVICTION REL[EF

________________________-

PART A

I, DeAndre Bethel , DOC # 60.9424 , whose present address is
Lawton Correctional Facility, 8607 SE Flower Mound Road, Lawton, Oklahoma 73 501, hereby
apply for relief under the Post-Conviction Procedure Act, Section 1080 et seq. of Title 22

The sentence ii'om which I seek relief is as follows:

l. (a) Court in which sentence was rendered; Tul sa County Di strict court
(b) Case Number: CF'2012'66O
Date of sentence: March 1 4 , 201 4

Termsofsentenc¢; L:i.fe With Parole

Nam¢ ofpresiding Judge; Horriable James M. Caputo..»

.U‘:‘>S*’!"

Are you now in custody serving this sentence? Yes (x) No~ ( )
Where? LCF-Lawton

6. For what crime or crimes were you convicted? Felony Murder

 

 

7. Check whether the finding of guilty was made:
After plea of guilty ( ) After plea of not guilty (x)

8. If found guilty after plea of not guilty, check whether the finding was made by:
A jury (X) A judge without a jury ()

IN THE DISTRICT COURT OF TULSA COUNTY

 

STATE OF OKLAHOMA
DEANDRE BETHEL 4 ) v
Petitioner-/ Appellant, )
" _vs. § Case No, cF-2o12_.660
)
THE STATE OF OICAHOMA, )
Réspondents / Appellee. )

APPLI~CATION FOR POST-CONV`ICTION RELIEF

PART A

1, DeAndre Bethel , DOC # 60.9424- , whose present address is
Lawton Correctional Facility, 8607 SE Flower Mound Road, Lawton, Oklahoma 73501, hereby
apply for relief under the Post-Conviction Procedure Act, Section 1080 et seq. of Title 22,

The sentence from which I seek relief is as follows:

l. (a) Court in which sentence was rendered: Tulsa County District Court

 

 

 

2. Date ofsentence: March 1 4 , 201 4

3. Terms ofsentence: Life With Parole

4_ Name of Presiding Judge; Horriable J ames M . Caputo..-

5. Arc you now in custody serving this sentence? Yes (x) No- ( )

Where? LCF-Lawton

6. For what crime or crimes were you convicted? Felony Murder

 

 

7. Check whether the finding of guilty was made:
After plea of guilty ( ) After plea of not guilty (X)

8. lf found guilty after plea of not guilty, check whether the finding was made by:
A jury (X) A judge without a jury ( )

9. Narne of lawyer who represented you in trial court: Steven Vincent

 

10. Was your lawyer hired by you or your family? Yes ( ) No (x)
Appointcd by the court? Yes (x) No ( )

l 1. Did you appeal the conviction? Yes (x) No ( )
To what court or courts?

 

Oklahoma Court of Criminal Appeals

 

12. Did a'lawyer represent you for the appeal? Yes ( X) No ( )
Was it the same lawyer as in No. 9 above? Yes ( ) No (X)
If "no," what was this lawyer's name? Jamie D - Pybas
_ Address? OIDS , P .O . Box 926 , Normari,' OK
13. Was an opinion written by the appellate court? Yes (X) No ( )
If "yes", give citations if published: F-2 01 4-3 3 6

 

If not published, give appellate case no.:

 

14. Did you seek any further review of or relief from your conviction at any other time in

anycourt? Y€S() NO§()

lf "Yes", state when you did so, the nature of your claim and the result (include
citations to any reported opinions.)

 

 

 

 

 

 

PART B
(lf you have more than one proposition for relief, attach a separate sheet for each

proposition Answer the questions below as to each additional proposition, labeled SECOND
PROPOSITION, THIRD PROPOSITION.)

I believe that I have

(1 ) propositions for relief from the conviction and sentence
described in PART A.

 

 

FIRST PROPOSITION: ~

. Of what legal right or privilege do you believe you were deprived in your case?
ACTUAL INNOCENCE

 

 

. ln the facts of your case, what happened to deprive you of that legal'right or privilege
and who made the error of which you complain?

 

_§§§_§£l§f

 

 

. List by name and citation any case or cases that are very close factually and legally to

yours ~as examples of the error you believe occurred in your case.
See Brief

 

 

 

. How do you think you could now prove the facts you have stated in answer to

Question No. 2, above? (ATTACH SUPPORTI`NG DOCUMENTATION.)
See Brief

 

 

. If you did not timely appeal the original conviction, set forth facts showing how you

were denied a direct appeal through no fault of your own.
See Brief

 

 

 

. Is this a proposition that could have been raised on Direct Appeal? Yes ( ) No (X)
Exp}ain; Due to ineffective assistance of appellate Counsel

The argument was not filed.

 

 

 

 

RAB.I_C _ _
I understand that I have an absolute right to appeal to the Court of Cnmmal Appeals from

the trial court’s order entered in this case, but unless I do so within thirty (30) days after the entry
of` the trial judge’s order. I will have waived my right to appeal as provided by Section 1087 of
Title 22,

EABI_D.

I hereby apply to have counsel appointed to represent me, I believe lam entitled to relief.
l do not possess any money or property.

cma/l AM%> `

Date (Signature or Petition`e'r/A`ppellant)

STATE OF OKLAHOMA )
) SS.
COUNTY OF COMANCHE )
l DeAndre Bethel, being first sworn under oath,~ states that he signed the above

application and that the statements therein are true to the best of my knowledge and beli

/QM j

(Signature of Petitioner/A’ppellant)

Subscribed and sworn to before me this Gu'|~day of M,Wl§.““ .~..““““
_ ' o NUI`AR llB|.lC Stade a

‘ . roPPlNe

 

   
  
 

- 6-2017

`i "`\`\\""`

o

3

3

§
d
w
o
d
-n
§

l`\\\\\\\

My Commission Number is: l?)b\ \'3-"\ F]

My Commission Expires : |7,| \\.¢| ZQ[:]

IN THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA
DEANDRE BETHEL, )
Petitioner, §
v. § l Case No. CF-2012-660
STATE OF OKLAHOMA §
Respondent. §

 

APPLICATION FOR POST-CONVICTION RELIEF
BRIEF-N-CHIEF

Mr. Bethel is proceeding pro se, under Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct.
2197, 2200, 167 L.Ed.2d 1087 (2007); Andrews v. Heaton, 483 F.3d 1070, 1116 (10th Cir.
2007); Hall v. Bellmon, 935 F.2d 1106, 1110 (10‘h Cir. 1991) (citing Haines v. Kerner, 404 U.S.
519, 520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 562 (1972) ('I`aking into account that a pro se
pleading is to be held to a less stringent standard than one formally submitted by an attomey);
and claims Hughes v. Rowe, 449 U.S. 4, 9, 101 S.Ct. 173 (1980) (The Court must review
liberally and interpret pro se arguments to raise the strongest arguments that they suggest.). Mr.

Bethel prays the Court’s forbearance in reviewing the Habeas Petition.

BA§KQBMD

February 4, 2012, Bryon Ivory, Ernest Roberts and Bradley Jarrett pulled into the parking lot of
Club Pink at approximately 1:40 a.m. As the men sat in the vehicle, another car pulled into the
parking lot, parking behind the victims with their lights on. One individual approached the vehicle,
while Mr. Roberts was exiting Mr. Ivory’s vehicle. The person asked Mr. Roberts did he know him.
Mr. Roberts said, “No.” The assailant pulled a gun and stuck it in Mr. Roberts’ ribs. Mr. Roberts
took out his wallet and cell phone, offered the wallet and cell phone to the assailant as an escape
mechanism, turned and ran. Roberts’ jumped over a four-foot wall with a five-foot drop-off on the

other side. Mr. Jarrett also exited the vehicle and ran, but before running saw two individuals

 

standing beside the car parked behind them, Mr. Jarrett ran so hard that he ran out of his Nikes.
There was shooting and a short time later Mr. Ivory was discovered dead from gun shot wounds.

Several Tulsa Fireflghters witnessed two cars leaving the parking lot in'a` hurry. They described
one of the vehicles as a white Chevy Cobalt. Several hours later Mr. Bethel was discovered sleep at
an intersection street light in a white Chevy Cobalt and a gun in the passenger seat. Mr. Bethel was
arrested for Public lntoxication and Possession of a Firearm and bonded out of jail. Police later
tested the weapon and discovered that it was one of the weapons used in the shooting of Mr. Ivory.
During and after both arrests Mr. Bethel consistently proffered to police officers that he had bought
the gun that morning from someone named Rio, Mr. Bethel was charged and convicted by a jury of
Felony Murder with the underlying felony of First Degree Robbery with a Firearm. Mr. Bethel was
sentenced to life with the possibility of parole. F rom this sentence_Mr. Bethel request post-
conviction relief.

During his time of incarceration, Mr. Bethel did his own investigation as to what happened at
Club Pink that night. He discovered that the incident was not a robbery, but retaliation of an ongoing
feud between Bryon Ivory and Laharry Myers. Mr. Bethel, also, discovered that there were witnesses

present that could testify that he was not present during the altercation and didn’t participate (See
Affidavits).

£BQLQ§!ILQN_L ACTUAL INNOCENCE

Petitioner presents reliable newly discovered evidence supporting the allegation of constitutional
error of ineffective assistance of trial counsel for failing to research, interview and call DeAndre
Williams and Elza Riley as witnesses to testify at trial. Mr. Williams and Mr. Riley would testify at
trial that they were present at the scene and Mr. Bethel was not present and did not participate in an
armed robbery and that there was no robbery, but that the crime was retaliation for a previous
altercation between the two men. See attached aj‘idavits.

The "fundamental miscarriage of justice" exception to the procedural bar doctrine applies "in an
extraordinary case, where a constitutional violation has probably resulted in the conviction of one
who is actually innocent." Murray v. Carrier, 477 U.S. 478, 495-96, 106 S. Ct. 2639, 91 L. Ed. 2d
397 (1986); see also Herrera v. Collins, 506 U.S. 390, 400-404, 113 S. Ct. 853, 122 L. Ed. 2d 203
(1993); Sawyer v. Whitley, 505 U.S. 333, 339-41, 112 S. Ct. 2514, 120 L. Ed. 2d 269 (1992);
Schlup v. Delo, 513 U.S. 298, 115 S. Ct. 851, 130 L. Ed. 2d 808 (1995). To meet this test, a criminal

defendant must make a colorable showing of factual innocence. Beavers v. Saj]le, 216 F.3d 918, 923
(10th Cir. 2000) (citing Herrera, 506 U.S. at 404). "The miscarriage of justice exception, . . . applies
to a severely confined category: cases in which new evidence shows 'it is more likely than not that
no reasonable juror would have convicted [the petitioner .'" McQuiggin v. Perkins, 133 S. Ct. 1924,
1933, 185 L. Ed. 2d 1019 (2013) (quoting Schlup, 513 U.S. at 329) (intemal quotation marks
omitted). Under Schlup, a showing of innocence sufficient to allow consideration of procedurally
barred claims must be "so strong that a court cannot have confidence in the outcome of the trial
unless the court is also satisfied that the trial was free of nonharmless constitutional error . . . ."
Schlup, 513 U.S. at 316. The petitioner must "support his allegations of constitutional error with
new reliable evidence - whether it be exculpatory scientific evidence, trustworthy eyewitness

accounts, or critical physical evidence - that was not presented at trial." Id. at 324.

A. NEWLY DISCOVERED EVIDENCE OF INEFFECTIVE ASSISTANCE OF APPELLATE
COUNSEL IN VIOLATION OF THE SIXTH AMENDMENT TO THE UNITED STATES
CONSTITUTION AND ARTICLE II, § 20 OF OKLAHOMA'S CONSTITUTION FOR
FAILING TO DISCOVER EVIDENCE AND FAILING TO FILE INEFFECTIVE
ASSISTANCE OF TRIAL COUNSEL FOR FAILING TO INTERVIEW, INVESTIGATE AND
CALL DEANDRE WILLIAMS AND ELZA RILEY TO TESTIFY AT TRIAL

Appellate counsel failed to discover evidence of eyewitness testimony of Elza Riley. Further
appellate counsel’s failure to make the proper argument in the direct appeal brief was below
professional norms and prejudiced the appeal, Had the waived information been included in the
brief, then it would have demonstrated that Mr. Bethel was actually innocent of the crimes in which
he was convicted. Whereby, Appellate counsel was ineffective

1. TRIAL COUNSEL RENDERED INEFFECTIVE ASSISTANCE BY FAILING TO
PRESENT THE TESTIMONY OF CRITICAL, AVAILABLE DEFENSE WITNESSES AT
TRIAL, VIOLATING MR. BETHEL’S RIGHTS UNDER THE SIXTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION AND
ARTICLE II, §§ 7 AND 30 OF THE OKLAHOMA CONSTITUTION

Despite the fact that this claim was a critical issue in the case, defense counsel failed to secure

the attendance of these witnesses who could provide corroboration to Mr. Bethel’s statements that he

bought the gun after the fact. Mr. Bethel repeatedly told police he had bought the .40 caliber pistol
shortly before he was arrested.

 

Appellate counsel was ineffective for failure to file ineffective assistance of trial counsel for
failure to investigate, interview and call DeAndre Williams and Elza Riley as witnesses at trial. Both
eyewitnesses would testify that they were present at the crime scene, that there was no robbery, but
the crime was a retaliation for a previous altercation between two men and that Mr. Bethel was not
present at the time. Trial counsel’s failure to investigate, interview, and call Mr. Williams and Mr.
Riley as witnesses for the defense was ineffective assistance of counsel. Appellate counsel’s failure
to discover and submit the claim on direct appeal demonstrates appellate counsel’s ineffectiveness
prejudiced Petitioner’s appeal, Both counsels’ unprofessional errors effected both the outcome of the
trial and the appeal,

Neither trial counsel nor appellate counsel discovered the information discovered by Mr. Bethel.
Mr. Bethel discovered the information through his own investigations and both attorneys had the
opportunity to discover the evidence and did not. The evidence and the eyewitnesses were available
if counsels had properly investigated, interviewed the witnesses, However, due to ineffective
assistance of both counsels, counsels failed to discover the evidence. Petitioner claims due to
ineffective assistance of counsels the evidence was not presented at trial or on appeal and that the
court should determine the effectiveness of trial counsel and appellate counsel when considering
whether the evidence is material and whether the evidence creates a reasonable probability that, had

it been introduced at trial or on appeal that it would have changed the outcomes.

SIANDAMZF_BEXIEE

Post-conviction claims of ineffective assistance of appellate counsel are reviewed under
the standard for ineffective assistance of counsel set forth in Strickland v. Washington, 466 U.S.
668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). See Smith v. Robbins, 528 U.S. 259, 289, 120 S.Ct.
746, 765, 145 L.Ed.2d 756 (2000) ("[Petitioner] must satisfy both prongs of the Strickland test in
order to prevail on his claim of ineffective assistance of appellate counsel."); Coddington, 2011
OK CR 21, P 3, 259 P.3d at 835; Davis v. State, 2005 OK CR 21, P 7, 123 P.3d 243, 246. Under
Strickland, a petitioner must show both (1) deficient performance, by demonstrating that his
counsel’s conduct was objectively unreasonable, and (2) resulting prejudice, by demonstrating a
reasonable probability that, but for counsel’s unprofessional error, the result of the proceeding (in
this case the appeal) would have been different Strickland, 466 U.S. at 687-89, 104 S.Ct. at
2064-66. And we recognize that "[a] court considering a claim of ineffective assistance of

 

 

counsel must apply a 'strong presumption' that counsel’s representation was within the ‘wide
range' of reasonable professional assistance." Harrington v. Richter, 131 S.Ct. 770, 787, 178
L.Ed.2d 624 (2011) (quoting Strickland, 466 U.S. at 689, 104 S.Ct. at 2065).

In reviewing a claim of ineffective assistance of appellate counsel under Strickland, a
court must look to the merits of the issue(s) that appellate counsel failed to raise. See Malicoat v.
Mullin, 426 F.3d 1241, 1249 (10th Cir. 2005) ("[I]n certain circumstances, appellate counsel’s
omission of an issue may constitute ineffective assistance under Strickland. In analyzing such
claims, the court must consider the merits of the omitted issue." (citing Robbins, 528 U.S. at
288, 120 S.Ct. at 765-66)); Cargle v. Mullin, 317 F.3d 1196, 1205 (10th Cir. 2003) ("The very
focus of a Strickland inquiry regarding performance of appellate counsel is upon the merits of
omitted issues, and no test that ignores the merits of the omitted claim in conducting its
ineffective assistance of appellate counsel analysis comports with federal law."). In the context
of ineffective assistance of appellate counsel claims, only an examination of the merits of any
omitted issues will reveal whether appellate counsel’s performance was deficient (due to failing
to raise the omitted issue(s)) and also whether the failure to raise the omitted issue(s) on appeal
prejudiced the defendant, i.e., whether there is a reasonable probability that raising the.omitted
issue(s) would have resulted in a different outcome in the defendant’s direct appeal (e.g., a
reversal, new trial, new sentencing proceeding, or sentence modification). In the context of
ineffective assistance of appellate counsel claims, only an examination of the merits of any
omitted issues will reveal whether appellate counsel’s performance was deficient (due to failing
to raise the omitted issue(s)) and also whether the failure to raise the omitted issue(s) on appeal
prejudiced the defendant, i.e., whether there is a reasonable probability that raising the omitted
issue(s) would have resulted in a different outcome in the defendant’s direct appeal (e.g., a
reversal, new trial, new sentencing proceeding, or sentence modification). Id. Logan v. State, 293
P.3d 969, 974 (Okl. Cr. 2013).

Petitioner will prove that the oversight of appellate counsel prejudiced the appeal, by
demonstration that trial counsel was ineffective for failing to uphold the constitutional level of
representation as determined by the Sixth Amendment of the United States Constitution.
Petitioner also demonstrates that Mr. Bethel was prejudiced and but for counsels’ unprofessional

errors there would have been a different outcome in the trial. See below.

 

ARQIB!I_E_NI_AMLALL'LHQB=!HES

The murder of Byron Ivory was retaliation for a previous altercation between the two (2)
men. The suspects in the white car knew Mr. Ivory and called Mr. Ivory to Club Pink to retaliate
for a previous altercation. See Exhibits 1 & 2, Affidavit from Elza Rily and DeAndre Williams,
who were present at Club Pink to witness the fight between the two (2) men. Mr. Williams later
plead guilty to Accessory After the Fact in the instant matter. This altercation was not a robbery
and was never intended to be a robbery, The underlying felony of First Degree Robbery With a
Firearm did not occur, evidenced by that amount of guns involved in the crime.

First, there was an altercation between (2) rival groups of black males inside the club that
caused a ruckus. Several members of one of the groups were escorted from the club (Tr. 335-39).

Second, there was video of three (3) suspects leaving in a white car (Tr. 797), but
evidence of four (4) guns being fired (Tr. 715). The suspect shooter, later identified by Mr.
Williams and Mr. Riley as Laharry Myers a/k/a L.J., was the person holding the gun on the
robbery victim. The hypothesis that Mr. Ivory possessed the fourth weapon and this was an
altercation between two (2) rivals was never presented or considered by the jury, The jury was
unaware that the two (2) men knew each other and that there was an ongoing feud.

It is conceivable that one of the four guns belonged to the victim. There is also evidence
that this was not a robbery, The testimony of the robbery victim was that his property was not
demanded, but that when he felt a gun on his torso that he volunteered his property without
provocation and for the purpose of escape (Tr. 370, 384). The evidence further indicates that Mr.
Ivory, the only victim that did not run was not robbed. Factually, part of the robbery victim’s
property that was volunteered was found under Mr. Ivory (Tr. 801). The robbery victim threw
the property, turned, and ran, jumping a four-foot wall with a five-foot drop. The victim ran out
of his Nikes, in the nightclub parking lot with people milling around. The missing cell phone
could have been lost and/or recovered by anyone. The death of Mr. Ivory was not the result of a
robbery, but in retaliation of an ongoing feud between the two men. The conviction of First

Degree Robbery with a Firearm as a prerequisite for the Felony Murder conviction of Mr. Bethel

did not occur,

 

l. BELOW PROFESSIONAL NORMS

A criminal defense lawyer has a duty to conduct reasonable investigations into his client’s
case, which extends to the law as well as the facts, See Strickland, 466 U.S. at 690-91. As that
duty pertains to investigation of the law, counsel is obligated to research relevant law to make an
informed decision whether certain avenues will prove fruitii.il." Rompilla v. Beard, 545 U.S. 374,
387, 125 S. Ct. 2456, 162 L. Ed. 2d 360 (2005). Padilla v. Kentucky, 559 U.S. 356, 130 S. Ct.
1473, 1482, 176 L. Ed. 2d 284 (2010) (describing the ABA's standards as "valuable measures of
the prevailing professional norms of effective representation"). The extent to which counsel will
be obligated to investigate in order to perform at a constitutionally adequate level of competency
will vary case by case: as the Supreme Court observed in Strickland, "strategic choices made
after less than complete investigation are reasonable precisely to the extent that reasonable
professional judgments support the limitations on investigation." Strickland, 466 U.S. at 690-91.
But "[a] decision not to investigate cannot be deemed reasonable if it is uninformed." Fisher v.
Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002). Petitioner request the trial court to determine
whether trial counsel’s failure to utilize this evidence'could be considered a sound trial strategy
and that the trial court should find Petitioner’s counsel’s "failure to discover" was not sound trial
strategy and conclude that counsel’s notion not to investigate and call eyewitnesses is founded
upon ineffective assistance of counsel, See Glossip v. State, 2001 OK CR 21, P20, 29 P.3d 597,
601.

Petitioner claims, due to ineffective assistance of counsels, the evidence was not
presented at trial or on appeal and that the court should determine the effectiveness of trial
counsel and appellate counsel when considering whether the evidence is material and whether
the evidence creates a reasonable probability that had the evidence been introduced at trial or on

appeal, it would have changed the outcomes.

a. FAILURE TO INVESTIGATE, INTERVIEW AND CALL WITNESSES

Trial counsel was ineffective for failing to call DeAndre Williams and Elza Riley as
witnesses, Due to newly discovered evidence of affidavits from Mr. Williams and Mr. Riley,
where they state that they would had testiiied at trial that Mr. Bethel was not present at the night

club at the time of altercation.

 

Both witnesses had specific facts that could only be obtained if they witnessed the events
of the crime. The witnesses’ testimonies were crucial to the determination of guilt or innocence
of Mr. Bethel. However, neither of the eyewitnesses were interviewed, investigated, or called as
a witness by trial counsel or their information used in the direct appeal,

The extent to which counsel will be obligated to investigate in order to perform at a
constitutionally adequate level of competency will vary case by case. In the instant matter,
counsel did not call any witnesses on behalf of Petitioner. The only witness that showed at trial
and testified for the defense was Mr. Bethel. Defense counsel had a duty to investigate all
strategies of defense and to call all relevant witnesses to testify on behalf of the defense of
Petitioner. Defense counsel did not interview, investigate, or call Mr. Williams or Mr. Riley as
witnesses This establishes the first prong of Strickland. The testimony of Mr. Williams coupled
with the testimony of Mr. Riley are both surpassingly missing from the trial and appeal and is
evidence of ineffective assistance of counsels,

It cannot be said that trial counsel made a strategic decision not to call these witnesses or
that he was unaware of these witnesses, because Mr. Williams was a co-defendant of Mr.
Bethel’s and the cases were severed. It cannot be said that appellate counsel was unaware of Mr.
Williams.

Had Mr. Williams testified that he saw Mr. Myers commit the crime and did not see Mr.
Bethel would have effected the jury’s verdict. The same is true involving the testimony of Mr.
Riley. What the jury should have heard was two (2) eyewitnesses (Williams and Riley) testify
that Petitioner was not at the scene of the crime. Verses circumstantial evidence of Mr. Bethel
ending up with one of the weapons used in a crime the following morning. The jury should of
heard testimony from these eyewitnesses that this was not a robbery, but there was an ongoing
feud between the two men and they both had guns and further testimony that Mr. Bethel was not
present. The additional testimony from Mr. Williams and Mr. Riley was crucial to the
determination of the jury’s verdict.

The failure of trial counsel and appellate counsel to interview, investigate, and ca11 to
testify Mr. Williams and Mr. Riley is ineffective assistance of counsel, A criminal defense
lawyer has a duty to conduct reasonable investigations into his client’s case, which extends to the
law as well as the facts, See Strickland, 466 U.S. at 690-91. As that duty pertains to investigation

of the law, counsel is obligated to research relevant law to make an informed decision whether

 

certain avenues will prove fruitful." Rompilla v. Beard, 545 U.S. 374, 387, 125 S. Ct. 2456, 162
L. Ed. 2d 360 (2005). But "[a] decision not to investigate cannot be deemed reasonable if it is
uninformed." Fisher v. Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002). Trial counsel and
appellate counsel was uninformed and failed to reasonably investigate and call crucial
eyewitnesses to testify to Mr. Bethel’s innocence Both counsel’s performance by precedent is

below professional nonns, which satisfies the first prong of Strickland.

2. PREJUDICE

The jury’s failure to hear contrary testimony to unreliable circumstantial evidence
prejudiced Mr. Bethel. Had the jury heard from Mr. Williams (an accessory after the fact) and
Mr. Riley an eyewitness to contradict the circumstantial evidence, it would have caused the jury
to determine the truth and that Mr. Bethel was not present during the time of the crime, whereby
determining his actual innocence Mr. Williams has nothing to gain or lose by testifying that
Petitioner was not present. Mr. Riley has nothing to gain by volunteering his testimony either.
On the other hand, the absence of these eyewitnesses caused Mr. Bethel prejudice This is
demonstrated by Williams’ and Riley’s affidavits, swearing that Mr. Bethel was not present at
the crime.

It was imperative that the jury heard the testimony of Mr. Williams and Mr. Riley. The
absence of the testimony prejudiced Petitioner, because the jury was not allowed to judge
between the testimony of the eyewitnesses and the circumstantial evidence. Only Mr. Williams
and Riley could truly say what happened and who was there that night and that trial counsel nor
appellate counsel interviewed, investigated or called either of the witnesses, This is crucial
testimony that was necessary for the determination of guilt or innocence This determination is
the essence and only factor of Mr. Bethel’s conviction,

Whereby, the absence of the testimony of Mr. Williams testifying that he did not witness
Mr. Bethel at the crime scene and the absence of the testimony of Mr. Riley that he also failed to
witness Mr. Bethel at the crime scene prejudiced the Mr. Bethel and affected the outcome of the
trial.

Both counsels did not complete and analyze the evidence likely to be introduced at trial
or on appeal, lf counsels had made a complete investigation, they would of interviewed Mr.

Williams and Mr. Riley and known that they were willing to testify at trial that Petitioner was not

 

present at the crime scene. The extent to which counsel will be obligated to investigate in order
to perform at a constitutionally adequate level of competency will vary case by case: as the
Supreme Court observed in Strickland, "strategic choices made after less than complete
investigation are reasonable precisely to the extent that reasonable professional judgments
support the limitations on investigation." Strickland, 466 U.S. at 690-91. But "[a] decision not to
investigate cannot be deemed reasonable if it is uninformed." Fisher v. Gibson, 282 F.3d 1283,
1296 (10th Cir. 2002). Counsels’ failures to investigate, interview, or call Williams and Riley as
witnesses can not be considered reasonable There is no evidence that counsels had reasons not
to investigate the aforementioned witnesses, Here, the only evidence against Mr. Bethel is that he
possessed a weapon used the night of the crime. The calling of eyewitnesses Williams and Riley
in contradiction to the circumstantial evidence was reasonable and would had changed the
outcome of the verdict.

Therefore, counsels were unreasonable for not interviewing, investigating, and calling
Williams and Riley to testify on behalf of the defense or using the information in the appeal, The
testimony of the absent eyewitness would had affected the verdict, effected the appeal and
demonstrated that Mr. Bethel is actually innocent Therefore Mr. Bethel is prejudiced.

Petitioner has demonstrated that he is actually innocent of Robbery with a Firearm and
Felony Murder because he was not present at the crime scene as sworn to by the eyewitnesses.
The affidavit from Mr. Williams demonstrates that Mr. Bethel was not present at the scene of the
crime. The affidavit of Riley also demonstrates that Mr. Bethel was not present at the crime
scene. The jury was uninformed of Mr. Williams’ and Mr. Riley’s testimonies Both their
testimonies’ were crucial to the defense of Mr. Bethel. Trial and appellate counsels’ failure
interview and call Mr. Williams or Mr. Riley as witnesses were unprofessional errors. Mr. Bethel
has satisfied both prongs of in regards to ineffective assistance of trial and appellate counsel, The
missing eyewitness satisfies the first prong of Strickland. The second prong of Strickland is
satisfied by had the eyewitnesses been called it would have changed the outcome of both trial
and the appeal. Wherefore, Petitioner has satisfied both prongs of Strickland in regards to
ineffective assistance of appellate counsel.

Petitioner further claims his actual innocence because this case is a case in which new
evidence shows it is more likely than not that no reasonable juror would have convicted Mr.

Bethel after the aforementioned evidence was presented before a jury.

10

 

 

Wherefore, Petitioner request that the sentence be vacated and the case remanded back
with instructions to dismiss.
Petitioner also requests that Mr. Williams and Mr. Riley be called as witnesses at an

evidentiary hearing to determine the efficiency of trial and appellate counsels’ effectiveness

B. APPELLATE COUNSEL WAS INEFFECTIVE FOR FAILING TO FILE TRIAL
COUNSEL WAS INEFFECTIVE FOR NOT SUBJECTING THE PROSECUTION’S
CASE OF ROBBERY WITH A FIREARM TO ADVERSARIAL TESTING AND
CONCEDED THE ROBBERY CHARGE BY CONFESSING GUILT WITHOUT
PERMISSION OF APPELLANT

 

Appellate counsel was ineffective for failing to file trial counsel was ineffective for not
subjecting the prosecution’s case of First Degree Robbery with a Firearm to adversarial testing and

conceded the robbery charge by confessing guilt without permission of appellant.

Defense counsel was ineffective for not subjecting the prosecution’s case of First Degree
Robbery with a Firearm the underlying felony to Felony Murder to adversarial testing. Mr.
Bethel conceded guilt to Public lntoxication and Possession of a Firearm. However, trial counsel
also conceded guilt to the First Degree Robbery With a Firearm charge during trial without
consent from Mr. Bethel.

Defense Counsel on several occasions conceded that this was an intentional robbery -
instead of challenging with adversarial testing the prosecution’s case of robbery with a firearm.
Had counsel challenged that the suspects had no intentions of taking away property (which is a
required element of robbery) then the Petitioner could not have been convicted of the underlying
felony of First Degree Robbery With a Firearm. Contrary to defense counsel’s professional duty,
his performance fell below the objective standard of reasonableness required by the Sixth
Amendment. Instead of challenging the First Degree Robbery With Firearm charge, counsel
stated that it was an intentional robbery, even though the assailant’s had no intention of taking
away property,

Petitioner will prove that the oversight of appellate counsel prejudiced the appeal, by
demonstration that trial counsel was ineffective for failing to uphold the constitutional level of

ll

 

representation as determined by the Sixth Amendment of the United States Constitution. See

below:

l. BELOW PROFESSIONAL NORMS

The murder of Byron Ivory was retaliation for a previous altercation between the two (2)
men. The driver of the white car (identified as Rio) knew Mr. Ivory and called Mr. Ivory to Club
Pink so that LaHarry Myers could retaliate from the previous altercation. See Affidavits 1 & 2,
Affidavit from Elza Rin and DeAndre Williams, who were present at Club Pink and witnessed
the incident between the two (2) men. Mr. Williams later plead guilty in the Murder as an
accessory after the fact in the instant matter. The altercation was not a robbery and was never
intended to be a robbery, The underlying felony of First Degree Robbery With a Firearm did not
occur, evidenced by that amount of guns involved in the crime scene and the lack of taking of
property,

First, there was an altercation between (2) rival groups of black males inside the Club
Pink that caused a ruckus (Tr. 335-39). _

Second, there was only one suspect thought to have a gun in the parking lot witnessed by
the victims (Tr. 367-68). There was video of three (3) suspects leaving in a white car (Tr. 797),
but evidence of four (4) guns being fired (Tr. 715). The suspect shooter, identified as LaHarry
Myers a/k/a L.J. by Mr. Williams and Mr. Riley as the person holding the gun on the robbery
victim was in an ongoing feud with the deceased victim. The hypothesis that Mr. Ivory possessed
the fourth weapon and this was in a shootout between two (2) rivals was never presented or
considered by the jury. The jury was unaware that the two (2) men knew each other and that
there was an ongoing feud between the two.

lt is conceivable that one of the four guns belonged to the victim. There is also evidence
that this was not a robbery, through the testimony of the robbery victim that his property (cell
phone and wallet) were not demanded, but that when he felt a gun on his torso that he
volunteered his property without provocation to institute an escape (Tr. 370, 384). Further
evidence indicates that Mr. Ivory, the only victim that did not run was not robbed. Factually, the
robbery victim volunteered his property as an escape mechanism -- part of the property [his

wallet] was found under Mr. Ivory (Tr. 801). The robbery victim threw the property and turned

12

 

and ran, jumping a four-foot wall with a five-foot drop, in a nightclub parking lot with people
milling around, The cell phone could have been lost and/or recovered by anyone The death of
Mr. Ivory was not the result of a robbery, but retaliation of an ongoing feud between the two
men.

Defense counsel was ineffective for not subjecting the prosecution’s case of First Degree
Robbery with a Firearm to adversarial testing and conceding that there was a robbery, Defense
counsel conceded the Public lntoxication, Possession of a Firearm and on several occasions
conceded that this was an intentional First Degree Robbery with a Firearm without the consent of
Mr. Bethel.` Had counsel challenged that the suspects had no intention of taking away property,
then the appellant could not be convicted of the underlying felony of Robbery With a Firearm.
Contrary to his professional duty, defense counsel’s performance fell below the objective
standard of reasonableness required by the Sixth Amendment. Defense counsel gave motive and
demonstrated before the jury the vulnerableness of the victims. lf there was a robbery, which is
hard to determine and would be hard for a jury to determine if the charge was challenged,
because the only alleged property taken is an absent cell phone, from a person that jumped a
four-foot wall with a five-foot drop-off and ran out his shoes in a crowded nightclub parking lot.
No one knows what actually happened to the cell phone.

Third, the volunteering of his property by the robbery victim does not indicate that the
other suspects had prior knowledge that anything would be taken or knowledge that anything
was taken. Prior knowledge and the intention to take away property are elements of First Degree
Robbery, Due to the spontaneity of the victim volunteering his property [which might of saved
his life, because it distracted the man with the gun long enough for him to run] it could not be
proven beyond a reasonable doubt that the other suspects had knowledge or consented to taking
of property. See Rosemond v. United States, 134 S.Ct. 1240, 188L.Ed.2d 248 (2014), the
Supreme Court held, in order to aid and abet, a defendant must have advance knowledge that a
crime will be committed. One of the “basics"’ of aiding and abetting robbery [in addition to
taking away is the requisite act of intent] when he intends to facilitate that offense’s
commission.” See also Williams v. Trammell, 782 F.3d 1184 (10"' Cir. 2015), citing Rosemond,
“Some mutual state beyond “mere assent" or “acquiescence” is also required. Id. Wingeild v.
Massie, 122 F.3d 1329, 1332 (10"‘ Cir. 1997). Whereby, if there was a robbery, which it could

not be proven that there was without defense counsel’s concession. There may have been a

13

 

 

spontaneous robbery, which did not elevate the other suspects of premeditation consensus that a
robbery would be committed The only person that offered any evidence of premeditated robbery
or confessed culpability to the robbery was trial defense counsel,

Factually, defense counsel acknowledged the robbery, gave motive, opportunity and
scenarios, whereby, robbery could be accomplished Defense counsel admitted on two (2)
occasions that the gun Bethel possessed was the murder weapon (Tr. 1020). Defense counsel
further gave motive, “And so fi'orn about 1:30 to 2:00 a.m. in the morning, you have what is
called a target-rich environment, if you’re a crook. You have lots of people, many of whom are
inebriated, getting out of the bar at the same time, going to their cars, and they often have money
and stuff and they have their keys. So predators tend to wander by at such times (Tr.

1021) ...“Robbery crews are working the area at this time. .. (Tr. 1022). Defense counsel
concedes that there was a robbery and that it was intentional, which he was the only person to
offer any evidence or confess culpability to robbery, Defense counsel’s concession may not have
been directly confessing the robbery, but overtly confessed that the victims were seasoned for a
robbery and that robbery crews were working the area. The evidence introduced through
affidavits supports the evidence that this was not a robbery, This demonstrates ineffective
assistance of trial counsel, Mr. Bethel had not intended to confess to guilt of robbery and

counsel’s confession was without Petitioner’s consent

2. PREJUDICE

The Oklahoma rules of Professional Conduct govern attorney conduct in this state These
rules do not lay the groundwork for claims of ineffectiveness, but they are pertinent to any
discussion of attorney conduct when the rules touch on subjects raised in a claim of
ineffectiveness The rules set forth the necessity of open consultation between attorneys and
clients; furthermore, some decisions are left to the client afier such consultation. "ln a criminal
case, the lawyer shall abide by the client’s decision, after consultation with the lawyer, as to a
plea to be entered, whether to waive jury trial and whether the client will testify." Rule 1.2, Rules
of Professional Conduct, 5 O.S.199l, Ch.l, App. 3-A. "A lawyer shall explain a matter to the
extent reasonably necessary to permit the client to make informed decisions regarding the
representation." Rule 1.4(b), Rules of Professional Conduct, 5 O.S.l991, Ch.l, App. 3-A.

Likewise, the decision to concede guilt must be the client’s ultimate decision,

14

 

The prosecution was required to prove robbery, Whereby, defense counsel’s declaration
of robbery proved the prosecution’s case determining guilt to the robbery. Defense counsel gave
motive and situations whereby the robbery could be accomplished Had counsel not conceded
that the victims were primed and ready to be robbed and that there was a robbery, whether
directly or overtly, then the state was required to prove the robbery, The. concession allowed the
jury to agree with counsel that a robbery had occurred and convicted Mr. Bethel of First Degree
Robbery with a Firearm. This prejudiced Mr. Bethel. See Jackson v. State, 2001 OK CR 37, 1| 25

41 P.3d 395, 400 ("[a] complete concession of guilt is a serious strategic decision that must only

9

be made after consulting with the client and after receiving the client’s consent or acquiescence.")
Defense counsel’s declaration of robbery prejudiced Mr. Bethel. Had counsel not made the
declaration that a robbery was committed then there is a reasonable probability that the outcome
of the trial would have been different,

Under Strickland, Mr. Bethel proves both (1) deficient performance, by demonstrating
that his counsel’s conduct was objectively unreasonable by conceding the robbery, and (2)
resulting prejudice by Mr. Bethel being convicted of the robbery by counsel’s concession
1Wherefore there is a reasonable probability that, but for counsel’s unprofessional error, the result
of the proceeding would have been different, Strickland, 466 U.S. at 687-89, 104 S.Ct. at 2064-
66.

Wherefore, Mr. Bethel was prejudice by counsel’s concession to robbery, Therefore,

ineffective assistance of trial counsel has been established and the court should remand Mr.

Bethel’s case, because his Sixth Amendment right to effective assistance was violated.

QlN£LLl§IQN

Actual innocence is demonstrated above by the newly discovered evidence that both trial
counsel and appellate counsel were ineffective for failing to discover critical reliable evidence of
eyewitness testimony that would have determined that Mr. Bethel was not at the crime scene.
Further, Exhibit B. in Petitioner’s direct appeal, an affidavit from Wanda Janell Smith was
submitted proving that Mr. Bethel was also not at the crime scene and he later leR Ms. Smith to
go purchase the weapon that was involved in the crime. In light of the evidence discovered afier
trial, had trial counsel presented the testimony of Ms. Smith, Mr. Williams, and Mr. Riley

demonstrating that he was not at the crime scene verses the circumstantial evidence, there is a

15

 

 

strong probability that the jury’s decision would have been different, As a matter of fact, if the
prosecution would have properly interviewed the aforementioned witnesses, there is a strong
possibility that the state would not have pursued prosecuting Mr. Bethel at all. Further, had trial
counsel investigated, interview, and called the witness the outcome of the trail would have been
different In addition, had appellate counsel discovered the evidence and introduce it in Mr.
Bethel’s appeal would have produced a different outcome of the appeal, Mr. Bethel is
specifically innocent of the underlying felony of First Degree Robbery with a Firearm. The
witnesses’ affidavits prove that the crime was not a robbery, but the retaliation of a long ongoing
feud between two (2) rivals Because there was no robbery, then Mr. Bethel cannot be convicted
of the underlying felony, which results in innocence of the Felony Murder.

Wherefore, for the aforementioned reasons the absent witnesses prejudiced Mr. Bethel
and he is actually innocent of the conviction Therefore, he requests an evidentiary hearing,
where the critical absent witness evidence can be used to determine counsels’ ineffectiveness and
after reaching such a conclusion the court must determine that Mr. Bethel is actually innocent

Whereby, the conviction should be vacated and remanded with instructions to dismiss

RESPECTFULLY :J%

DeAndre Bethel

#690424

LCF~Lawton

8607 SE Flowermound Rd.
Lawton, OK

CERTIFICATE OF VERIFICATION
I state under penalty of perjury under the laws of Oklahoma that the

foregoing is true and correct
42 C¢>~/é L@fw, ()¢f M

(Date and Place)' (Signature)

 

16

 

rN THE DISTRICT coUR'r m AND FoR TULSA coun'@lsi'mi'r C&URB

STATE OF OKLAHOMA
MAR 30 2017
DEANDRE BETHEL, )
) DON NEWBERRY, Court Clerk
Petitioner, ) STATE CF OKLA. TULSA COUNTY
) Case No. CF-2012-660
v. )
) Judge James Caputo
STATE OF OKLAHOMA, )
l
Respondent. )

ORDER DENYING APPLICATION FOR PCST-CONVICTION RELIEF

This matter comes on for consideration of Petitioner’s application for
post-conviction relief filed September 30, 2016, and the State’s response
thereto. This Court, being fully advised in the premises and concerns finds
as a matter of facts and conclusions of law that the matter under
consideration does not present any genuine issue of material fact requiring
a formal hearing with the presentation of witnesses and the taking of
testimony. Johnson v. State, 1991 OK CR 124, 823 P.2d 370, The matter
Will therefore be decided based on the records this Court has reviewed.

MATERIALS REVIEWED

This Court has reviewed the following materials in reaching its
decision: the docket sheet; the Information filed February 16, 2012; the
Judgment and Sentence for Counts 1, 3, and 4 filed March 18, 2014;
Volumes I-IV of the Jury Trial Transcripts; the Court of Criminal Appeals
opinion filed as “Mandate Affirmed in Part Reversed in Part and Remanded
With Instructions to Dismiss” filed July 23, 2015; the instant application

with attached exhibits and “Motion for Evidentiary Hearing” filed
l

 

September 30, 2016; and the State’s response brief and attached exhibits
filed March 29, 2017 .
STATEMENT OF THE CASE

This Court finds that the relevant history provided in the State’s
“Response to Application for Post-Conviction Relief” to be accurate, and
will recite that history here.

Deandre Bethel (“Petiticner”), represented by counsel, was tried by
jury and convicted of First Degree Felony Murder in violation of 21
0.S.2011, § 701.7 (Count 1), Robbery with a Firearm in violation of 21
0.S.2011, § 801 (Count 2), Transporting Loaded Firearm in Vehicle in
violation of 21 0.S.2011, § 1289.13 (Count 3), and Public lntoxication in
violation of 37 O.S.20l 1, § 8 (Count 4). On March 14, 2014, the Honorable
James Caputo, who presided at trial, sentenced Petitioner in accordance
with the jury’s recommendation to life imprisonment for Count 1, five (5)
years imprisonment for Count 2, five (5) months imprisonment and a two
hundred fifty dollar ($250.00) fine for Count 3, and thirty (30) days
imprisonment and a one hundred dollar ($100.00) fine for Count 4. The
District Court ordered the sentence for Count 2 to run consecutively to
Count 1, but ordered Counts 3 and 4 to run concurrently with Count 1.
Petitioner was advised of his appeal rights

Petitioner, by and through counsel, raised a timely direct appeal to
the Oklahoma Court of Criminal Appeals. Petitioner raised the following

issues in support cf his direct appeal:

 

 

II.

III.

IV.

The State’s evidence was legally insufficient to prove all
of the elements of Robbery with a Firearm and therefore
also insufficient to support Mr. Bethel’s conviction for
First Degree Felony Murder. Accordingly, Mr. Bethel’s
convictions and sentences on Counts I and II should be
vacated as they are in violation of his due process rights
under the Fifth and Fourteenth Amendments tc the
United States Constitution and Article II, §§ 7 and 20 of
the Oklahoma Constitution.

Mr. Bethel’s conviction and sentence for Count II,
Robbery with a Firearm, must be vacated because the
conviction of Felony Murder, in violation of the Fifth and
Fourteenth Amendments to the United States
Constitution and Article II, § 21 of the Oklahoma
Constitution.

The trial court committed fundamental error by failing
to instruct the jury on the lesser offenses of Second
Degree Depraved Mind Murder, Second Degree Felony
Murder, and Accessory After the Fact, in violation of Mr.
Bethel’s rights to due process and a fair trial under the
Fifth and Fourteenth Amendments to the United States
Constitution and Article II, §§ 7 and 20 of the Oklahoma
Constitution.

The trial court erred in failing to comply with the law
governing contact with jurors during deliberations and
by failing to advise deadlocked jurors not to surrender
their honest convictions concerning the weight of the
evidence in order to reach a verdict in violation of Okla.
Stat. tit. 22, § 894 and Mr. Bethel’s rights under the
Sixth and Fourteenth Amendments to the United States
Constitution and Article II, §§ 7 , 19 and 20 of the
Oklahoma Constitution.

Mr. Bethel’s trial was rendered fundamentally unfair by
the admission of improper law enforcement opinion
testimony that invaded the province of the jury in
violation of his rights under the Fourteenth Amendment
to the United States Constitution and Article II, §§ 7 and
20 of the Oklahoma Constitution.

The admission of irrelevant and prejudicial evidence
contained in State’s Exhibit 28, a taped recording of a
phone call between Mr. Bethel and his mother, resulted
in a violation of his clue process rights under the
Fourteenth Amendment to the United States
Constitution and Article Il, §§ 7 and 20 of the Oklahoma
Constitution.

 

 

VII. Improper victim impact testimony and evidence was
admitted at trial, depriving Mr. Bethel of a fair trial in
violation of his rights under the Fourteenth Amendment
to the United States Constitution and Article Il, §§ 7, 9
and 20 of the Oklahoma Constitution.

VIII. Counts III and IV were improperly joined at Mr. Bethel’s
trial in violation of his 'ght to a fair trial and clue
process of law under the Fourteenth Amendment to the
United States Constitution and Article II, §§ 7, 9 and 20
cf the Oklahoma Constitution.

IX. The admission of evidence obtained as a result of an
illegal search and seizure violated Mr. Bethel’s rights
under the Fourth Amendment to the United States
Constitution and Article II, Section 30 cf the Oklahoma
Constitution.

X. Mr. Bethel was deprived of the effective assistance of
counsel in violation cf the Sixth and Fourteenth
Amendments to the United States Constitution and
Article II, §§ 7 and 30 of the Oklahoma Constitution
because:

A. Trial counsel failed to adequately protect the record
with appropriate objections

B. Trial counsel failed to request instructions on
appropriate lesser related offenses

C. Trial counsel failed to present critical, available
defense witnesses,

Petitioner also submitted an Application for Evidentiary Hearing on Sixth
Amendment Claims, with affidavits from several potential defense
witnesses in support of his Proposition X. See Resp’t’s Ex. 1, Application.
After thorough consideration of the issues presented, the Court of Criminal
Appeals affirmed Petitioner’s judgment and sentences for Counts 1, 3, and
4, but reversed Count 2 with an order to dismiss it. Bethel v. State, F-
20 14-336 (Okl.Cr. July 15, 2015) (not for publication), attached as Resp’t’s
Ex. 2. The Court also denied Petitioner’s request for an evidentiary hearing,

Id.

 

On March 25, 2011, Petitioner, pro se, filed the instant application
for post-conviction relief. Petitioner raises the following propositions of
error in support of his application:

I. Actual innocence

II. Newly discovered evidence of ineffective assistance cf
appellate counsel in violation of the Sixth Amendment to
the United States Constitution and Article II, § 20 of
Oklahoma’s Constitution for failing to discover evidence
and failing to file ineffective assistance of trial counsel for
failing to interview, investigate and call Deandre Williams
and Elza Riley to testify at trial.

III. Trial counsel rendered ineffective assistance by failing to
present the testimony of critical, available defense
witnesses at trial, violating Mr. Bethel’s rights under the
Sixth and Fourteenth Amendments to the United States
Constitution and Article II, §§ 7 and 30 of the Oklahoma
Constitution. '

IV, Appellate counsel was ineffective for failing to file trial
counsel was ineffective for not subjecting the prosecution’s
case of robbery with a firearm to adversarial testing and
conceded the robbery charge by confessing guilt without
permission of Petitioner.

V. Petitioner is entitled to an evidentiary hearing on these
issues.

FINDINGS OF FACT AND CONCLUSIONS OF LAW
I.

The Post-Conviction Procedure Act is neither a substitute for a direct
appeal, nor a means for a second appeal, Fox v. State, 1994 OK CR 52, 1[
2, 880 P.2d 383, 384; Maines v. State, 1979 OK CR 71, 11 4, 597 P.2d 774,
7 75-76. The scope of this remedial measure is strictly limited and does not
allow for litigation of issues available for review at the time of direct appeal.
Castro v. State, 1994 OK CR 53, 11 2, 880 P.2d 387, 388; Johnson v. State,

1991 OK CR 124, ‘|[‘|l 3-4, 823 P.2d 370, 372. “Issues that were previously

raised and ruled by upon by are procedurally barred from further review
under the doctrine of res judicata; and issues that were not raised
previously on direct appeal, but which could have been raised, are waived
for further review.” Logan v. State, 2013 OK CR 2, 11 3, 293 P.3d 969, 973
(emphasis added).

An exception to this rule exists where a court finds sufficient reason
for not asserting or inadequately presenting an issue in prior proceedings
or “when an intervening change in constitutional law impacts the
judgment and sentence.” 22 0.S.2011, § 1086; Bryson v. State, 1995 OK
CR 57, 11 2, 903 P.2d 333, 334. Sufficient reason for failing to previously
raise or adequately assert an issue requires a showing that some
impediment external to the defense prevented the petitioner and counsel
from properly raising the claim. Johnson, 1991 OK CR 124, 1[ 7, 823 P.2d
at 373. “Petitioner has the burden of establishing that his alleged claim
could not have been previously raised and thus is not procedurally
barred.” Robinson v. State, 1997 OK CR 24, 11 17, 937 P.2d 101, 108.

This Court finds that Petitioner’s post-conviction claim regarding his
trial attorney’s performance is substantively identical to his ineffective
assistance of counsel claim that was raised within his direct appeal, Bethel
1). State, F-2014-336 (Okl.Cr. July 15, 2015) (not for publication). Appellate
counsel argued that his trial attorney Was ineffective for failing to call
available defense witnesses on his behalf. Id. at 9-10. Appellate counsel

did so in the brief and in the application for an evidentiary hearing. Id.;

6

 

see also Resp’t’s Ex. 1. Therefore, this Court finds that Proposition III is
barred by the doctrine of res judicata. See Logan, 2013 OK CR 2, ‘|[ 3, 293
P.3d at 973. Petitioner has not established that this claim was
inadequately raised in a prior proceeding, 22 0.S.2011, § 1086. Post-
conviction review is nct an opportunity for a second chance to argue claims
of error in hopes that doing so in a different proceeding may change the
outcome. Turrentine v. State, 1998 OK CR 44, 1| 12, 965 P.2d 985, 989.
“Simply envisioning a new method of presenting an argument previously
raised does not avoid the procedural bar.” McCarty v. State, 1999 OK CR
24, 1[ 9, 989 P.2d 990, 995. The Court of Criminal Appeals has held that
when a claim a procedurally barred, there is no need to address the merits
of the issues presented. Boyd v. State, 1996 GK CR 12, ‘|l 3, 915 P.2d 922,
924. Proposition III is DENIED. See Logan, 2013 OK CR 2, 11 3, 293 P.3d
at 97 3.
II.

The Court of Criminal Appeals in Logan v. State, 2013 OK CR 2, 11
5, 293 P.3d 969, held that post-conviction claims of ineffective assistance
of appellate counsel are reviewed under the two-pronged test set forth in
Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674
(1984). See Smith v. Robbins, 528 U.S. 259, 289, 120 S.Ct. 746, 765, 145
L.Ed.2d 756 (2000) (“[Petitioner] must satisfy both prongs of the Strickland
test in order to prevail on his claim of ineffective assistance of appellate

counsel.”). Petitioner must show (1) deficient performance, by

 

demonstrating that his appellate counsel’s conduct was objectively
unreasonable, and (2) resulting prejudice, by demonstrating a reasonable
probability that, but for appellate counsel’s unprofessional error, the
result of his appeal would have been different See Logan, 2013 OK CR 2,
11 5, 293 P.3d at 973. A court considering an ineffective assistance of
counsel claim must apply a “strong presumption” that counsel’s
representation was within the “wide range” of reasonable professional
assistance Harrington v. Richter, 562 U.S. 86, 104, 131 S.Ct. 770, 787,
178 L.Ed.2d 624 (2011) (citing Strickland, 466 U.S. at 689, 104 S.Ct. at
2065L
A.

In Proposition II, Petitioner raises a claim of “newly discovered
evidence” of ineffective assistance cf appellate counsel for failing to raise a
claim regarding ineffective assistance of trial counsel for failure to
investigate and present defense witnesses Deandre Williams and Elza
Riley. See Pet’r’s Application, 7.

The Post-Conviction Procedure Act Will grant relief upon a
petitioner’s showing that “there exists evidence of material facts, not
previously presented and heard, that requires vacation of the conviction
or sentence in the interest cf justice.” 22 0.S.2011, § 1080(d). This
evidence must rise to the same level as that required of “newly discovered
evidence.” See May v. State, 1976 OK CR 328, ‘|[ 10, 75 P.3d 891, 892

(holding that Section 1080(d) employs the same test as newly discovered

8

 

evidence under Section 952 of Title 22 cf the Oklahoma Statutes). The
standard for newly discovered evidence claims requires “that the evidence
be material, that it could not have been discovered before trial With due
diligence, it cannot be cumulative, and it must create a reasonable
probability of changing the outcome cf the trial.” Sheppard v. State, 1987
OK CR 4, 1[ 4, 731 P.2d 989, 990,

This Court finds that the affidavits Petitioner included With his post-
conviction application do not constitute “newly discovered evidence” for
several reasons Petitioner already raised substantively identical
propositions of error regarding trial counsel within his direct appeal.
Bethel v. State, F-2014-336 (Okl.Cr. July 15, 2015) (not for publication);
Resp’t’s Ex. 1. This included affidavits from Deandre Williams and Wanda
Smith. See Resp’t’s Ex. 1. Petitioner has included the very same affidavits
from Deandre Williams and Wanda Smith in his post-conviction
` application. See Pet’r’s Application, Exhibits A and B. This information was
already presented and is not “newly discovered.” This Court finds that this
information was also able to be discovered prior to trial. Sheppard, 1987
OK CR 4, 1[ 4, 731 P.2d at 990,

This Court finds that the information contained within Elza Riley’s
affidavit is not “newly discovered” because it likewise, with due diligence,
could have been discovered before trial. Id. Petitioner concedes within his
application that this witness was known and would have testified had he

been called. See Pet’r’s Application, 4. Additionally, Petitioner provides no

 

 

explanation as to why he did not communicate that Elza Riley was a
potential defense witness to his appellate counsel, who clearly investigated
the other witnesses he proffered during the pendency of his appeal,
Petitioner simply states that appellate counsel was ineffective for failing to
“discover” that this witness and Deandre Williams existed. See Pet’r’s
Application, 4. This Court finds Petitioner’s argument is contrary to the
record, in which appellate counsel proffered such an affidavit from
Williams and vigorously litigated the issue of the failure to call available
witnesses at trial. Finally, Petitioner fails to explain this evidence in light
of his own admission of being present at the scene. Trial Tr. 854; State’s
Ex. 76. This Court finds that Petitioner has failed to show that this
evidence is “newly discovered” and that the information contained within
the affidavit would have changed the outcome of the trial. Sheppard, 1987
OK CR 4, ‘|[ 4, 731 P.2d at 990,

Finally, Petitioner argues that appellate counsel was ineffective for
failing to argue that trial counsel was ineffective for not calling available
defense witnesses, This Court finds this claim is directly contradicted by
the record, which shows that appellate counsel vigorously litigated trial
counsel’s performance, Bethel v. State, F-20l4-336 (Okl.Cr. July 15, 2015)
(not for publication); Resp’t’s Ex. 1. This Court finds that Petitioner has
not adequately supported his claims regarding appellate counsel’s
performance Petitioner’s “merely conclusory, unprovable, or unspecific

claims of ineffective assistance of appellate counsel do not raise a genuine

10

issue of material fact”- and it is not the job of this Court to comb through
the record or the law looking for support for Petitioner’s claims Logan,
2013 OK CR 2, 1[ 23, 293 P.3d 969, 978-79. Petitioner must present some
proof of his assertions rather than bald allegations against his appellate
attorney. Without such proof, this Court is entitled to rely upon the
presumption of the regularity to which all judgments and sentences are
entitled which appear regular upon their face. Hatch v. State, 1996 OK CR
37, 1[ 57, 924 P.2d 284, 296. As aptly stated by the Court of Criminal
Appeals,
It is fundamental that where a petition for Writ of habeas
corpus, or for post conviction appeal, is filed, the burden is
upon the petitioner to sustain the allegations of his petition,
and that every presumption favors the regularity cf the
proceedings had in the trial court, Error must affirmatively
appeal, and is never presumed.
Russell v. Cherokee County Dist. Ct., 1968 OK CR 45, 1[ 5, 438 P.2d 293,
294. Repeated conclusions that appellate counsel was ineffective are not
sufficient proof. Logan, 2013 OK CR 2, 1[ 23, 293 P.3d at 978-79. Petitioner
cannot show deficient performance on appellate counsel’s part, or any
resulting prejudice, When appellate counsel put forth these issues that he
' claims appellate counsel did not. As such, this Court finds that Petitioner
has not demonstrated a reasonable probability that, but for appellate
counsel’s unprofessional error, the result cf his appeal would have been

different, Proposition II is DENIED. See Logan, 2013 OK CR 2, 11 5, 293

P.3d at 973.

ll

B.

ln Proposition IV, Petitioner argues that appellate counsel was
ineffective for failing to argue that trial counsel was ineffective for not
subjecting the prosecution’s Robbery with a Firearm count to adversarial
testing. Petitioner speculates that the victim Was mistaken as to whether
he was being robbed. This Court finds that Petitioner’s argument is
essentially a challenge to the sufficiency of the evidence of the Robbery
count

Appellate counsel raised a proposition cf error regarding the

sufficiency of the evidence in Petitioner’s direct appeal, arguing that the/

elements of robbery were not present, and that the evidence did not show
Petitioner was there. Bethel v. State, F-2014-336 (Okl.Cr. July 15, 2015)
(not for publication); While not couched as an ineffective assistance of trial
counsel claim, appellate counsel did raise such a proposition, and this
Court finds Petitioner’s claim is barred by the doctrine of res judicata. See
Logan, 2013 OK CR 2, 1[ 3, 293 P.3d at 973. Petitioner cannot show that
appellate counsel was ineffective and committed an error that would have
changed the outcome of the direct appeal, Id. Additionally, there is nothing
in the record reflects that trial counsel conceded that Petitioner took part
in the robbery, See generally Trial Tr. Petitioner complains about the trial
attorney’s concession of his possession of the firearm linked to the robbery
and his intoxication, but the evidence at trial clearly showed that both

facts Were true. Trial Tr. 553-54. Counsel’s decision to do so was clearly

12

 

trial strategy given the weight of the evidence, and should not be second-
guessed. Underwood v. State, 2011 OK CR 12, 11 87, 252 P.3d 221, 253
(citing Strickland, 466 U.S. at 690-91, 104 S.Ct. at 2066). This Court finds
that Petitioner has failed to show a reasonable probability that, but for
appellate counsel’s unprofessional error, the result of his appeal would
have been different Proposition IV is DENIED. See Logan, 2013 OK CR 2,
11 5, 293 P.3d at 973.
III.

Within Proposition l, Petitioner claims that he is “actually innocent."
A claim of factual innocence may be raised at any stage of the appellate
process Slaughter v. State, 2005 OK CR 6, 1[ 6, 108 P.3d 1052, 1054. The
Court of Criminal Appeals has recognized that “innocence claims are the
Post-Ccnviction Procedure Act’s foundation.” Id. Petitioner claims that
appellate counsel was ineffective for failing to discover evidence of eyewitness
testimony of Elza Riley, and this proves he is innocent “Petitioner must
show by clear and convincing evidence that but for the alleged error no
reasonable juror would have found the petitioner guilty cf the crime of
which he was convicted.” Braun v. State, 1997 OK CR 26, 1[ 28 n.15, 937
P.2d 505, 514 n.15.

This Court finds that Petitioner’s self-serving account of the events
on the date of the offense Within his own affidavit, and that of Elza Riley’s,
is contradicted by the record, Petitioner was found in the white Chevrolet

Cobalt observed at the scene cf the crime, and in possession of a firearm

13

used in the robbery. Trial Tr. 804-09. Petitioner already proffered his own
explanation as to how he came to be in possession of the weapon at jury
trial, a defense that the jury rejected. Trial Tr. 823-25. Petitioner also
admitted on a phone call to his father during that he Was present at the
scene, despite his many protestations at trial and within his post-
conviction application that he was not. Trial Tr. 854; State’s Ex. 76.
Petitioner has failed to show by clear and convincing evidence that no
reasonable juror would have found Petitioner guilty of the crime, and as such,
Proposition I is DENIED. Braun, 1997 OK CR 26, 11 28 n.15, 937 P.2d 505,
514 n.15.
IV.

This Court finds that Petitioner has failed to establish a material
issue cf fact within his post-conviction application, and as such, declines
to conduct an evidentiary hearing, 22 O.S.20l 1, § 1084.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that
Petitioner’s application for post-conviction relief is hereby DENIED.

SO ORDERED this ;r day of M:z'g ,

2017.

 

14

 

 

CERTIFICATE OF MAILING
\

l certify that on the date cf filing, a certified copy of the above and

foregoing Order was placed in the United States Mail with sufficient
postage affixed thereto, addressed to:

Petitioner, Pro Se
Deandre Bethel, #690424
Lawton Correctional Facility
8607 S.E. Flower Mound Road
Lawton, OK 73501

Clerk of the Oklahoma Court of Criminal Appeals
Michael S. Richie
2100 N. Lincoln Blvd., Suite 4
Oklahoma City, OK 73105

and that a true and correct copy of the above and foregoing Order Denying

Application for Post-Conviction Relief was hand-delivered to:

Counsel for Respondent
Stephanie A. Collingwood
Assistant District Attorney
Tulsa County District Attorney’s Office
Tulsa County Courthouse

DON NEWBERRY
TULSA COUNTY COURT CLERK

D:?¢rv’coun'r cLERK

 

BY:

 

15

 

PERSCRIBED FORM TO BE USE BY PETITIONER IN CONFIMENT
IN THE OKLAHOMA COURT OF CRIMINAL APPEALS OF
m

THE STATE OF OKLAHOMA
"`

§§ §01§.? 432

Case No.

DEANDRE BETHEL
Petitioner / Appellant,

_vs...

 

(Supp|ied by Clerk)
STATE OF OKLAHOMA

Respondent
Respondent / Appellee.

VV\JVVVVV

F l L E D
|N COURT GF CRIMINAL APPEALS
STATE OF -.’W.l A.HOMA

APR 2 6 2017

M|CHAEL S. R|CH|E
Writ cf Habeas Corpus CLERK

PETITION FOR; (Indicate which)

 

Appeal Out of Time

 

Mand~amus

g Other EQST_QQNMIQTIQN AEEEAL

Instructions - Read Carefulh

This application form is for use by persons in State Custody filing without assistance cf counsel.

 

indicate the purpose of this petition. Habeas Corpus is for release because the court order restraining Petitioner is

illegal. lf Petitioner had no appeal, he may be entitled to an appeal out of time if denied some right relating to the right
to appeal, lf petition is for other relief, so indicate.

|n order for this petition to receive consideration by the Court of Criminal Appeals, it shall be signed by the
Petitioner and notarized (or verified under penalty of perjury under the laws of Oklahoma that the petition ls true and
correct, see Title 12 0.S.Supp.2004, § 426,' see also Rule I. 13, Rula' of the Oklahoma Court of Criminal Appeals, Title 22,
Ch. 18, App. (2013), and the petition shall set forth"in concise form the answers to each applicable question. lf
necessary, Petitioner may finish his answer to a particular question on the reverse side of the page or on an additional

Since every petition must be sworn to under oath, any false statement of material fact therein may serve as the basis

of prosecution and conviction of perjury. Petitioner should therefore exercise care to assure that all answers are true
and correct

lf the petition is taken in forma pauperis you shall include an “Amdavit ln Forma Pauperis” 13.2 'Form setting forth
information, which establishes that Petitioner will be unable to pay the fees and costs When the petition is completed,

. Your Full Name, any alias, and O.D.O.C. Prison Number:
DeAndre Bethel #609424

 

. Place of Detention: Lawton Correctional Facili 8607 Southeast Flower Mound Road Lawtcn
Oklahoma 73501-9765

 

. Reason for Detention: Felont Mu rder
a. Judgment and Sentence on Conviction:

 

 

 

 

 

 

 

 

 

 

Court: District Court Case Number: CF-2012-660

County: Tul sa Term of Sentence: _Li fe

Crime: Felony Murder Date Senten¢ed: March 1 4 , 201 4
b. Criminal Charges Pending:

Court: Case Number:

County: Date Imprisoned:

Crime Charged:

 

. If you are not attacking the legality of the authority by which you are incarcerated as described
above in Question three (3), described the custody or judgment which is the subject of this

application: Ir"icarcerated at ~Lawton Correctional Facility, Lawton, OK

. Plea Entered:

a. Before Committing Magistrate: Guilty( ) Not Guilty( ) Nolo Contendere( )
b. At Preliminary Hearing: Guilty( ) th Guilty( ) Nolo Contendere( )

c. At Arraignment: Guilty( ) Not Guilty( ) Nolo Contendere( )

d. At Trial: Guilty( ) Not Guilty( ) Nolo Contendere( )

. In you were found guilty after a plea of plea of not guilty, was that finding made by:
Jury (x) Judge withoutaJury ( )

. If' you were sentenced on a plea of guilty, did you seek to withdraw your plea of guilty after
judgment and sentence was rendered against you and enter a plea of "NOT GUILTY."

Yes ( ) No ( ) Request Granted: Yes( ) No ( )
. Attorney: Indicate below when you were represented by counsel:

Before Committing Magistrate: No Attorney( ) Court Appointed (x) Retained ( )
At Preliminary Hearing: No Attorney( ) Court Appointed (X) Retained ( )

At Arraignment: No Attomey( ) Court Appointed ()b Retained ( )

Trial: No Attorney( ) Court Appointed (x) Retained ( )

Sentencing: No Attorney( ) Court Appointed (x) Retained ( )

Appeal: No Attorney( ) Court Appointed (X) Retained ( )

Name and address of Attorney’s Representing your

Steven Vincentz Tulsa County Public Defender's foige
Jam e Py as, OIDS

recesch

9. Appeal:

P'

Did you serve notice of intention and request preparation of a case-made or record
within 10 days after Judgment and Sentence was imposed? Yes (x) No ( )

Did you request preparation of case-made or records at public expense in trial court
and offer proof of inability to pay? Yes (X) No ( )

Was this request granted? Yes (x) No ( )
Did you request the trial court to appoint counsel for appeal? Yes (X) or No ( )
Was this request granted? Yes (X) No ( )

Did the trial court or your attorney advise you of your right to appeal the Judgment
& Sentence? Yes (x) No ( )

Was an appeal perfected of your conviction? Yes (x) No ( )

10. Applications to other courts: Ifyou have applied to other courts for the same relief as
requested in this petition give the following information:

 

 

 

 

Court: Case Number:
Location: Date Filed:
Court’s Action: Date:

 

 

(If more than one such application has been made, give the same information for each requesl).

ll. Prior applications to this Court: lf you have made prior applications before this one to this
Court for relief, give the following information:

 

 

 

Case No.: Date Filed:
Relief Requested:
Court’s Final Action: Date:

 

 

(If more than one such application has been made, give the same information for each request

12. Check the precise relief now requested:

X Immediate Release Appeal Out of Time

 

 

 

New Trial Re-sentencing
Mandamus Relief Prohibition Relief
Other (be specific)

 

 

13. Of what legal right or privilege do you believe you were deprived of that would support your
requested relief?
Actual Innocence

14. What happen to deprive you of that legal right or privilege? Who made the error of which you
complain? What did 'they~'do'.wrong?

See Brief

15. How do you think you could prove the facts you have stated in Question 14?

See Brief

16. List by Name and citation ant case or statute that you think is very close factually or would be
applicable to your case.

See Brief

'\

VEMEICATION
STATE OF OKLAHOMA )

) SS.
COUNTY OF COMANCHE )

 

L DeAndre Bethel , being first duly sworn under oath, states
`_`_
that the foregoing PETITION is true and correct to the best of Petitioner/Appellant’s belief and
knowledge and so executes by subscribing his signature below.

  

Respectfu ”-`itt`e`d,,,
l M ' j # 609424

 

Print Name Q§Agg;g §§thel
Lawton Correctional Facility
8607 SE Flower Mound Road

Lawton, Oklahoma 73501-9765

 

 

BRIEF-IN-CHIEF

The District Court of Tulsa County committed reversible error contrary to state and federal law
in its decision denying Mr. Bethel’s Application for Post-Conviction Relief with evidence and
arguments as follows:

Mr. Bethel is proceeding pro se, under Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct. 2197,
2200, 167 L.Ed.2d 1087 (2007); Andrews v. Heaton, 483 F.3d 1070, 1116 (10th Cir. 2007) (citing
Haines v. Kerner, 404 U.S. 519, 520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 562 (1972) (Taking into
account that a pro se pleading is to be held to a less stringent standard than one formally submitted by
an attorney); and claims Hughes v. Rowe, 449 U.S. 4, 9, 101 S.Ct. 173 (1980); and Hall v. Bellmon,
935 F.2d 1106, 1110 (10th Cir. 1991) (The Court must review liberally and interpret pro se arguments
to raise the strongest arguments that they suggest.). Mr. Bethel prays the Court’s forbearance in

reviewing the appeal,

I. DISTRICT COURT ERRED IN DENYING MR. BETHEL’S RIGHT TO SELF-
REPRESENTATION

Mr. Bethel asserts his constitutional right to self-representation guaranteed by the Sixth
Amendment to submit his claim as filed. The district court’s order is in such disarray that its
recharacterization of the Application for Post-Conviction Relief (APCR) is a violation of Mr. Bethel’s
right to self-representation. Whereby, the district court’s order should be disregarded in whole. Mr.

Bethel construes his own arguments. See below.

II. DISTRICT COURT ERRED BY MISCONSTRUING PRO SE PRISONER PLEADING
Haines v. Kerner; supra., allows that court to interpret pro se prisoner pleadings, however, the
district court is not allowed to p'urposely re-characterize the claim. See below:

l. Mr. Bethel made one (1) propositional claim in the Application for Post-Conviction

Relief (APCR). Actual Innocence attached to the Sixth Amendment errors of ineffective
assistance of appellate and trial counsel, See APCR at 3; and APCR Brief at 2. The
district court re-characterized the claim into four (4) separate propositions. The

recharacterization was erroneous.

Sub-Propositions A. & B., were in support of the allegation of actual innocence.
Sub-Proposition A.: NEWLY DISCOVERED EVIDENCE OF INEFFECTIVE
ASSISTANCE OF APPELLATE COUNSEL...; and Sub-Proposition B.: APPELLATE
COUNSEL WAS INEFFECTIVE FOR FAILING TO FILE TRIAL COUNSEL WAS
INEFFECTIVE... The recharacterization of the sub-propositional supporting evidence

into propositional claims was erroneous.

Supporting evidence of actual innocence does not fit the criteria of res judicata. Mr.
Bethel made sub-propositional claims in support of his allegation of actual innocence.
The district court re-characterized the claim and denied the supporting evidence to the

allegation of actual innocence res judicata. This recharacterization was erroneous.

The standard of review cited by the district court in determination of actual innocence
required: “Petitioner must show by clear and convincing evidence that but for the
alleged error no reasonable juror would have found Petitioner guilty of the crime of
which he was convicted.” Id. District court order at 13. (emphasis added).

Mr. Bethel cited McQuiggin v. Perkins, 133 S.Ct. 1924, 1933, 185 L.Ed.2d
1019 (2013) (quoting Scqu v. Delo, 513 U.S. 298, 329, 115 S.Ct. 851, 130 L.Ed.2d
808 (1985) “The miscarriage of justice exception, .. [a]pplies to a severely confined
category; cases in which new evidence shows ‘it is more likely than not that no
reasonable juror would have convicted [the Petitioner].” (emphasis added) The district
court citing of “clear and convincing evidence ” is contrary to McQuiggins ’and Schqu Zs',
which cites the requirement as “it is more likely than not.” The more likely than not
standard is clearly established federal law by the Supreme Court.

The case law the district court relies upon: “To fall within this exception, a
petitioner must show by ‘clear and convincing evidence’ that, but for the alleged error,
‘no reasonable juror would have found the pen`tioner guilty of the crime of which he was
convicted.’ Wallace v. Lockhart, 12 F.3d 823, 827 (8th Cir. 1994).” Id. Braun v. State,

937 P.2d 505, n. 15 (Okl. Cr. 1997). (emphasis added). The cited clear and convincing
evidence standard is taken from an 8“‘ Circuit Appeals case that is not clearly
established federal law established by the Supreme Court, The recharacterization of the
standard requiring clear and convincing evidence was error.

The district court made several crucial errors, whereby the district court’s order should be

disregarded as a whole,

BA§.ILGMDE

February 4, 2012, Byron Ivory was driving his vehicle with Ernest Roberts, and Bradley Jarrett as
passengers and pulled into the parking lot of Club Pink at approximately 1:40 a.m. As the men sat in their
vehicle, another car pulled into the parking lot, parking behind the victims with their lights on. One
individual approached the vehicle, while Mr. Roberts was exiting the passenger side of the vehicle, the
person that approached the vehicle repeatedly asked Mr. Roberts, “Do you know me?” and Mr. Roberts
said, “No.” The assailant pulled a gun and stuck it in Mr. Roberts’ ribs. Mr. Roberts took out his wallet and
cell phone, offered the wallet and cell phone to the assailant as an escape mechanism, then turned and ran.
Roberts’ jumped over a four-foot wall with a five-foot drop-off on the other side. Mr. Jarrett also exited the
vehicle from the back seat and ran, but before running saw another individual standing beside the car
parked behind them, Mr. Jarrett ran so hard that he ran out of his Nikes. Shooting started immediately and
a short time later Mr. Ivory was discovered dead outside the vehicle from gun shot wounds.

Several Tulsa Firefighters in a fire station across from the club, witnessed two cars leaving the parking
lot in a hurry. They described one of the vehicles as a white Chevy Cobalt. Several hours later Mr. Bethel
was discovered asleep at an intersection traffic light in a white Chevy Cobalt and a gun in the passenger
seat. Mr. Bethel was arrested for Public lntoxication and Possession of a Firearm and bonded out of jail.
Police later tested the weapon and discovered that it was one of the weapons used in the shooting of Mr.

Ivory and re-arrested Mr. Bethel. During and after both arrests Mr. Bethel consistently proffered to police

officers that he had just purchased the gun that morning from someone named Rio. Mr. Bethel was charged
and convicted by a jury of Felony Murder with the underlying felony of First Degree Robbery with a
Firearm. Mr. Bethel was sentenced to life in prison.

During his time of incarceration, Mr. Bethel did his own investigation as to what happened at Club
Pink that night. He discovered that the incident was not a robbery, but retaliation of an ongoing feud j
between Byron Ivory and Laharry Myers, Jr. He also discovered that there Were witnesses present that

could testify that Mr. Bethel was not present,

III. DISTRICT COURT ERRED BY DENYING ACTUAL INNOCENCE ATTACHED TO
THE CONSTITUTIONAL ERRORS OF INEFFECTIVE ASSISTANCE OF
APPELLATE AND TRIAL COUNSEL

The Court of Criminal Appeals has recognized that “[i]nnocence claims are the Post-
Conviction Procedure Acts foundation” Id. Slaughter v. State, 108 P.3d 1052, 1054 (Okl. CR. 2005).
Mr. Bethel claims actual innocence attached to constitutional errors of ineffective assistance of counsel
with the demonstration of evidence of two (2) eyewitnesses and an alibi witness that were not called at
trial due to ineffective assistance of trial counsel and were not submitted on direct appeal due to
ineffective assistance of appellate counsel. These errors were due to no fault of Mr. Bethel and the
missing available crucial defense witness establishes his actual innocence.

Mr. Bethel claimed actual innocence in the Application for Post-Conviction Relief proven by
the attached affidavits of DeAndre Williams, Elza Riley and Wanda Janell Smith. His claim of actual
innocence was attached to the supporting allegation of the constitutional errors of ineffective assistance
of trial counsel and ineffective assistance of appellate counsel. Whereby, had counsels produced said
available critical defense eyewitness’ testimonies, Mr. Bethel would have succeeded at trial or would

have obtained relief on direct appeal,l The additional evidence that was not presented at trial or on

 

l l Jennings v. State, 744 P.2d 212 (Okl. Cr. 1987); and Wilholt v. State, 816 P.2d 545 (Okl. Cr. 1991) The failure of
counsel to call crucial witnesses was cause for reversal.

 

 

direct appeal demonstrates Mr. Bethel’s actual innocence. This is a claim of miscarriage of justice that
must be determined by the court. The court must determine if the available critical defense eyewitness
testimonies have merit. See Murray v. Carrier, 477 U.S. 478, 495-96, 106 S. Ct. 2639, 91 L. Ed. 2d
397 (1986); see also Herrera v. Collins, 506 U.S. 390, 400-404, 113 S. Ct. 853, 122 L. Ed. 2d 203
(1993); Sawyer v. Whitley, 505 U.S. 333, 339-41, 112 S. Ct. 2514, 120 L. Ed. 2d 269 (1992); Schlup v.
Delo, 513 U.S. 298, 115 S. Ct. 851, 130 L. Ed. 2d 808 (1995). To meet this test, a criminal defendant
must make a colorable showing of factual innocence. Beavers v. Sajle, 216 F.3d 918, 923 (10th Cir.
2000) (citing Herrera, 506 U.S. at 404). "The miscarriage of justice exception, . . . applies to a severely
confined category: cases in which new evidence shows 'it is more likely than not that no reasonable
juror would have convicted [the petitioner .'"

Mr. Bethel makes a colorable showing of factual innocence with exculpatory evidence of
trustworthy available critical defense eyewitness accounts that were not presented during trial. Had the
available critical defense eyewitness’ accounts been presented at trial it is more likely than not that no
reasonable jurist would have been able to determine Mr. Bethel guilty. The jury’s failure to hear
eyewitness testimony, contrary to circumstantial evidence was due to ineffective assistance of trial
counsel, which allowed the jury to find Mr. Bethel guilty. Further, due to deficient performance by

appellate counsel the available critical defense eyewitnesses were not considered on direct appeal.

A. ACTUAL INNOCENCE ATTACHED TO INEFFECTIVE ASSISTANCE OF
APPELLATE COUNSEL BY FAILURE TO SUBMIT AVAILABLE CRITICAL

DEFENSE WITNESSES ON DIRECT APPEAL WHICH ESTABLISHES ACTUAL
INNOCENCE (See Att. F, G, H, I & J)

The district court erred in determining the APCR. Under Sub-proposition A. Mr. Bethel stated
that he discovered new evidence that appellate counsel was ineffective on direct appeal, The evidence

of appellate counsel’s deficiency is appellate counsel waived the available critical defense witnesses on

direct appeal. The same crucial defense witnessed that trial counsel failed to call at trial, which

establishes Mr. Bethel’s actual innocence.

MMBLQEBEM

Post-conviction claims of ineffective assistance of appellate counsel are reviewed under the
standard for ineffective assistance of counsel set forth in Strickland v. Washington, 466 U.S. 668, 104
S.Ct. 2052, 80 L.Ed.2d 674 (1984). See Smith v. Robbins, 528 U.S. 259, 289, 120 S.Ct. 746, 765, 145
L.Ed.2d 756 (2000) ("[Petitioner] must satisfy both prongs of the Strickland test in order to prevail on
his claim of ineffective assistance of appellate counsel."); Coddington, 2011 OK CR 21, P 3_. 259 P.3d
at 835; Dovis v. State, 2005 OK CR 21 , P 7, 123 P.3d 243, 246. Under Strickland, a petitioner must
show both (l) deficient performance, by demonstrating that his counsel’s conduct was objectively
unreasonable, and (2) resulting prejudice, by demonstrating a reasonable probability that, but for
counsel’s unprofessional error, the result of the proceeding (in this case the appeal) would have been
different Strickland, 466 U.S. at 687-89, 104 S.Ct. at 2064-66, And the Court recognizes that "[a] court
considering a claim of ineffective assistance of counsel must apply a strong presumption that counsel’s
representation was within the wide range of reasonable professional assistance." Harrington v. Richter,
131 S.Ct. 770, 787, 178 L.Ed.2d 624 (2011) (quoting Strickland, 466 U.S. at 689, 104 S.Ct. at 2065).

In reviewing a claim of ineffective assistance of appellate counsel under Strickland, a court
must look to the merits of the issue(s) that appellate counsel failed to raise. See Malicoat v. Mullin, 426
F.3d 1241, 1249 (10th Cir. 2005) ("[I]n certain circumstances, appellate counsel’s omission of an issue
may constitute ineffective assistance under Strickland, In analyzing such claims, the court must
consider the merits of the omitted issue." (citing Robbins, 528 U.S. at 288, 120 S.Ct. at 765-66));
Cargle v.» Mullin, 317 F.3d 1196, 1205 (10th Cir. 2003) ("The very focus of a Strickland inquiry

regarding performance of appellate counsel is upon the merits of omitted issues, and no test that

ignores the merits of the omitted claim in conducting its ineffective assistance of appellate counsel
analysis comports with federal law."). In the context of ineffective assistance of appellate counsel
claims, only an examination of the merits of any omitted issues will reveal whether appellate counsel’s
performance was deficient (due to failing to raise the omitted issue(s)) and also whether the failure to
raise the omitted issue(s) on appeal prejudiced the defendant, i.e., whether there is a reasonable
probability that raising the omitted issue(s) would have resulted in a different outcome in the
defendant’s direct appeal (e.g., a reversal, new trial, new sentencing proceeding, or sentence

modification). Id. Logan v. State, 293 P.3d 969, 974 (Okl. Cr. 2013).

l. Deficient Performance

Mr. Bethel establishes deficient performance of appellate counsel prejudiced his appeal. By
demonstration that trial counsel was ineffective for failing to uphold the constitutional level of
representation as determined by the Sixth Amendment of the United States Constitution and appellate
counsel failed to properly submit the issue in accordance with OCCA rules. Mr. Bethel also
demonstrates that he was prejudiced.

Appellate counsel violated Rules 3.5(A)(5); 3.5(C)(D), Rules of Oklahoma Court of Criminal
Appeals, Title 22, Ch. 18 app. (2014); and Garrison v. State, 103 P.3d 590, n.36 (Okl. Cr. 2004).
Appellate counsel waived on direct appeal, Mr. Bethel’s claim of ineffective assistance of trial
counsel’s failure to call available critical defense witnesses. Appellate counsel briefly referred to the
argument in the brief-in-chief. Counsel made the complete argument in the Motion for Evidentiary
Hearing, quoting citations of law and submitting new evidence that was not mentioned in the brief in
chief. The OCCA waived the new evidence, wherefore, Mr. Bethel’s available critical defense
witnesses were not presented before the OCCA. Defense counsel caused Mr. Bethel’s evidence to be

waived by the appeals court, This is deficient performance

 

 

Appellate counsel is a professional attorney and was constitutionally required to properly
present Mr. Bethel’s direct appeal in accordance with OCCA Court Rules. Appellee in response to Mr.
Bethel’s direct appeal notified the OCCA of defense counsel’s deficient performance that caused the
argument to be waived on direct appeal.

Appellate counsel filed Mr. Bethel’s direct appeal generally referencing in a paragraph that trial
counsel failed to present critical available defense witnesses, Counsel then filed an Application for
Evidentiary Hearing on Sixth Amendment Claims, where she went into the specifics in great detail. The
claim that trial counsel was ineffective for failing to call available critical defense witnesses was
waived and this OCCA’s decision in Garrison v. State, 103 P.3d 590 (Okl. Cr. 2004) is dispositive of
this issue:

Appellant’s brief raises these four claims generally in his brief in chief, on one half page, His
application for evidentiary hearing, however, goes into the specifics in great detail-102 pages
of detail to be precise, not including the hundreds of pages attached to the application as
exhibits-and included citations to and analysis of the matters within the record, This is a
violation of Rule 3.1 l ’s provisions relating to applications for evidentiary hearing, the appellate
brief content provisions of Rule 3.5, and the 100 page brief limitation of Rule 9.3. Concerning
matters of ineffective assistance of trial counsel, an Appellant must set forth his or her
assignments of error, supported by citations to the authorities, statutes, and parts of the record,
within the appellate brief. An application for evidentiary hearing is ment to be an extract of the
pertinent factual matters arising outside of the record, while appellate brief are to contain the
application of law to fact and the arguments pertaining to the issue at hand, ineffective
assistance (especially those relating to matters in the record). The failure to raise in an appellate
brief an issue within the record waives the issue. Rule 3.5(A)(5) and C(6). In the future, failure

to fully raise and support by authority in the brief in chief those issues contained within the
record will constitute waiver of those issues on appeal.

Id, 2004 OK Cr 35, 131 n. 36, 103 P.3d at 612 n. 36 (emphasis added).

Just like the defendant in Garrison, appellate counsel’s brief, which was fifty pages long, raised
the claim of failure to call available critical defense witnesses in general terms without even identifying
the available critical defense witnesses by name. Appellate counsel’s application for evidentiary

hearing, however, went into ten pages of detail, not including the attached exhibits. The application

 

contained citation to and analysis of matters within the record, See Application for Evidentiary Hearing
at (Att. C.). As in Garrison, appellate counsel’s application violated this Court’s rules pertaining to the
contents and the fifty-page limitation of an appellate brief, See Rules 3.5(A)(5), 3.5(C)(D), Rules of the
Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (2014). As appellate counsel failed
entirely to “fully raise and support by authority in the brief in chief those issues contained within the
recor ,” appellate counsel waived the claim of ineffective assistance of counsel by failure to ca11
available critical defense witnesses. Garrison, 2004 OK Cr 35, 131 n. 36, 103 P.3d at 612 n. 36. For
the foregoing reasons, appellate counsel’s deficient performance waived the available critical defense
witnesses on direct appeal. See Appellee s Brief at 43-44 (Att. D).

In accordance with OCCA Rule 3.5, the argument was waived on direct appeal, The OCCA is
not in the habit of violating its own rules, specifically, in the instance of a professional attorney
violating court rules that they are required to know. Evidenced of the exclusion is demonstrated by the
absence of any reference to the available critical defense witnesses in the OCCA Summary Opinion
(Att. E.). The available critical defense witnesses were waived on direct appeal,

The district court waived the evidence res judicata. This was error. The OCCA waived the
available critical defense witnesses on direct appeal due to ineffective assistance of appellate counsel.
The district court’s ruling that the available critical defense witnesses were considered on direct appeal
was error. The evidence cannot waived in both the direct appeal and the APCR.

The waiving of the available critical defense witnesses on direct appeal was due to deficient
performance of appellate counsel in violation of OCCA Court Rule 3.5. The pivotal question before the
court is “Whether appellate counsel was deficient by improperly presenting the available critical

defense witnesses on direct appeal that established Mr. Bethel’s actual innocence?”

2. Prejudice

 

 

Mr. Bethel argued to the district court in the APCR that appellate counsel was ineffective for
failing to present available critical defense witnesses that would establish his actual innocence. The
presentation of the witnesses contradicting the minimal circumstantial evidence and demonstrating trial
counsel’s deficient performance on direct appeal creates a reasonable probability of a different outcome
of the appeal.

Wherefore, the deficient performance of appellate counsel causing the waiver of available
critical defense witnesses is sufficient for reasonable probability that raising the omitted issue would
have resulted in a different outcome in the defendant’s direct appeal (e.g., a reversal, new trial, new
sentencing proceeding, or sentence modification). Id. Logan v. State, 293 P.3d 969, 974 (Okl. Cr. 2013).

B. ACTUAL INNOCENCE ATTACHED TO INEFFECTIVE ASSISTANCE OF TRIAL

COUNSEL BY FAILURE TO CALL AVAILABLE CRITICAL DEFENSE WITNESSES ON
DIRECT APPEAL WHICH ESTABLISHES ACTUAL INNOCENCE (See Att. F, G, H, l & J)

Defense trial counsel failed to present the testimony of three (3) critical witnesses. One an alibi
witness, who would testify that Mr. Bethel was with her during the time of the crime. Another eyewitness,
who would testify that he was present at the scene and witnessed the crime and that Mr. Bethel was not
present. And another eyewitness, who would testify that he was present at the crime, was convicted as an
accessory after the fact and witnessed Mr. Bethel buy the handgun used in the crime after the fact. These
witnesses corroborate Mr. Bethel’s testimony at trial that he was not involved in the crime and bought the

weapon in the early morning hours before he was arrested,

S_IAND_A_RMEMM

A claim of ineffective assistance of counsel presents a mixed question of fact and law, which the
Court reviews de novo. Williamson v. Ward, 110 F.3d 1508, 1513 (10th Cir. 1997). "The essence of an

ineffective-assistance claim is that counsel’s unprofessional errors so upset the adversarial balance between

10

 

defense and prosecution that the trial was rendered unfair and the verdict rendered suspect." Williamson,
110 F.3d at 1513-14 (quoting Kimmelman v. Morrison, 477 U.S. 365, 374, 91 L. Ed. 2d 305, 106 S. Ct.
2574 (1986)). As the Supreme Court established in Strickland v. Washington, 466 U.S. 668, 80 L. Ed. 2d
674, 104 S. Ct. 2052 (1984), to succeed on this claim, Defendant Bethel must show that counsel’s
performance fell below an objective standard of reasonableness and that he was prejudiced thereby, which
means that he must show a reasonable probability that the outcome of the trial would have been more
favorable to him, absent the errors of trial counsel. See, e.g., Foster v. Ward, 182 F.3d 1177, 1184 (10th Cir.
1999). In evaluating claims of this nature, we "'must indulge a strong presumption that counsel’s conduct
falls within the wide range of reasonable professional assistance; that is, the defendant must overcome the
presumption that, under the circumstances, the challenged action 'might be considered sound trial strategy.'
Strickland, 466 U.S. at 689." Id. Grant v. Trammell, 727 F.3d 1006, 1017 (10th Cir. 2013) (intemal
quotation marks omitted) (citing Strickland, 466 U.S. at 694).

As for the claim involving uncalled witnesses the Court should resolve this claim under the
prejudice-prong of Strickland. See Rompilla v. Beard, 545 U.S. 374, 390, 125 S. Ct. 2456, 162 L. Ed. 2d
360 (2005). In doing the Court should assume that Petitioner satisfies Strickland's first prong (deficient
performance) because his trial lawyer did not investigate or interview or call available critical defense
witnesses. See Cole v. Trammell, 755 F.3d 1142, 1161 (10th Cir. 2014), (This is one of the crucial areas of
investigation emphasized in the ABA Guidelines") (intemal quotation marks omitted). When a witness is
"crucial" to the defense, failure to secure that witness is often both unreasonable and prejudicial. This is
especially true when the witness is an alibi witness or a disinterested bystander with exculpatory
information, or when the govemment's case rests primarily on circumstantial evidence that would have
been directly refuted by the witness's own testimony. See Hodgson v. Warren, 622 F.3d 591, 600-01 (6th

Cir. 2010); Adams v. Bertrand_. 453 F.3d 428, 437-38 (7th Cir. 2006); Goodman v. Bertrand, 467 F.3d 1022

9

11

 

1030-31 (7th Cir. 2006); United States v. Andrews, 953 F.2d 1312, 1327 (1 lth Cir. 1992); Coleman v.
Brown, 802 F.2d 1227, 1233-34 (10th Cir. 1986); Gossip v. State, 29 P.3d 597, 601 (Okl. Cr. 2001). The
“failure to discover" was not sound trial strategy and to conclude that counsel’s notion not to investigate
and ca11 eyewitnesses is founded upon ineffective assistance of counsel,

To show prejudice, Petitioner must show that his lawyers' failures mattered-"namely, that there is 'a
reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding would have
been different." Grant, 727 F.3d at 1018 (citing Strickland, 466 U.S. at 694). When a petitioner alleges
ineffective assistance of counsel stemming from a failure to investigate, "we evaluate the totality of the
evidence both that adduced at trial, and the evidence adduced in habeas proceedings." Smith v. Mullin, 379
F.3d 919. 942 (10th Cir. 2004) (quoting Wiggins v. Smith, 539 U.S. 510, 536_. 123 S. Ct. 2527, 156 L. Ed.

2D 471 (2003).

1. DEFICIENT PERFORMANCE OF TRIAL COUNSEL BY FAILURE TO
INVESTIGATE, INTERVIEW AND CALL AVAILABLE CRITICAL DEFENSE
WITNESSES WHICH WOULD ESTABLISH ACTUAL INNOCENCE

Trial counsel was ineffective for failing to call DeAndre Williams, Elza Riley and Janell Smith
as witnesses at trial. Due to discovered evidence of affidavits from Mr. Williams, Mr. Riley and Ms.
Smith (See Att. F, G, H, I & J) where available critical defense witnesses, who state that they would
have testified at trial that Mr. Bethel was not present at the crime scene.

These witnesses had specific facts that could only be obtained if they witnessed the events of
the crime. The witness's testimonies were crucial to the determination of guilt or innocence of Mr.
Bethel. However, none of the eyewitnesses were interviewed, investigated, or called as a witness by
trial counsel. This information was available to trial counsel demonstrated by Ex. J., which is an
affidavit from Jolene Perham, who is as investigator in the Homicide Direct Appeal Division of the

Oklahoma lndigent Defense System. Investigath Perham searched through the Trial Attorney’s files

12

 

and retrieved letters identifying several of available critical defense witnesses that Mr. Bethel requested
to be called as witnesses that were not called.

The extent to which counsel will be obligated to investigate in order to perform at a
constitutionally adequate level of competency will vary case by case. In the instant matter, counsel did
not call any witness on behalf of Mr. Bethel. The only witness that testified for the defense was Mr.
Bethel. Defense counsel had a duty to investigate all strategies of defense and to call all relevant
witnesses to testify on behalf of the defense. Defense counsel did not interview, investigate, or call Mr.
Williams, Mr. Riley nor Ms. Smith as witnesses. This establishes the first prong of Strickland, because
these witnesses were crucial to the determination of guilt or'innocence. The testimony of Mr. Williams
coupled with the testimony of Mr. Riley and Ms. Smith are surprisingly missing from the trial and is
evidence of ineffective assistance of counsel.

lt cannot be said that trial counsel made a strategic decision not to call these witnesses or that he
was unaware of these witnesses, because Mr. Williams was initially a co-defendant of Mr. Bethel’s and
the cases were severed. Further, Mr. Bethel’s mother contacted trial counsel prior to trial with witness
information. See Att. J.

Had Mr. Williams testified that he saw Mr. Myers commit the crime and did not see Mr. Bethel’
it would have effected the jury’s verdict. The same is true involving the testimony of Mr. Riley. What
the jury should have heard was three (3) eyewitnesses (Williams, Riley and Smith) testifying that Mr.
Bethel was not at the scene of the crime. Verses circumstantial evidence of Mr. Bethel ending up with
one of the weapons used in a crime the following moming. The jury should have heard testimony from
these eyewitnesses that there was no robbery, but there was an ongoing feud between the two men and
they both men had guns and further testimony that Mr. Bethel was not present, The additional

testimony from Mr. Williams, Mr. Riley and Ms. Smith was crucial to the determination of the jury’s

13

verdict.

The failure of trial counsel to interview, investigate and present Mr. Williams, Mr. Riley and
Ms. Smith at trial is ineffective assistance of counsel, A criminal defense lawyer has a duty to conduct
reasonable investigations into his client’s case, which extends to the law as well as the facts. See
Strickland, 466 U.S. at 690-91. As that duty pertains to investigation of the law, counsel is obligated to
research relevant law to make an informed decision whether certain avenues will prove fruitful."
Rompilla v. Beard, 545 U.S. 374, 387, 125 S. Ct. 2456, 162 L. Ed. 2d 360 (2005). But "[a] decision not
to investigate cannot be deemed reasonable if it is uninformed." Fisher v. Gibson, 282 F.3d 1283, 1296
(10th Cir. 2002). Trial counsel ’s decision not to investigate cannot be deemed reasonable, because it
was uninformed and he failed to reasonably investigate and call crucial eyewitnesses to testify to Mr.
Bethel’s innocence. Trial counsel’s performance by precedent is below professional norms, which

satisfies the first prong of Strickland

2. RELIABILITY

a. AVAILABLE CRUCIAL DEFENSE WITNESSES

When a witness is "crucial" to the defense, failure to secure that witness is ofien both
unreasonable and prejudicial. This is especially true when the witness is an alibi witness or a
disinterested bystander with exculpatory information, or when the govemment's case rests primarily on
circumstantial evidence that would have been directly refuted by the witness's own testimony. See
Hodgson v. Warren, 622 F.3d 591, 600-01 (6th Cir. 2010); Adams v. Bertrand, 453 F.3d 428, 437-38
(7th Cir. 2006); Goodman v. Bertrand, 467 F.3d 1022, 1030-31 (7th Cir. 2006); United States v.

Andrews, 953 F.2d 1312, 1327 (l lth Cir. 1992); Coleman v. Brown, 802 F.2d 1227, 1233-34 (10th Cir.
1986); Gossip v. State, 29 P.3d 597, 601 (Okl. Cr. 2001).

Mr. Williams, Mr. Riley or Ms. Smith have no reason to fabricate their sworn testimonies. Mr.

14

Williams has nothing to gain by falsifying his sworn affidavit or court testimony. The same is true of
Mr. Riley. Mr. Riley is an innocent bystander with no relation to Mr. Bethel, who has come forward of
his on volition with a sworn statement and who will testify in-court as to what he witnessed with his
own eyes. Further, the affidavit of Ms. Smith should be deemed reliable. Ms. Smith has no reason to
falsify her sworn testimony and would receive no benefit for testifying in-court for the whereabouts of
Mr. Bethel during the time of the crime or that he leli her in the early morning hours to go and purchase
the Weapon, corroborating Mr. Bethel’s testimony at trial. The non-involved parties should be
considered reliable witnesses. When a witness is "crucial" to the defense, failure to secure that witness

is often both unreasonable and prejudicial.

b. DISTRICT COURT’S RELIANCE ON QUESTIONABLE PHONE CALL

The district court contributed its denial of Mr. Bethel’s innocence claim on “Petitioner also
admitted on a phone call to his father during that [sic] he was present at the crime scene, despite his
many protestations at trial and within his post-conviction application that he was not. Trial Tr. 854;
States Ex. 7.6.”

The proper context for the alleged admission of guilt has yet to be established by a court. First,

Detective White testified at Tr. 819:

Q: And let me ask you about whenever you’re doing interviews. Do you have tactics, whenever you’re
interviewing a suspect in a homicide?
A.: Yes.

(Tr. 821)
Q.: Can you give an example of that?
A.: Like, for instance, I’ve got video, when in fact we may not actually have them on video.

Det. White used this tactic on Mr.. Bethel, telling Mr. Bethel that he had video of him at the
crime scene being kicked out of the club. The information Mr. Bethel gave his father was false and said

video was not produced in discovery or at trial. This is the information that Mr. Bethel conveyed to his

15

irate father. Mr. Bethel Was young male responding to his irate father.

See Tr. 854:
Voice of Father: Were you there at the club?

Mr. Bethel: They said I’m on camera being kicked out the club,

In response to his father’s irate demands, Mr. Bethel repeated what Det. White told him. That he
was at the club that night. Mr. Bethel stated during the Det. White’s interview that the night was a blur
and he had a hard time remembering anything, but he was not at the club (Tr. 822). Mr. Bethel was
found the next morning at a busy intersection, asleep at the wheel, while the signal lights cycled. He
was dazed and confused.

Mr. Bethel phoned his mother immediately after talking to his father and told her, “They tried to
tell me 1 was at this club and I told them I wasn’t there.” (Tr. 861). This was an issue Mr. Bethel could
not explain or discuss with his irate father, who would not understand and would become more upset
by Mr. Bethel’s attempt to challenge the police statement that he was on video. Due to Det. White’s
deceptive tactics of telling Mr. Bethel there was video of him being expelled from the club, it resulted
in the false admission to his father. Mr. Bethel made no such claim to anyone else.

The admission of a child to an irate father of what was told by a deceptive detective in not a
reliable confession of being at the scene. The district court’s reliance upon disputable evidence to
establish guilt is unfounded and without merit. Wherefore, due to the consideration of the proper

context of the alleged admission. Mr. Bethel requests the phone call be deemed unreliable.

3. AVAILABLE CRITICAL DEFENSE WITNESSES
When a witness is "crucia|" to the defense, failure to secure that witness is ofien both
unreasonable and prejudicial. This is especially true when the witness is an alibi witness or a

disinterested bystander with exculpatory infomiation, or when the govemment's case rests primarily on

16

 

 

circumstantial evidence that would have been directly refuted by the witness's own testimony. Id. The
district court failed to take full consideration of the evidence and the effect of the witnesses’ testimony
would have on the jury decision. The court cannot hold confidence in the jury’s verdict when

considering the available critical defense witnesses.

a. DeAndre Willaims

The affidavit for Mr. Williams states that he met with Mr. Bethel and witnessed him purchase
the firearm involved in the crime after the commission of the crime. Mr. Williams further stated that he
plead guilty to accessory after the fact and witnessed the altercation. Mr. Williams swears that Mr.
Bethel’s trial counsel nor anyone from his staff contacted him. The court cannot have confidence in the
jury’s verdict when considering this information verses the circumstantial evidence of Mr. Bethel being

in possession of a weapon some hours after the crime.

b. Elza Riley

Mr. Riley states that he witnessed the event while sitting in a vehicle in the club parking lot and
would testify that Mr. Bethel was not present. Mr. Ri ley swears to information that only someone at the
scene could state. Mr. Riley swears that he would also testify in a court of law under oath about what he
eye witnessed and that Mr. Bethel was not present or involved. Mr. Riley swears that Mr. Bethel's'trial
counsel nor anyone from his staff contacted him. The court cannot have confidence in the jury’s verdict
when considering this information verses the circumstantial evidence of Mr. Bethel being in possession

of the weapon some hours later. Specifically, without an eyewitness identification of Mr. Bethel in the

club parking lot.

c. Wanda Janell Smith

The affidavit of Ms. Smith, swears she was willing to testify at Mr. Bethel’s trial if only she had

17

ri~,

been contacted by trial counsel, Ms. Smith swears that Mr. Bethel was present with her during the time
of the crime was committed and that Mr. Bethel left her presence to go purchase the weapon. The jury
was denied the benefit of hearing from Ms. Smith during trial. Whereby, the court cannot have
confidence in the jury’s verdict upon circumstantial evidence of Mr. Bethel being in possession of the

weapon some hours later verses the crucial eyewitness testimony of a reliable witness.

4. PREJUDICE

The jury’s failure to hear contrary testimony to unreliable circumstantial evidence prejudiced
Mr. Bethel’s trial. Had the jury heard from Mr. Williams (an accessory after the fact), Mr. Riley and
Ms. Smith eyewitnesses to contradict the circumstantial evidence, it would have caused the jury to
determine the truth of the matter and determined that Mr. Bethel was not present during the time of the
crime, thereby determining his actual innocence. Mr. Williams had nothing to gain or lose by testifying
that Petitioner was not present. Mr. Riley had nothing to gain by volunteering his testimony as an
innocent bystander nor did Ms. Smith. On the other hand, the absence of these eyewitnesses caused Mr.
Bethel prejudice, Prejudice is demonstrated by Williams.’ Riley’s and Ms. Smith's afiidavits, swearing
that Mr. Bethel was not present at the crime and is actually innocent.

It was imperative for the jury to hear the testimony of Mr. Williams, Mr. Riley and Ms. Smith.
The jury was not allowed to judge between the testimony of the eyewitnesses and circumstantial
evidence. Only Mr. Williams and Riley could truly say what happened and who was there that night
and trial counsel did not interview, investigate or called either of these witnesses. This is crucial
testimony that was necessary for the determination of guilt or innocence. This determination is the
essence and only factor of Mr. Bethel’s conviction.

Whereby, the absence of the testimony of Mr. Williams testifying that he did not witness Mr.

Bethel at the crime scene and later saw Mr. Bethel purchase the gun, the absence of the testimony of

18

Mr. Riley that he also failed to witness Mr. Bethel at the crime scene and the testimony of Ms. Smith
that Mr. Bethel was present with her that night and later left her to go and purchase the weapon
prejudiced Mr. Bethel and affected the outcome of the trial. This information was available to trial
counsel demonstrated by Ex. J., which is an affidavit from Jolene Perham, who is as investigator in the
Homicide Direct Appeal Division of the Oklahoma lndigent Defense System. Investigator Perham
searched through the Trial Attorney’s files and retrieved letters identifying several of available critical
defense that Mr. Bethel requested to be called at trial.

Trial counsel did not completely analyze the evidence likely to be introduced at trial. If counsel
had made a complete investigation, he would of interviewed Mr. Williams, Mr. Riley and Ms. Smith
and known that they were willing to testify at trial that Mr. Bethel was not present at the crime scene
and was actually innocent. The extent to which counsel will be obligated to investigate in order to
perform at a constitutionally adequate level of competency will vary case by case: as the Supreme
Court observed in Strickland, "strategic choices made after less than complete investigation are
reasonable precisely to the extent that reasonable professional judgments support the limitations on
investigation." Strickland, 466 U.S. at 690-91. But "[a] decision not to investigate cannot be deemed
reasonable if it is uninformed." Fisher v. Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002). Counsel’s
failures to investigate, interview, or call Williams, Riley and Smith as crucial defense witnesses can not
be considered reasonable, There is no evidence that counsel had reasons not to investigate the
aforementioned witnesses. Here, the only evidence against Mr. Bethel is that he possessed a weapon
used the night of the crime. The calling of eyewitnesses Williams, Riley and Smith in contradiction to
the circumstantial evidence was reasonable and would had changed the outcome of the verdict.

Therefore, counsel was unreasonable for not interviewing, investigating, and calling Williams,

Riley and Smith to testify on behalf of the defense. The testimony of the absent eyewitness would had

19

affected the verdict and demonstrated that Mr. Bethel is actually innocent. Therefore Mr. Bethel is
prejudiced.

Mr. Bethel supports his allegation of actual innocence through the constitutional error of
violation if his Sixth Amendment right to effective assistance of counsels with evidence that was not
presented at trial. Satisfying the standard of making a colorable showing of factual innocence.2 Mr.
Bethel’s showing of actual innocence must be addressed by the court to determine if the claim of
ineffective assistance of failing to investigate, interview and call the available crucial defense
eyewitnesses that have submitted sworn affidavits that they would have testified at trial has merit. See
Smith v. Robbins, 528 U.S. 259, 288, 120 S.Ct. 746, 765-66, 145 L.Ed.2d 756 (2006) (In certain
circumstances appellate counsel’s omission of an issue may constitute ineffective assistance under
Strickland. In analyzing such claims the court must consider the merits of the omitted issue.); See also
Cargel v. Mullin, 317 F.3d at 1205 (“The very focus of Strickland inquiry regarding performance of
appellate counsel is upon the merits of omitted issues and no test that ignores the merits of the omitted
claim in conducting its ineffective assistance of appellate counsel analysis comports with federal
law.”); and Logan, 293 P.3d at 1205 (In the context of ineffective assistance of appellate counsel
claims, only an examination of the merits of any omitted issues will reveal whether appellate counsel’s
performance was deficient.)

Mr. Bethel claims that the district court's review of the omitted evidence was insufficient to
comport with the state and federal law, The decision of the district court is contrary to clearly
established federal law as determined by the Supreme Court, Trial counsel’s unprofessional errors were
below professional norms by failing to investigate, interview and call available crucial defense

witnesses to testify. Counsel’s “decision not to investigate cannot be deemed reasonable if it is

 

2 Murray v. Carrier, 477 U.S. 478, 495-96, 106 S. Ct. 2639, 91 L. Ed. 2d 397 (1986); see also Herrera v. Collins, 506
U.S. 390, 400-404. 113 S. Ct. 853. 122 L. Ed. 2d 203 (1993); Sawyer v. Whitley, 505 U.S. 333. 339-41, 112 S. Ct. 2514,
120 L. Ed. 2d 269 (1992); Schlup v. Delo, 513 U.S. 298, 115 S. Ct. 851, 130 L. Ed. 2d 808 (1995).

20

uninformed.” Id. Fisher, 282 F.3d at 1296. The “failure to discover” was not sound trial strategy and to
conclude that counsel’s notion not to investigate and call eyewitnesses is founded upon ineffective
assistance of counsel, Id. Gossip v. State, 29 P.3d at 601.

l Counsel’s failure to call available crucial defense eyewitnesses prejudiced Mr. Bethel. For
eyewitnesses' testimonies were excluded from the jury. Whereby, Mr. Bethel was convicted by
questionable circumstantial evidence. The failure of the jury to hear testimony of who, why and the
sequence of events of what happened in the club parking lot by the eyewitnesses prejudiced Mr. Bethel.
The district court erred when deciding that the available crucial defense eyewitnesses had already been
considered on direct appeal, whereby, denying the evidence res judicata.

For the aforementioned reasons the district court erred in considering the affect such crucial
testimony would have affected the jury’s verdict. There cannot be any doubt that trial counsel was
ineffective for failing to investigate, interview, call and secure the aforementioned testimony and failure
to do so affected the jury’s verdict. Further, appellate counsel’s failure to secure and present said
evidence during direct appeal further prejudiced Mr. Bethel’s appeal.

Petitioner has demonstrated that he is actually innocent of Robbery with a Firearm and Felony
Murder because he was not present at the crime scene as sworn to by the eyewitnesses. The affidavit
from Mr. Williams demonstrates that Mr. Bethel was not present at the scene of the crime and bought
the weapon later that morning, The affidavit of Riley also demonstrates that Mr. Bethel was not present
at the crime scene. The affidavit of Ms. Smith demonstrates that Mr. Bethel was not present at the
crime scene. The affidavit of Jolene Perham demonstrates that trial counsel was notified of the
witnesses. The jury was uninformed of Mr. Williams’, Mr. Riley’s and Ms. Smith's testimonies. All the
testimonies were crucial to the defense of Mr. Bethel. Trial counsels’ failure interview and call Mr.

Williams, Mr. Riley or Ms. Smith as witnesses were unprofessional errors. Appellate counsel’s failure

21

 

to properly present the crucial witnesses to the appeals court was also deficient performance. Mr.
Bethel claims that the witnesses were presented improperly; the state attorney general declared that the
witnesses were improperly submitted and the OCCA failed to address the crucial witnesses on direct
appeal, Mr. Bethel has satisfied both prongs in regards to ineffective assistance of trial and appellate
counsel. The absence of the available crucial defense eyewitnesses satisfies the first prong of
Strickland. The second prong of Strickland is satisfied by had the eyewitnesses been called it would
have changed the outcome of both trial and the appeal. Wherefore, Petitioner has satisfied both prongs
of Strickland in regards to ineffective assistance of trial and appellate counsel.

Petitioner further claims his actual innocence, because this case is a case in which evidence
shows it is more likely than not that no reasonable juror would have convicted Mr. Bethel after the
aforementioned evidence was presented before a jury.

Wherefore, Petitioner request that the sentence be vacated and the case remanded back with
instructions to dismiss.

Petitioner also requests that Mr. Williams, Mr. Riley and Ms. Smith be called as witnesses at an

evidentiary hearing to determine the efficiency of trial and appellate counsels’ effectiveness.

C. ACTUAL INNOCENCE ATTACHED TO APPELLATE COUNSEL WAS
INEFFECTIVE IN VIOLATION OF THE SIXTH AMENDMENT FOR FAILING
TO FILE TRIAL COUNSEL WAS INEFFECTIVE FOR FAILURE TO
SUBJECT THE PROSECUTION’S CASE OF ROBBERY WITH A FIREARM TO
ADVERSARIAL TESTING AND CONCEDED THE ROBBERY CHARGE BY
CONFESSING GUILT WITHOUT PERMISSION OF APPELLANT

MA@_QE_BE¥IEE
In United States v. Cronic, 466 U.S. 648, 104 S. Ct. 2039, 80 L. Ed. 2d 657 (1984), the United
States Supreme Court "recognized a limited exception to Strickland," Crawley v. Dinwiddie, 584 F.3d

916, 922 n.8 (10th Cir. 2009), by holding that "if counsel entirely fails to subject the prosecution’s case

22

to meaningful adversarial testing, then there has been a denial of Sixth Amendment rights that makes
the adversary process itself presumptively unreliable." 466 U.S. at 659. In other words, "Cronic held
that a Sixth Amendment violation may be found without inquiring into counsel’s actual performance or
requiring the defendant to show the effect it had on the trial, when circumstances [exist] that are so
likely to prejudice the accused that the cost of litigating their effect in a particular case is unjustified . . .
." Wright v. Van Patten, 552 U.S. 120, 124, 128 S. Ct. 743, 169 L. Ed. 2d 583 (2008) (per curiam)
(intemal quotation marks and citations omitted; brackets in original). Importantly, the Court has since
"made clear that . . . 'the attomey's failure [to subject the prosecution’s case to meaningful adversarial
testing] must be complete.'" Id. at n.* (quoting Bell v. Cone, 535 U.S. 685, 697, 122 S. Ct. 1843, 152 L.
Ed. 2D 914 (2002)). Thus, although we have held that "the admission by counsel of his client’s guilt to
the jury . . . represents a paradigmatic example of the sort of breakdown in the adversarial process that
triggers a presumption of prejudice" under Cronic, United States v. Williamson, 53 F.3d 1500, 1511
(10th Cir. 1995), it is clear that, in order to implicate the Cronic presumption, any such admission by
counsel must be complete. E.g., Hale v. Gibson, 227 F.3d 1298, 1323 (10th Cir. 2000) (conc|uding that
Cronic was not implicated where defense counsel "made a reasonable strategic decision to concede
some guilt by [petitioner], given the overwhelming evidence presented at trial, and focused on the
extent of [petitioner's] involvement and whether others could have been involved."); Trice v. Ward, 196
F.3d 1151, 1161-62 (10th Cir. 1999) (same). We "have found a complete absence of meaningful
adversarial testing only where the evidence overwhelmingly established that [the] attorney abandoned
the required duty of loyalty to his client, and where counsel acted with reckless disregard for his client’s
best interests and, at times, apparently with the intention to weaken his client’s case.” Turrentine v.

Mullin, 390 F.3d 1181, 1208 (10th Cir. 2004) (internal quotation marks omitted; brackets in original).

 

23

Appellate counsel was ineffective for failing to submit that trial counsel was ineffective for failing to
subject the prosecution’s case of First Degree Robbery with a Firearm to adversarial testing and conceded
the robbery charge by confessing guilt without permission of appellant

Defense counsel was ineffective for failing to subject the prosecution’s case of First Degree
Robbery with a Firearm the underlying felony to Felony Murder to adversarial testing. Mr. Bethel
conceded guilt to Public lntoxication and Possession of a Firearm. However, trial counsel also
conceded guilt to the First Degree Robbery With a Firearm charge during trial without consent from
Mr. Bethel. See Att. F.

Defense counsel on several occasions during trial conceded that this was an intentional robbery
instead of challenging with adversarial testing the prosecution’s case of robbery with a firearm, Had
counsel challenged that the suspects had no intentions of taking away property (which is a required
element of robbery) then the Petitioner could not have been convicted of the underlying felony of First
Degree Robbery With a Firearm. Contrary to defense counsel’s professional duty, his performance fell
below the objective standard of reasonableness required by the Sixth Amendment, Instead of
challenging the First Degree Robbery With Firearm charge, counsel stated that it was an intentional
robbery, even though the assailant’s had no intention of taking away property,

Petitioner will prove that the oversight of appellate counsel prejudiced the appeal, by
demonstration that trial counsel was ineffective for failing to uphold the constitutional level of

representation as determined by the Sixth Amendment of the United States Constitution. See below:

a. DEFICIENT PERFORMANCE

The murder of Byron Ivory was retaliation for a previous altercation between the two (2) men.
The driver of the white car (identified as Rio) knew Mr. Ivory and called Mr. Ivory to Club Pink so that

LaHarry Myers could retaliate from the previous altercation. See Affidavits G & H, Affidavit from Elza

24

Rin and DeAndre Williams, who were present at Club Pink and witnessed the incident between the
two (2) men. Mr. Williams later plead guilty in the Murder as an accessory after the fact in the instant
matter. The altercation was not a robbery and was never intended to be a robbery. The underlying
felony of First Degree Robbery With a Firearm did not occur, evidenced by that amount of guns
involved in the crime scene and the lack of taking of property,

First, there was an altercation between (2) rival groups of black males inside the Club Pink that
caused a ruckus (Tr. 335-39).

Second, there was only one suspect thought to have a gun in the parking lot witnessed by the
victims (Tr. 367-68). There was video of three (3) suspects leaving in a white car (Tr. 797), but
evidence of four (4) guns being fired (Tr. 715). The suspect shooter, identified as LaHarry Myers a/k/a
L.J. by Mr. Williams and Mr. Riley as the person holding the gun on one of the victims was in an
ongoing feud with the deceased victim. The hypothesis that Mr. Ivory possessed the fourth weapon and
this was in a shootout between two (2) rivals was never presented or considered by the jury. The jury
was unaware that the two (2) men knew each other and that there was an ongoing feud between the
tWO.

lt is conceivable that one of the four guns belonged to the victim. There is also evidence that
this was not a robbery, through the testimony of Mr. Roberts that his property (cell phone and wallet)
were not demanded, but that when he felt a gun on his torso that he volunteered his property without
provocation to institute an escape (Tr. 370, 384). Further evidence indicates that Mr. Ivory, the only
victim that did not run was not robbed. Factually, the robbery victim volunteered his property as an

escape mechanism -- part of the property [his wallet] was found under Mr. Ivory (Tr. 801). The robbery
victim threw the property and turned and ran, jumping a four-foot wall with a five-foot drop, in a

nightclub parking lot with people milling around, The cell phone could have been lost and/or recovered

25

 

by anyone. The death of Mr. Ivory was not the result of a robbery, but retaliation of an ongoing'feud
between the two (2) men.

Defense counsel was ineffective for not subjecting the prosecution’s case of First Degree
Robbery with a Firearm to adversarial testing and conceding that there was a robbery. Defense counsel
conceded the Public lntoxication, Possession of a Firearm and on several occasions conceded that this
was an intentional First Degree Robbery with a Firearm without the consent of Mr. Bethel. Had counsel
challenged that the suspects had no intention of taking away property, then the appellant could not be
convicted of the underlying felony of Robbery With a Firearm. Contrary to his professional duty,
defense counsel’s performance fell below the objective standard of reasonableness required by the
Sixth Amendment. Defense counsel gave the motive and demonstrated before the jury the
vulnerableness of the victims. If there was a robbery, which is hard to determine and would be hard for
a jury to determine if the charge was challenged, because the only alleged property taken is an absent
cell phone, from a person that jumped a four-foot wall with a five-foot drop-off and ran out his shoes in
a crowded nightclub parking lot. No one knows what actually happened to the cell phone.

Third, the volunteering of his property by the robbery victim does not indicate that the other
suspects had prior knowledge that anything would be taken or knowledge that anything was taken.
Prior knowledge and the intention to take away property are elements of First Degree Robbery, Due to
the spontaneity of the victim throwing his property [which might of saved his life, because it distracted
the man with the gun long enough for him to run] it could not be proven beyond a reasonable doubt that
the other suspects had knowledge or consented to taking of property. See Rosemond v. United States,
134 S.Ct. 1240, 188L.Ed.2d 248 (2014), the Supreme Court held, in order to aid and abet, a defendant
must have advance knowledge that a crime will be committed, One of the “basics” of aiding and

abetting robbery [in addition to taking away is the requisite act of intent] when he intends to facilitate

26

that offense’s commission.” See also Williams v. Trammell, 782 F.3d 1184 (10th Cir. 2015), citing
Rosemond, “Some mutual state beyond “mere assent” or “acquiescence” is also required. Id. Wingfeild
v. Massie, 122 F.3d 1329, 1332 (10th Cir. 1997). Whereby, if there was a robbery, which it could not be
proven that there was without defense counsel’s concession. There may have been a spontaneous
robbery, which did not elevate the other suspects of premeditation consensus that a robbery would be
committed, The only person that offered any evidence of premeditated robbery or confessed culpability
to the robbery was trial defense counsel,

Factually, defense counsel acknowledged the robbery, gave motive, opportunity and scenarios,
whereby, robbery could be accomplished Defense counsel admitted on two (2) occasions that the gun
Bethel possessed was the murder weapon (Tr. 1020). Defense counsel further demonstrated motive,
“And so from about 1:30 to 2:00 a.m. in the morning, you have what is called a target-rich
environment, if you’re a crook. You have lots of people, many of whom are inebriated, getting out of
the bar at the same time, going to their cars, and they often have money and stuff and they have their
keys. So predators tend to wander by at such times.” (Tr. 1021). Further, defense counsel iterated,
“Robbery crews are working the area at this time. . .” (Tr. 1022). Defense counsel concedes that there
was a robbery and that it was intentional, which he was the only person to offer any evidence or
confess culpability to robbery. Defense counsel’s concession may not have been directly confessing the
robbery, but overtly confessed that the victims were seasoned for a robbery and that robbery crews
were working the area. The evidence introduced through affidavits supports the evidence that this was
not a robbery. This demonstrates deficient performance of trial counsel. Mr. Bethel had not intended to

confess to guilt of robbery and counsel’s confession was without Petitioner’s consent. See Ex. F.

b. PREJUDICE

The Oklahoma rules of Professional Conduct govern attorney conduct in this state. These rules

27

do not lay the groundwork for claims of ineffectiveness, but they are pertinent to any discussion of
attorney conduct when the rules touch on subjects raised in a claim of ineffectiveness, The rules set
forth the necessity of open consultation between attorneys and clients; furthermore, some decisions are
left to the client after such consultation. "In a criminal case, the lawyer shall abide by the client’s
decision, after consultation with the lawyer, as to a plea to be entered, whether to waive jury trial and
whether the client will testify." Rule 1.2, Rules of Professional Conduct, 5 O.S.l99l , Ch.l, App. 3-A.
"A lawyer shall explain a matter to the extent reasonably necessary to permit the client to make
informed decisions regarding the representation." Rule 1.4(b), Rules of Professional Conduct, 5
0.S.1991, Ch. l , App. 3-A. Likewise, the decision to concede guilt must be the client’s ultimate
decision,

The prosecution was required to prove robbery. Whereby, defense counsel’s declaration of
robbery proved the prosecution’s case determining guilt to the robbery. Defense counsel gave motive
and situations whereby the robbery could be accomplished Had counsel not conceded that the victims
were primed and ready to be robbed and that there was a robbery, whether directly or overtly, then the
state was required to prove the robbery. The concession allowed the jury to agree with counsel that a
robbery had occurred and convicted Mr. Bethel of First Degree Robbery with a Firearm. This
prejudiced Mr. Bethel. See Jackson v. State, 2001 OK CR 37, 1[ 25, 41 P.3d 395, 400 ("[a] complete
concession of guilt is a serious strategic decision that must only be made after consulting with the client
and after receiving the client’s consent or acquiescence.") Defense counsel’s declaration of robbery
prejudiced Mr. Bethel. Had counsel not made the declaration that a robbery was committed then there
is a reasonable probability that the outcome of the trial would have been different

Under Strickland, Mr. Bethel proves both (1) deficient performance, by demonstrating that his

counsel’s conduct was objectively unreasonable by conceding the robbery, and (2) resulting prejudice

28

 

 

by Mr. Bethel being convicted of the robbery by counsel’s concession. Wherefore there is a reasonable
probability that, but for counsel’s unprofessional error, the result of the proceeding would have been
different, Strickland, 466 U.S. at 687-89, 104 S.Ct. at 2064-66.

Wherefore, Mr. Bethel was prejudice by counsel ’s concession to robbery. Therefore, ineffective
assistance of trial counsel has been established and the court should remand Mr. Bethel’s case, because

his Sixth Amendment right to effective assistance was violated.

In determining ineffective assistance of appellate counsel, the failure to properly present the
available critical witnesses in accordance to court rules satisfies the first prong of Strickland. Further,
the inability of trial counsel to present the available critical defense witnesses at trial satisfies the first
prong of Strickland, Trial counsel’s inability subject the state's case to adversarial testing and the
concession of the robbery without Mr. Bethel’s cons`ent satisfies the first prong of Strickland, There is
also the presumption of prejudice when an actual available critical defense witnesses are not called at
trial meeting the second prong of Strickland, Both prongs of Strickland are met, affecting the outcome
of the trial. Whereby, appellate counsel was ineffective for failure to raise the issue. There is
“reasonable probability that, but for counsel’s unreasonable failure" to raise the claim, Mr. Bethel
"would have prevailed on his appeal.” Therefore, district court’s rejection of the actual innocence
attached to ineffective assistance of appellate counsel and trial counsel was error. Mr. Bethel request

that his sentence be voided and he be immediately released.

CONCLUSION
Mr. Bethel has demonstrated the District Court of Tulsa County committed error contrary to
state and federal law in the decision denying Mr. Bethel’s Application for Post-Conviction Relief with

evidence aforementioned, wherefore, Mr. Bethel request reversal of his conviction with a mandate that

the case be dismissed.

29

RESPECTFULLY SUB

DeAndre Bethel

#690424

LCF-Lawton

8607 SE Flowermound Rd.
Lawton, OK

CERTIFICATE OF VERIFICATION

       

I state under penalty of perjury under th laws of Oklahoma th . ~ ` ing is true and
correct. /l/
. /"
f//Q:f// > *zr

 

 

(Date and Place) (Signature')

CERTIFICATE OF MAILING

l
l hereby certify that on the ?_5 day of M, 2017, I placed in the Lawton Correctional

Facility legal mail mailbox the forgoing document, postage prepaid to:

Clerk of the Appellate Courts

Oklahoma Judicial Center
2100 N. Lincoln Blvd. Ste. 4 l _
Oklahoma City, OK 73105-4907 \ `

 

30

 

 

IN THE DISTRICT COURT OF TULSA COUNTY

 

 

STATE OF OIGJAHOMA
DEANDRE BETHEL . )
Petitioner./ Appellant, )
vs. § Case No. CF"2012°660
)
THE STATE OF OKLAHOMA, )
Respondents / Appellee. )

APPLI~CATION FOR POST-CONVICTION RELIEF

PART A

1, DeAndre Bethel . DOC # 60.9424- , whose present address is

 

Lawton Correctional Facility, 8607 SE Flower Mound Road, Lawton, Oklahoma 73501, hereby
apply for relief under the Post-Convict_ion Procedure Act, Section 1080 et seq. of Title 22.
The sentence from which I seek relief is as follows:

1. (a) Court in which sentence was rendered: Tulsa County District Court

(b) case Number: cF-2012-660

 

 

 

2. Date of sentence: March 1 4 r 201 4

3, Terms ofsentence: Life With Parole

4. Name of Presidjng Judge; Hornable James M . Caputo.;

5. Are you now in custody serving this sentence? Yes (x) No ( )

Where? LCF-Lawton

6. For what crime or crimes were you convicted? Felony Murder

 

 

7. Check whether the finding of guilty was made:
After plea of guilty ( ) After plea of not guilty (X)

8. lffound guilty after plea of not guilty, check whether the finding was made by:
A jury (X) A judge without a jury ()

9. Name of lawyer who represented you in trial court: Steven Vincent

 

10. Was your lawyer hired by you or your family? Yes ( ) No (x)
Appointed by the court? Yes (X) No ( )
ll. Did you appeal the conviction? Yes (x) No ( )

To what court or courts?

 

Oklahoma Court of Criminal Appeals

 

12. Did a lawyer represent you for the appeal? Yes ( x) No ( )
Was it the same lawyer as in No. 9 above? Yes ( ) No (X)
If "no," what was this lawyer's name? Jamie D . Pybas
. Addr¢ss? OIDS , P .O . Box 926 , Norman,l OK
13. Was an opinion Written by the appellate court? Yes (X) No ( )
If "yes", give citations if published: F-2 01 4- 3 3 6

 

If`not published, give appellate case no.:

 

14. Did you seek any fin-ther review of or relief from your conviction at any other time in

any court? Yes( ) No §()

lf "Yes", state when you did so, the nature of your claim and the result (include
citations to any reported opinions.)

 

 

 

 

 

 

PART B

(If you have more than one proposiu`on for relief, attach a separate sheet for each

proposition. Answer the questions below as to each additional proposition, labeled SECOND
PROPOSITION, THlRD PROPOSITION.)

l believe that I have

(1 ) propositions for relief from the conviction and sentence
described in PART A.

FIRST PROPOSITION:

. Of what legal right or privilege do you believe you were deprived in your case?
ACTUAL INNOCENCE

 

 

. ln the facts of your case, what happened to deprive you of that legal right or privilege
and who made the error of which you complain?

See Brief

 

 

 

 

. List by name and citation any case or cases that are very close factually and legally to

yours -as examples of the error you believe occurred in your case.
See Brief

 

 

. How do you think you could now prove the facts you have stated in answer to

Question No. 2, above? (ATTACH SU'PPORTING DOCUMENTATION.)
See Brief

 

 

. If you did not timely appeal the original conviction, set forth facts showing how you

were denied a direct appeal through no fault of your own.
See Brief

 

 

 

. ls this a proposition that could have been raised on Direct Appeal? Yes ( ) No (X)
Exp}ain; Due to ineffective assistance of appellate Counsel

The argument was not filed.

 

 

P.ARI_C
I understand that I have an absolute right to appeal to the Court of Criminal Appeals from
the trial court’s order entered in this case, but unless I do so within thirty (30) days after the entry
of the trial judge’s order. I will have waived my right to appeal as provided by Section 1087 of
Title 22.

BAR.T_L

l hereby apply to have counsel appointed to represent me. I believe I am entitled to relief
l do not possess any money or property.

o?~Zé~/é M%>

Date ( S1gnature or Petitioner/Appellant)

 

 

STATE OF OKLAHOMA )
) SS.

COUNTY OF COMANCHE )
I DeAndre Bethel, being first sworn under oath,~ states that he signed the above

application and that the statements therein are true to the best of my knowledge and beli

drawn

(Signature of Petitioner/Hpellant)

Subscribed and sworn to before me this _O`_u__`l~ day of WOI?““ __`_““__“

No`l`AR UEl.lC State o|OK
. TOPP|NG

 

   
  
 

"

0

3

3

%
d
U
0
d
d
N
q
`l

l\\\\\\\\

- 6-2017

\\ `\\\\\\\\\\`

My Commission Number is: l?)b\ \'3"_\ Ai
My Commission Expires : |'L| \u\ 2 ¢_.3_1: ]

